Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 1 of 167 PageID #: 1




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NEW YORK
____________________________________________________________

 ALLSTATE INSURANCE COMPANY,                       Civil Action No.____
 ALLSTATE INDEMNITY COMPANY,
 ALLSTATE PROPERTY & CASUALTY INSURANCE COMPANY,
 AND ALLSTATE FIRE AND CASUALTY INSURANCE COMPANY,

                          Plaintiffs,

 vs.

 CITY WIDE HEALTH FACILITY, INC.,
 RELIEF MEDICAL, P.C.,
 DIAGNOSTIC MEDICINE, P.C.,
 DAI MAI ACUPUNCTURE, P.C.,
 MINGMEN ACUPUNCTURE SERVICES, P.C.,
 AM CHIROPRACTIC, P.C.,
 AMBER STREET CHIROPRACTIC, P.C.,
 FINE MOTOR PHYSICAL THERAPY, P.C.,
 YURY KOYEN, M.D.,
 ALEKSANDR LEVIN, M.D.,
 IGOR MAYZENBERG, L.AC.,
 ALEXANDER MAZUROVSKY, D.C.,
 JOSEPH SEDRAK, P.T.,
 ALEXANDER ZHAROV,
 EDWARD ATBASHYAN,
 SIMON KORENBLIT, AND
 ALEX KORENBLIT,

 Defendants.


             PLAINTIFFS’ COMPLAINT AND DEMAND FOR JURY TRIAL
       The Plaintiffs Allstate Insurance Company, Allstate Indemnity Company, Allstate Property

& Casualty Insurance Company, and Allstate Fire & Casualty Insurance Company (collectively,

“Allstate” and/or “plaintiffs”), by their attorneys King, Tilden, McEttrick & Brink, P.C., allege as

follows:




                                                 1
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 2 of 167 PageID #: 2




I.      INTRODUCTION

        1.      At all relevant times, the purported medical clinic located at 265 Avenue X in

 Brooklyn, New York (the “Avenue X Clinic”) has served as the epicenter of a scheme to defraud

 automobile insurance companies in the State of New York, including Allstate.

        2.      On its face, the Avenue X Clinic allegedly provides “Physical Medicine and

 Rehabilitation” services under the care of Yury Koyen, M.D. (“Koyen”).

        3.      In actuality, Koyen has transformed the Avenue X Clinic into a “multidisciplinary”

 healthcare facility in which Koyen, through Relief Medical, P.C. (“Relief Medical”), entered into

 sublease agreements with additional healthcare providers, including Aleksandr Levin, M.D.

 (“Levin”),   Igor   Mayzenberg,     L.Ac.    (“Mayzenberg”),     Alexander    Mazurovsky,      D.C.

 (“Mazurovsky”), and Joseph Sedrak, P.T. (“Sedrak”) (collectively, the Healthcare Provider

 Defendants”), who in turn paid kickbacks to individuals and entities that referred No-Fault patients

 to the Avenue X Clinic.

        4.      In furtherance of this scheme, the Healthcare Provider Defendants developed and

 implemented a predetermined treatment and billing protocol wherein patients at the Avenue X

 Clinic were subjected to medically unnecessary, illusory, and otherwise noncompensable

 healthcare services, including but not limited to, contrived initial examinations, re-examinations,

 computerized range of motion and muscle strength testing, physical performance testing, physical

 therapy services, neurological examinations, electrodiagnostic testing, chiropractic services, and

 acupuncture services (the “Fraudulent Services”).

        5.      To justify the excessive predetermined course of treatment, the Healthcare Provider

 Defendants made medically unnecessary and premature diagnostic imaging referrals to the Article

 28 diagnostic imaging and treatment center, City Wide Health Facility, Inc. (“City Wide Health




                                                  2
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 3 of 167 PageID #: 3




Facility”), which at all times relevant was owned and operated by Alexander Zharov (“Zharov”),

Edward Atbashyan (“Atbashyan”), Simon Korenblit, and Alex Korenblit (collectively, the “Non-

Physician Defendants”).

       6.      Pursuant to a fraudulent billing protocol, the Defendants utilized the following

entities—which were organized under the providers’ names—as vehicles to submit No-Fault

benefit claims for the Fraudulent Services to Allstate: Relief Medical, Diagnostic Medicine, P.C.

(“Diagnostic Medicine”), Dai Mai Acupuncture, P.C. (“Dai Mai Acupuncture”), Mingmen

Acupuncture Services, P.C. (“Mingmen Acupuncture Services”), AM Chiropractic, P.C. (“AM

Chiropractic”), Amber Street Chiropractic, P.C. (“Amber Street Chiropractic”), Fine Motor

Physical Therapy, P.C. (“Fine Motor Physical Therapy”), and City Wide Health Facility

(collectively, the “PC Defendants”).

       7.      In connection with this scheme to defraud, the Defendants caused the submission

of bills to Allstate seeking No-Fault reimbursement for fraudulent healthcare services and

diagnostic testing.

       8.      The Defendants subjected their patients to excessive and invasive healthcare

services that were: (a) medically unnecessary; (b) rendered pursuant to an illegal kickback scheme;

(c) rendered pursuant to a pre-determined treatment protocol; and, (d) provided for the sole purpose

of maximizing the profits of the Defendants rather than improving the condition of each patient.

       9.      As such, the Defendants never had any right to collect No-Fault benefit payments

in connection with any services purportedly provided to Allstate’s insureds.

       10.     As a direct and proximate result of the Defendants’ unlawful conduct, Allstate was

wrongfully induced to make No-Fault benefit payments totaling over $2,259,699.88 in connection

with the fraudulent claims submitted by or on behalf of the Defendants.




                                                 3
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 4 of 167 PageID #: 4




        11.     Through this action, Allstate seeks to recover all monies wrongfully paid to and

retained by the Defendants.

        12.     Allstate’s claim for compensatory damages includes: (a) payments made by

Allstate to the PC Defendants (i.e., Relief Medical, Diagnostic Medicine, Dai Mai Acupuncture,

Mingmen Acupuncture Services, AM Chiropractic, Amber Street Chiropractic, Fine Motor

Physical Therapy, and City Wide Health Facility) in reliance upon the Defendants’ false

representations that the PC Defendants were eligible to receive reimbursement under New York

No-Fault laws; (b) payments made by Allstate to the PC Defendants in reliance upon the false

medical documentation submitted (or caused to be submitted) by the Defendants; (c) treble

damages; (d) interest; (e) costs; and, (f) attorneys’ fees.

        13.     In addition to compensatory damages, Allstate seeks a declaration that it has no

legal obligation to make any payment on any unpaid claims submitted by the PC Defendants,

because they were ineligible to seek No-Fault reimbursement under prevailing New York laws and

regulations.

        14.     All of the acts and omissions of the Defendants described throughout this

Complaint were undertaken intentionally.

        15.     The Defendants knew that the patients identified in this Complaint (“Allstate

Claimants”) were eligible for insurance coverage pursuant to automobile insurance policies issued

by Allstate.

        16.     The Defendants submitted hundreds of false bills to Allstate through the U.S. Mail

related to treatment/services purportedly rendered to Allstate Claimants.

        17.     By this Complaint, and as detailed in each count set out below, Allstate asserts

claims against the Defendants for: (a) violations of the federal Racketeer Influenced and Corrupt




                                                   4
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 5 of 167 PageID #: 5




Organizations (RICO) Act, 18 U.S.C. § 1961, et seq.; (b) common-law fraud; (c) unjust

enrichment; and, (d) declaratory relief.

II.    THE PARTIES

       A.      PLAINTIFFS

       18.     Allstate Insurance Company, Allstate Indemnity Company, Allstate Property &

Casualty Insurance Company, and Allstate Fire & Casualty Insurance Company are corporations

duly organized and existing under the laws of the State of Illinois.

       19.     Allstate Insurance Company, Allstate Indemnity Company, Allstate Property &

Casualty Insurance Company, and Allstate Fire & Casualty Insurance Company each have their

principal place of business in Northbrook, Illinois.

       20.     At all relevant times to the allegations contained in this Complaint, Allstate

Insurance Company, Allstate Indemnity Company, Allstate Property & Casualty Insurance

Company, and Allstate Fire & Casualty Insurance Company were each authorized to conduct

business in New York.

       B.      DEFENDANTS

               1.      Yury Koyen, M.D.

       21.     Koyen resides in and is a citizen of the State of New York.

       22.     At all relevant times, Koyen has been licensed to provide physician services in the

State of New York.

       23.     At all relevant times, Koyen was the sole officer, director, and/or shareholder of

Relief Medical.

       24.     Koyen participated in this scheme by improperly examining automobile accident

victims and then, in many instances, recommending that these patients undergo a course of illusory




                                                 5
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 6 of 167 PageID #: 6




and medically unnecessary health care services at the Avenue X Clinic, regardless of the severity

of the automobile accident or the nature of the patient’s injuries.

       25.     As Koyen allegedly began providing healthcare services to patients, the patients

were caused to enter into assignment of benefits agreements with Koyen, thus giving Koyen the

right to seek payment directly from insurers pursuant to New York’s No-Fault laws.

       26.     As an assignee of his patients’ benefits, Koyen sought and collected No-Fault

benefit payments directly from insurers, including Allstate.

       27.     As alleged herein, Koyen subjected patients to initial examinations, re-

examinations, physical therapy, and computerized range of motion and muscle strength testing that

were: (a) falsely billed; (b) rendered pursuant to an unlawful referral and financial agreement; (c)

excessive and medically unnecessary; (d) rendered as part of a predetermined treatment protocol;

and/or, (e) provided for the sole purpose of maximizing the profits of the Defendants rather than

improving the condition of each patient.

       28.     Accordingly, throughout the course of this scheme, Koyen (and/or persons working

under Koyen’s direction) purposely sought No-Fault benefit payments from Allstate knowing that

Relief Medical was not lawfully eligible to seek or collect such payments.

               2.      Aleksandr Levin, M.D.

       29.     Levin resides in and is a citizen of the State of New Jersey.

       30.     At all relevant times, Levin has been licensed to provide physician services in the

State of New York.

       31.     At all relevant times, Levin was the sole officer, director, and/or shareholder of

Diagnostic Medicine.




                                                  6
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 7 of 167 PageID #: 7




       32.     Levin participated in this scheme by providing improper neurological examinations

and electrodiagnostic tests to patients of the Avenue X Clinic.

       33.     Levin has taken deliberate action within the State of New York and has purposely

availed himself of the benefits of New York.

       34.     As Levin allegedly began providing healthcare services to patients, the patients

were caused to enter into assignment of benefits agreements with Levin, thus giving Levin the

right to seek payment directly from insurers pursuant to New York’s No-Fault laws.

       35.     As an assignee of his patients’ benefits, Levin sought and collected No-Fault benefit

payments directly from insurers, including Allstate.

       36.     As alleged herein, Levin subjected patients to neurological examinations and

electrodiagnostic tests that were: (a) rendered pursuant to an unlawful referral and financial

agreement; (b) excessive and medically unnecessary; (c) rendered as part of a predetermined

treatment protocol; and/or, (d) provided for the sole purpose of maximizing the profits of the

Defendants rather than improving the condition of each patient.

       37.     Accordingly, throughout the course of this scheme, Levin (and/or persons working

under Levin’s direction) purposely sought No-Fault benefit payments from Allstate knowing that

Diagnostic Medicine was not lawfully eligible to seek or collect such payments.

               3.     Igor Mayzenberg, L.Ac.

       38.     Mayzenberg resides in and is a citizen of the State of New York.

       39.     At all relevant times, Mayzenberg has been licensed to provide acupuncture

treatment in the State of New York.

       40.     At all relevant times, Mayzenberg was the sole officer, director, and/or shareholder

of Dai Mai Acupuncture and Mingmen Acupuncture Services.




                                                 7
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 8 of 167 PageID #: 8




        41.    Mayzenberg participated in this scheme by providing improper acupuncture

treatment to patients of the Avenue X Clinic.

        42.    As Mayzenberg allegedly began providing healthcare services to patients, the

patients were caused to enter into assignment of benefits agreements with Mayzenberg, thus giving

Mayzenberg the right to seek payment directly from insurers pursuant to New York’s No-Fault

laws.

        43.    As an assignee of his patients’ benefits, Mayzenberg sought and collected No-Fault

benefit payments directly from insurers, including Allstate.

        44.    As alleged herein, Mayzenberg subjected patients to acupuncture treatment that

was: (a) rendered pursuant to an unlawful referral and financial agreement; (b) excessive and

medically unnecessary; (c) rendered as part of a predetermined treatment protocol; and/or, (d)

provided for the sole purpose of maximizing the profits of the Defendants rather than improving

the condition of each patient.

        45.    Accordingly, throughout the course of this scheme, Mayzenberg (and/or persons

working under Mayzenberg’s direction) purposely sought No-Fault benefit payments from Allstate

knowing that Dai Mai Acupuncture and Mingmen Acupuncture Services were not lawfully eligible

to seek or collect such payments.

               4.      Alexander Mazurovsky, D.C.

        46.    Mazurovsky resides in and is a citizen of the State of New York.

        47.    At all relevant times, Mazurovsky has been licensed to provide chiropractic

treatment in the State of New York.

        48.    At all relevant times, Mazurovsky was the sole officer, director, and/or shareholder

of AM Chiropractic and Amber Street Chiropractic.




                                                8
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 9 of 167 PageID #: 9




        49.    Mazurovsky participated in this scheme by providing improper chiropractic

treatment to patients of the Avenue X Clinic.

        50.    As Mazurovsky allegedly began providing healthcare services to patients, the

patients were caused to enter into assignment of benefits agreements with Mazurovsky, thus giving

Mazurovsky the right to seek payment directly from insurers pursuant to New York’s No-Fault

laws.

        51.    As an assignee of his patients’ benefits, Mazurovsky sought and collected No-Fault

benefit payments directly from insurers, including Allstate.

        52.    As alleged herein, Mazurovsky subjected patients to chiropractic treatment that

was: (a) rendered pursuant to an unlawful referral and financial agreement; (b) excessive and

medically unnecessary; (c) rendered as part of a predetermined treatment protocol; and/or, (d)

provided for the sole purpose of maximizing the profits of the Defendants rather than improving

the condition of each patient.

        53.    Accordingly, throughout the course of this scheme, Mazurovsky (and/or persons

working under Mazurovsky’s direction) purposely sought No-Fault benefit payments from Allstate

knowing that AM Chiropractic and Amber Street Chiropractic were not lawfully eligible to seek

or collect such payments.

               5.      Joseph Sedrak, P.T.

        54.    Sedrak resides in and is a citizen of the State of New Jersey.

        55.    At all relevant times, Sedrak has been licensed to provide physical therapy

treatment in the State of New York.

        56.    At all relevant times, Sedrak was the sole officer, director, and/or shareholder of

Fine Motor Physical Therapy.




                                                 9
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 10 of 167 PageID #: 10




        57.     Sedrak participated in this scheme by providing improper physical therapy, range

 of motion and muscle strength testing, and physical performance testing to patients of the Avenue

 X Clinic.

        58.     Sedrak has taken deliberate action within the State of New York and has purposely

 availed himself of the benefits of New York.

        59.     As Sedrak began providing healthcare services to patients, the patients were caused

 to enter into assignment of benefits agreements with Sedrak, thus giving Sedrak the right to seek

 payment directly from insurers pursuant to New York’s No-Fault laws.

        60.     As an assignee of his patients’ benefits, Sedrak sought and collected No-Fault

 benefit payments directly from insurers, including Allstate.

        61.     As alleged herein, Sedrak subjected patients to physical therapy, range of motion

 and muscle strength testing, and physical performance testing that were: (a) rendered pursuant to

 an unlawful referral and financial agreement; (b) excessive and medically unnecessary; (c)

 rendered as part of a predetermined treatment protocol; and/or, (d) provided for the sole purpose

 of maximizing the profits of the Defendants rather than improving the condition of each patient.

        62.     Accordingly, throughout the course of this scheme, Sedrak (and/or persons working

 under Sedrak’s direction) purposely sought No-Fault benefit payments from Allstate knowing that

 Fine Motor Physical Therapy was not lawfully eligible to seek or collect such payments.

                6.     Alexander Zharov

        63.     Zharov resides in and is a citizen of the State of New York.

        64.     At all relevant times, Zharov has held an ownership interest in the Article 28

 diagnostic imaging and treatment center, City Wide Health Facility.




                                                 10
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 11 of 167 PageID #: 11




        65.     As patients were referred for improper diagnostic testing at City Wide Health

 Facility, the patients were caused to enter into assignment of benefits agreements, thus giving

 Zharov the right to seek payment directly from insurers pursuant to New York’s No-Fault laws.

        66.     As an assignee of the patients’ benefits, Zharov sought and collected No-Fault

 benefit payments directly from insurers, including Allstate.

        67.     As alleged herein, Zharov, through his ownership of City Wide Health Facility,

 provided diagnostic testing services that were: (a) rendered pursuant to an unlawful referral and

 financial agreement; (b) excessive and medically unnecessary; (c) rendered as part of a

 predetermined treatment protocol; and/or, (d) provided for the sole purpose of maximizing the

 profits of the Defendants rather than improving the condition of each patient.

        68.     Accordingly, throughout the course of this scheme, Zharov (and/or persons

 working under Zharov’s direction) purposely sought No-Fault benefit payments from Allstate

 knowing that City Wide Health Facility was not lawfully eligible to seek or collect such payments.

                7.     Edward Atbashyan

        69.     Atbashyan resides in and is a citizen of the State of New York.

        70.     At all relevant times, Atbashyan has held an ownership interest in the Article 28

 diagnostic imaging and treatment center, City Wide Health Facility.

        71.     As patients were referred for improper diagnostic testing at City Wide Health

 Facility, the patients were caused to enter into assignment of benefits agreements, thus giving

 Atbashyan the right to seek payment directly from insurers pursuant to New York’s No-Fault laws.

        72.     As an assignee of the patients’ benefits, Atbashyan sought and collected No-Fault

 benefit payments directly from insurers, including Allstate.




                                                 11
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 12 of 167 PageID #: 12




        73.     As alleged herein, Atbashyan, through his ownership of City Wide Health Facility,

 provided diagnostic testing services that were: (a) rendered pursuant to an unlawful referral and

 financial agreement; (b) excessive and medically unnecessary; (c) rendered as part of a

 predetermined treatment protocol; and/or, (d) provided for the sole purpose of maximizing the

 profits of the Defendants rather than improving the condition of each patient.

        74.     Accordingly, throughout the course of this scheme, Atbashyan (and/or persons

 working under Atbashyan’s direction) purposely sought No-Fault benefit payments from Allstate

 knowing that City Wide Health Facility was not lawfully eligible to seek or collect such payments.

                8.     Simon Korenblit

        75.     Simon Korenblit resides in and is a citizen of the State of New York.

        76.     At all relevant times, Simon Korenblit has held an ownership interest in the Article

 28 diagnostic imaging and treatment center, City Wide Health Facility.

        77.     As patients were referred for improper diagnostic testing at City Wide Health

 Facility, the patients were caused to enter into assignment of benefits agreements, thus giving

 Simon Korenblit the right to seek payment directly from insurers pursuant to New York’s No-

 Fault laws.

        78.     As an assignee of the patients’ benefits, Simon Korenblit sought and collected No-

 Fault benefit payments directly from insurers, including Allstate.

        79.     As alleged herein, Simon Korenblit, through his ownership of City Wide Health

 Facility, provided diagnostic testing services that were: (a) rendered pursuant to an unlawful

 referral and financial agreement; (b) excessive and medically unnecessary; (c) rendered as part of

 a predetermined treatment protocol; and/or, (d) provided for the sole purpose of maximizing the

 profits of the Defendants rather than improving the condition of each patient.




                                                 12
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 13 of 167 PageID #: 13




        80.     Accordingly, throughout the course of this scheme, Simon Korenblit (and/or

 persons working under Simon Korenblit’s direction) purposely sought No-Fault benefit payments

 from Allstate knowing that City Wide Health Facility was not lawfully eligible to seek or collect

 such payments.

                9.      Alex Korenblit

        81.     Alex Korenblit resides in and is a citizen of the State of New York.

        82.     At all relevant times, Alex Korenblit has held an ownership interest in the Article

 28 diagnostic imaging and treatment center, City Wide Health Facility.

        83.     As patients were referred for improper diagnostic testing at City Wide Health

 Facility, the patients were caused to enter into assignment of benefits agreements, thus giving Alex

 Korenblit the right to seek payment directly from insurers pursuant to New York’s No-Fault laws.

        84.     As an assignee of the patients’ benefits, Alex Korenblit sought and collected No-

 Fault benefit payments directly from insurers, including Allstate.

        85.     As alleged herein, Alex Korenblit, through his ownership of City Wide Health

 Facility, provided diagnostic testing services that were: (a) rendered pursuant to an unlawful

 referral and financial agreement; (b) excessive and medically unnecessary; (c) rendered as part of

 a predetermined treatment protocol; and/or, (d) provided for the sole purpose of maximizing the

 profits of the Defendants rather than improving the condition of each patient.

        86.     Accordingly, throughout the course of this scheme, Alex Korenblit (and/or persons

 working under Alex Korenblit’s direction) purposely sought No-Fault benefit payments from

 Allstate knowing that City Wide Health Facility was not lawfully eligible to seek or collect such

 payments.




                                                 13
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 14 of 167 PageID #: 14




                10.     Relief Medical, P.C.

        87.     Relief Medical is a New York professional service corporation with a principal

 place of business at 265 Avenue X, Brooklyn, New York 11223.

        88.     When Relief Medical purportedly furnished healthcare services (e.g., initial

 examinations, re-examinations, physical therapy, and computerized range of motion and muscle

 strength testing) to the patients of the Avenue X Clinic, the patients were caused to enter into

 assignment of benefits agreements with Relief Medical, thus giving Relief Medical the right to

 seek payments directly from insurers pursuant to New York’s No-Fault laws.

        89.     As an assignee of its patients’ benefits, Relief Medical sought and collected No-

 Fault benefit payments directly from insurers, including Allstate.

        90.     As alleged herein, Relief Medical furnished, or was caused to furnish, healthcare

 services to the patients of the Avenue X Clinic which were: (a) falsely billed; (b) rendered pursuant

 to an unlawful referral and financial agreement; (c) excessive and medically unnecessary; (d)

 rendered as part of a predetermined treatment protocol; and/or, (e) provided for the sole purpose

 of maximizing the profits of the Defendants rather than improving the condition of each patient..

        91.     Accordingly, as alleged herein, Relief Medical (and/or persons working on behalf

 of Relief Medical, including, but not limited to, Koyen) purposely caused Relief Medical to seek

 No-Fault benefit payments from Allstate knowing that Relief Medical was not lawfully eligible to

 seek or collect such payments.

                11.     Diagnostic Medicine, P.C.

        92.     Diagnostic Medicine is a New York professional service corporation with a

 principal place of business at 265 Avenue X, Brooklyn, New York 11223.




                                                  14
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 15 of 167 PageID #: 15




        93.     When Diagnostic Medicine purportedly furnished healthcare services (e.g.,

 neurological examinations, electromyography (“EMG”) tests, and nerve conduction velocity

 (“NCV”) tests) to the patients of the Avenue X Clinic, the patients were caused to enter into

 assignment of benefits agreements with Diagnostic Medicine, thus giving Diagnostic Medicine the

 right to seek payments directly from insurers pursuant to New York’s No-Fault laws.

        94.     As an assignee of its patients’ benefits, Diagnostic Medicine sought and collected

 No-Fault benefit payments directly from insurers, including Allstate.

        95.     As alleged herein, Diagnostic Medicine furnished, or was caused to furnish,

 healthcare services to the patients of the Avenue X Clinic which were: (a) rendered pursuant to an

 unlawful referral and financial agreement; (b) excessive and medically unnecessary; (c) rendered

 as part of a predetermined treatment protocol; and/or, (d) provided for the sole purpose of

 maximizing the profits of the Defendants rather than improving the condition of the patient.

        96.     Accordingly, as alleged herein, Diagnostic Medicine (and/or persons working on

 behalf of Diagnostic Medicine, including, but not limited to, Levin) purposely caused Diagnostic

 Medicine to seek No-Fault benefit payments from Allstate knowing that Diagnostic Medicine was

 not lawfully eligible to seek or collect such payments.

                12.    Dai Mai Acupuncture, P.C.

        97.     Dai Mai Acupuncture is a New York professional service corporation with a

 principal place of business at 265 Avenue X, Brooklyn, New York 11223.

        98.     When Dai Mai Acupuncture purportedly furnished acupuncture treatment,

 including cupping and moxibustion, to the patients of the Avenue X Clinic, the patients were

 caused to enter into assignment of benefits agreements with Dai Mai Acupuncture, thus giving Dai




                                                 15
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 16 of 167 PageID #: 16




 Mai Acupuncture the right to seek payments directly from insurers pursuant to New York’s No-

 Fault laws.

        99.     As an assignee of its patients’ benefits, Dai Mai Acupuncture sought and collected

 No-Fault benefit payments directly from insurers, including Allstate.

        100.    As alleged herein, Dai Mai Acupuncture furnished, or was caused to furnish,

 acupuncture treatment to the patients of the Avenue X Clinic which were: (a) rendered pursuant to

 an unlawful referral and financial agreement; (b) excessive and medically unnecessary; (c)

 rendered as part of a predetermined treatment protocol; and/or, (d) provided for the sole purpose

 of maximizing the profits of the Defendants rather than improving the condition of the patient.

        101.    Accordingly, as alleged herein, Dai Mai Acupuncture (and/or persons working on

 behalf of Dai Mai Acupuncture, including, but not limited to, Mayzenberg) purposely caused Dai

 Mai Acupuncture to seek No-Fault benefit payments from Allstate knowing that Dai Mai

 Acupuncture was not lawfully eligible to seek or collect such payments.

                13.    Mingmen Acupuncture Services, P.C.

        102.    Mingmen Acupuncture Services is a New York professional service corporation

 with a principal place of business at 265 Avenue X, Brooklyn, New York 11223.

        103.    When Mingmen Acupuncture Services purportedly furnished acupuncture

 treatment, including cupping and moxibustion, to the patients of the Avenue X Clinic, the patients

 were caused to enter into assignment of benefits agreements with Mingmen Acupuncture Services,

 thus giving Mingmen Acupuncture Services the right to seek payments directly from insurers

 pursuant to New York’s No-Fault laws.

        104.    As an assignee of its patients’ benefits, Mingmen Acupuncture Services sought and

 collected No-Fault benefit payments directly from insurers, including Allstate.




                                                16
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 17 of 167 PageID #: 17




        105.    As alleged herein, Mingmen Acupuncture Services furnished, or was caused to

 furnish, acupuncture treatment to the patients of the Avenue X Clinic which were: (a) rendered

 pursuant to an unlawful referral and financial agreement; (b) excessive and medically unnecessary;

 (c) rendered as part of a predetermined treatment protocol; and/or, (d) provided for the sole purpose

 of maximizing the profits of the Defendants rather than improving the condition of the patient.

        106.    Accordingly, as alleged herein, Mingmen Acupuncture Services (and/or persons

 working on behalf of Mingmen Acupuncture Services, including, but not limited to, Mayzenberg)

 purposely caused Mingmen Acupuncture Services to seek No-Fault benefit payments from Allstate

 knowing that Mingmen Acupuncture Services was not lawfully eligible to seek or collect such

 payments.

                14.     AM Chiropractic, P.C.

        107.    AM Chiropractic is a New York professional service corporation with a principal

 place of business at 265 Avenue X, Brooklyn, New York 11223.

        108.    When AM Chiropractic purportedly furnished chiropractic treatment to the patients

 of the Avenue X Clinic, the patients were caused to enter into assignment of benefits agreements

 with AM Chiropractic, thus giving AM Chiropractic the right to seek payments directly from

 insurers pursuant to New York’s No-Fault laws.

        109.    As an assignee of its patients’ benefits, AM Chiropractic sought and collected No-

 Fault benefit payments directly from insurers, including Allstate.

        110.    As alleged herein, AM Chiropractic furnished, or was caused to furnish,

 chiropractic treatment to the patients of the Avenue X Clinic which were: (a) rendered pursuant to

 an unlawful referral and financial agreement; (b) excessive and medically unnecessary; (c)




                                                  17
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 18 of 167 PageID #: 18




 rendered as part of a predetermined treatment protocol; and/or, (d) provided for the sole purpose

 of maximizing the profits of the Defendants rather than improving the condition of the patient.

        111.    Accordingly, as alleged herein, AM Chiropractic (and/or persons working on behalf

 of AM Chiropractic, including, but not limited to, Mazurovsky) purposely caused AM Chiropractic

 to seek No-Fault benefit payments from Allstate knowing that AM Chiropractic was not lawfully

 eligible to seek or collect such payments.

                15.    Amber Street Chiropractic, P.C.

        112.    Amber Street Chiropractic is a New York professional service corporation with a

 principal place of business at 265 Avenue X, Brooklyn, New York 11223.

        113.    When Amber Street Chiropractic purportedly furnished chiropractic treatment to

 the patients of the Avenue X Clinic, the patients were caused to enter into assignment of benefits

 agreements with Amber Street Chiropractic, thus giving Amber Street Chiropractic the right to

 seek payments directly from insurers pursuant to New York’s No-Fault laws.

        114.    As an assignee of its patients’ benefits, Amber Street Chiropractic sought and

 collected No-Fault benefit payments directly from insurers, including Allstate.

        115.    As alleged herein, Amber Street Chiropractic furnished, or was caused to furnish,

 chiropractic treatment to the patients of the Avenue X Clinic which were: (a) rendered pursuant to

 an unlawful referral and financial agreement; (b) excessive and medically unnecessary; (c)

 rendered as part of a predetermined treatment protocol; and/or, (d) provided for the sole purpose

 of maximizing the profits of the Defendants rather than improving the condition of the patient.

        116.    Accordingly, as alleged herein, Amber Street Chiropractic (and/or persons working

 on behalf of Amber Street Chiropractic, including, but not limited to, Mazurovsky) purposely




                                                18
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 19 of 167 PageID #: 19




 caused Amber Street Chiropractic to seek No-Fault benefit payments from Allstate knowing that

 Amber Street Chiropractic was not lawfully eligible to seek or collect such payments.

                16.    Fine Motor Physical Therapy, P.C.

        117.    Fine Motor Physical Therapy is a New York professional service corporation with

 a principal place of business at 265 Avenue X, Brooklyn, New York 11223.

        118.    When Fine Motor Physical Therapy purportedly furnished physical therapy,

 including range of motion and muscle strength testing, to the patients of the Avenue X Clinic, the

 patients were caused to enter into assignment of benefits agreements with Fine Motor Physical

 Therapy, thus giving Fine Motor Physical Therapy the right to seek payments directly from

 insurers pursuant to New York’s No-Fault laws.

        119.    As an assignee of its patients’ benefits, Fine Motor Physical Therapy sought and

 collected No-Fault benefit payments directly from insurers, including Allstate.

        120.    As alleged herein, Fine Motor Physical Therapy furnished, or was caused to furnish,

 physical therapy to the patients of the Avenue X Clinic which were: (a) rendered pursuant to an

 unlawful referral and financial agreement; (b) excessive and medically unnecessary; (c) rendered

 as part of a predetermined treatment protocol; and/or, (d) provided for the sole purpose of

 maximizing the profits of the Defendants rather than improving the condition of the patient.

        121.    Accordingly, as alleged herein, Fine Motor Physical Therapy (and/or persons

 working on behalf of Fine Motor Physical Therapy, including, but not limited to, Sedrak)

 purposely caused Fine Motor Physical Therapy to seek No-Fault benefit payments from Allstate

 knowing that Fine Motor Physical Therapy was not lawfully eligible to seek or collect such

 payments.




                                                19
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 20 of 167 PageID #: 20




                  17.    City Wide Health Facility, Inc.

        122.      City Wide Health Facility is a New York corporation with a principal place of

 business at 105 Kings Highway, Brooklyn, New York 11214.

        123.      When City Wide Health Facility purportedly furnished diagnostic testing to its

 patients, including those referred from the Avenue X Clinic, the patients were caused to enter into

 assignment of benefits agreements with City Wide Health Facility, thus giving City Wide Health

 Facility the right to seek payments directly from insurers pursuant to New York’s No-Fault laws.

        124.      As an assignee of its patients’ benefits, City Wide Health Facility sought and

 collected No-Fault benefit payments directly from insurers, including Allstate.

        125.      As alleged herein, City Wide Health Facility furnished, or was caused to furnish,

 diagnostic testing to the patients of the Avenue X Clinic which was: (a) rendered pursuant to an

 unlawful referral and financial agreement; (b) excessive and medically unnecessary; (c) rendered

 as part of a predetermined treatment protocol; and/or, (d) provided for the sole purpose of

 maximizing the profits of the Defendants rather than improving the condition of the patient.

        126.      Accordingly, as alleged herein, City Wide Health Facility (and/or persons working

 on behalf of City Wide Health Facility, including, but not limited to, Zharov, Atbashyan, Simon

 Korenblit, and Alex Korenblit) purposely caused City Wide Health Facility to seek No-Fault

 benefit payments from Allstate knowing that City Wide Health Facility was not lawfully eligible

 to seek or collect such payments.

 III.   JURISDICTION AND VENUE

        127.      Subject matter jurisdiction over this action is conferred upon this Court by 28

 U.S.C. § 1331.




                                                 20
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 21 of 167 PageID #: 21




           128.   Supplemental jurisdiction over the Plaintiffs’ state law claims is proper pursuant to

 28 U.S.C. § 1367.

           129.   Venue is proper pursuant to 28 U.S.C. § 1391(a)(2) and (c) whereas the vast

 majority of the acts known to Allstate alleged herein were carried out within the Eastern District

 of New York.

           130.   At all relevant times, the Defendants have engaged in purposeful activities in New

 York by seeking and submitting payment demands for claims made under New York’s No-Fault

 laws (as detailed infra).

           131.   The Defendants’ activities in and contacts with New York were purposefully sought

 and transacted to take advantage of the benefits available under New York’s No-Fault laws.

           132.   As the allegations and causes of action in the within Complaint arise from the

 Defendants’ fraudulent and non-compensable demands for payment under New York’s No-Fault

 laws, a substantial relationship exists between the transactions at issue and Allstate’s causes of

 action.

 IV.       APPLICABLE LAWS AND REGULATIONS

           A.     NEW YORK NO-FAULT LAWS AND REGULATIONS

           133.   Allstate underwrites automobile insurance in the State of New York.

           134.   New York’s No-Fault laws are designed to ensure that injured victims of

 automobile accidents have an efficient mechanism to pay reasonable fees for necessary healthcare

 services.

           135.   Under New York’s Comprehensive Motor Vehicle Insurance Reparations Act

 (N.Y. Ins. Law § 5101, et seq.), and the regulations promulgated pursuant thereto (11 N.Y.C.R.R.

 § 65, et seq.) (collectively, “the No-Fault laws”), automobile insurers such as Allstate are required




                                                   21
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 22 of 167 PageID #: 22




 to provide eligible persons with coverage for necessary accident-related expenses (hereinafter,

 “No-Fault benefits”).

        136.    Under New York’s No-Fault laws, individuals are entitled to be compensated for

 “basic economic loss” resulting from injuries caused by the operation of an automobile.

        137.    “Basic economic loss” is defined to include “all necessary expenses” for, among

 other things, prescription drug services. N.Y. Ins. Law § 5102(a)(1); 11 N.Y.C.R.R. § 65-1.1.

        138.    No-Fault benefits include up to $50,000.00 per Allstate Claimant for necessary

 expenses that are incurred for healthcare goods and services, including prescription drugs.

        139.    A patient can assign his/her No-Fault benefits to healthcare service providers,

 including doctors and pharmacies.

        140.    Pursuant to a duly executed assignment, a healthcare provider may submit claims

 directly to an insurance company and receive payment for necessary services rendered, using the

 claim form required by the New York State Department of Insurance (known as “Verification of

 Treatment by Attending Physician or Other Provider of Health Service” or more commonly as an

 “NF-3”).

        141.    Alternatively, healthcare providers may submit claims to insurance carriers using

 the Health Insurance Claim Form (known as the “CMS-1500” form and formerly known as the

 “HCFA-1500” form).

        142.    The NF-3 and CMS-1500 forms are important documents in the insurance industry.

 They certify that the provider’s request for payment is not materially false, misleading, or

 fraudulent. 11 N.Y.C.R.R. § 65.3-11(a); N.Y. Ins. Law § 403(d).

        143.    Pursuant to New York Insurance Law § 403(d), each NF-3 and CMS-1500 form

 carry the same warning: “Any person who knowingly and with intent to defraud any insurance




                                                 22
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 23 of 167 PageID #: 23




 company or other persons files an application for insurance or statement of claim containing any

 materially false information, or conceals for the purpose of misleading, information concerning

 any fact material thereto, commits a fraudulent insurance act, which is a crime.”

         144.    It is a material misrepresentation to submit NF-3 and CMS-1500 forms for

 treatment, testing, and other services—including prescription drugs—that: (a) are never provided;

 (b) are not necessary; (c) are billed at a greater monetary charge than is permitted under the

 applicable fee schedule; or (d) are billed as expensive/complex procedures when, in reality, a less

 complex and less expensive service was actually provided.

         145.    Under New York Education Law §6530, it is unlawful for a licensed physician to

 (a) practice the profession fraudulently, (b) order excessive tests or treatments not warranted by

 the condition of the patient, and (c) fail to maintain a record for each patient that accurately reflects

 the evaluation and treatment of the patient.

         146.    Pursuant to New York Education Law §6530(18), it is unlawful for a physician to

 directly or indirectly offer, give, solicit, receive, or agree to receive any fee or other consideration

 to or from a third party for the referral of a patient or in connection with the performance of

 professional services.

         147.    New York law further prohibits anyone from engaging in for profit the referring of

 the referring of persons for medical care or treatment and prohibits health care clinics from splitting

 fees with medical referral services. See New York Public Health Law §4501 and §2811.

         148.    A financial relationship includes a compensation agreement and includes an

 arrangement with a healthcare provider that is in excess of the fair market value or that provides

 compensation that varies directly or indirectly based on the volume or value of any referrals or

 business between the parties. See N.Y. Pub. Health Law §238-A(5)(a).




                                                    23
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 24 of 167 PageID #: 24




        149.    Further, pursuant to Education Law §6509-a, it is unlawful for a licensee to

 "directly or indirectly" request, receive, or participate in the division, transference, assignment,

 rebate, splitting, or refunding of a fee in connection with professional care or services including

 services related to drugs and/or medications.

        150.    The sharing or splitting of fees derived from the provision of professional physician

 services is unlawful.

        151.    Overall, New York’s No-Fault laws expressly provide that “[a] provider of health

 care services is not eligible for reimbursement under section 5102(a)(1) of the Insurance Law if

 the provider fails to meet any applicable New York State or local licensing requirement necessary

 to perform such services in New York.” See 11 N.Y.C.R.R. §65-3.16(a)(12) (emphasis added).

        B.      NEW YORK WORKERS’ COMPENSATION FEE SCHEDULE

        152.    The New York Workers’ Compensation Board has established a schedule of fees

 known commonly as the “Workers’ Compensation Fee Schedule” (“Fee Schedule”).

        153.    Both healthcare providers and automobile insurers consult the Fee Schedule to

 determine the level of reimbursement payable on legitimate claims.

        154.    The purpose of the Fee Schedule is to: (a) provide comprehensive billing guidelines

 in order to allow healthcare providers to appropriately describe their services and minimize

 disputes over reimbursement through the establishment of maximum permissible fees that can be

 charged for services included in the Fee Schedule; and (b) set limits on charges that can be

 advanced by health care service providers to protect claimants from having their medical benefit

 limits artificially eroded by excessive fees.




                                                 24
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 25 of 167 PageID #: 25




         155.    Section 5102(a)(1) of the No-Fault Law defines “basic economic loss” as including

 “[a]ll necessary expenses incurred for…professional health services,” “subject to the limitations

 of” Insurance Law § 5108.

         156.    Insurance Law § 5108(b) provides that the Superintendent of Insurance “shall

 promulgate rules and regulations implementing and coordinating” the provisions of the New York

 No-Fault Law and the Workers’ Compensation Law “with respect to charges for the professional

 health services” specified in Insurance Law § 5102(a)(2), “including the establishment of

 schedules for all such services for which schedules have not been prepared and established by the

 chairman of the workers’ compensation board.”

         157.    Insurance Law § 5108(a) also provides that the “charges for services specified in”

 Insurance Law § 5102(a)(1) “shall not exceed the charges permissible under the schedule prepared

 and established by the chairman of the workers’ compensation board.”

 V.      FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

         158.    New York’s No-Fault system provides generous compensation for accident-related

 healthcare services, and also requires insurers to make prompt payment on patient claims.

         159.    The system is designed to facilitate prompt payment of claims when a patient or

 provider submits facially-valid claim documents, such as invoices that identify the type of services

 provided, the name of the treating provider, the name of the entity billing for the services, and the

 name of each person who owns the entity.

         160.    The system is vulnerable to fraud and abuse when providers submit claim

 documents containing material misrepresentations about the necessity of the billed-for services,

 the name and employment status of the treating provider, and the ownership status of the entity

 billing for the services.




                                                  25
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 26 of 167 PageID #: 26




        161.    In general, providing truthful information in support of No-Fault claims is

 important because the system is designed to prevent delays and force insurers to make prompt

 payments.

        162.    With respect to healthcare providers, providing truthful information about the

 services and the person or entity that provided the services is important because providers are not

 eligible to seek or collect payment under New York’s No-Fault laws if they fail to meet any New

 York State or local licensing requirement necessary to perform such service in New York.

        163.    As explained below, at all relevant times, the defendants have taken advantage of

 New York’s No-Fault system by operating the PC Defendants in violation of one or more

 applicable New York state licensing requirement governing the provision of professional physician

 services.

        164.    The defendants, at all times relevant, subjected their patients to excessive and

 invasive treatments that were (a) medically unnecessary; (b) excessive; and, (c) rendered pursuant

 to an illegal kickback scheme and pre-determined treatment protocol.

        165.    This wanton and indiscriminate delivery of treatment jeopardized the health and

 safety of patients, as they were needlessly exposed to the risk of further injury and/or infection

 through tests and services they did not need, and because treatment decisions were not based on

 the individualized medical needs of the patients.

        166.    The defendants, at all relevant times, knew that the PC Defendants were not eligible

 for compensation under New York’s No-Fault laws, yet they routinely sought and collected

 payment from Allstate.




                                                 26
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 27 of 167 PageID #: 27




            A.     THE AVENUE X CLINIC

            167.   At all times relevant, the Avenue X Clinic was operated as a multidisciplinary

 facility that offered healthcare services from an array of providers, including physicians (i.e.,

 Koyen and Levin), a chiropractor (i.e., Mazurovsky), a physical therapist (i.e., Sedrak), and an

 acupuncturist (i.e., Mayzenberg).

            168.   Throughout the operation of the Avenue X Clinic and in furtherance of this scheme,

 Koyen recruited Levin, Mazurovsky, Mayzenberg, and Sedrak to participate in the scheme to

 defraud in order to maximize the number of fraudulent charges that could be submitted for each

 patient.

            169.   Once recruited into the scheme, Levin, Mazurovsky, and Mayzenberg transferred

 the operation of their pre-existing professional medical corporations (i.e., Diagnostic Medicine,

 AM Chiropractic, and Mingmen Acupuncture Services) to the Avenue X Clinic, while Sedrak

 incorporated Fine Motor Physical Therapy.

            170.   Once organized, Levin, Mazurovsky, Mayzenberg, and Sedrak, upon information

 and belief, entered into agreements with Relief Medical to sublease the office space located at the

 Avenue X Clinic in return for patient referrals.

            171.   In addition to the patient referrals, Koyen provided the Healthcare Provider

 Defendants (i.e., Levin, Mazurovsky, Mayzenberg, and Sedrak) with the opportunity to operate

 out of the Avenue X Clinic without being burdened with the costs or administrative duties involved

 in operating and managing an independent healthcare clinic, such as (a) securing clinical office

 space; (b) hiring, managing and paying clinic employees and support personnel; and (c) acquiring

 and servicing office equipment.




                                                    27
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 28 of 167 PageID #: 28




        172.     In furtherance of this scheme, the Healthcare Provider Defendants engaged in

 several deceptive acts that were meant to project an image of legitimacy surrounding the operation

 of the Avenue X Clinic while, at the same time, concealing the true nature of the fraud scheme.

        173.     For example, the Healthcare Provider Defendants never altered or amended the

 exterior signage at the Avenue X Clinic to identify the specific names of the PC Defendants or the

 licensed professionals that operated from the clinic.

        174.     Instead, the Healthcare Provider Defendants utilized the exterior signage from

 Koyen’s predecessor professional medical corporation (i.e., R&L Medical, P.C.), which simply

 read “Yury Koyen MD” and identified the “physical therapy”, “massage therapy”, and “spine and

 sport injuries” services that were purportedly available at the clinic.

        175.     The use of the generic signage not only concealed the identities of the professional

 medical corporations that operated from within but allowed for the seamless transition from one

 provider to another when a professional medical corporation was required to be replaced.

        176.     For example, in 2013, the prior chiropractor at the Avenue X Clinic, Dmitry

 Slobodyansky, D.C. (“Slobodyansky”), ceased practicing and had his license revoked after

 pleading guilty to his role in a systematic scheme to defraud private insurance companies of more

 than $400 million under New York’s No-Fault automobile insurance law.

        177.     In an effort to perpetuate the scheme to defraud and to continue to provide

 chiropractic care at the Avenue X Clinic, Slobodyansky was replaced by Mazurovsky and AM

 Chiropractic.

        178.     Further, in 2017, Mayzenberg and Mingmen Acupuncture Services were named as

 defendants in a lawsuit that raised questions regarding the medical necessity of the acupuncture




                                                  28
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 29 of 167 PageID #: 29




 treatment that was purportedly rendered at a series of No-Fault “medical mills” in Brooklyn,

 Queens, and the Bronx, which included the Avenue X Clinic.

        179.    In light of the issue involving the medical necessity of the acupuncture treatment

 and the illegal fee splitting, kickbacks, and referral arrangements that were alleged to exist at each

 No-Fault clinic – including the Avenue X Clinic – upon information and belief, Mayzenberg and

 Mazurovsky incorporated new professional medical corporations (i.e., Dai Mai Acupuncture and

 Amber Street Chiropractic) to avoid detection and conceal the ongoing fraud scheme.

        180.    The Healthcare Provider Defendants and PC Defendants that operated from the

 Avenue X Clinic were caused to share (a) the same telephone number (i.e. (718) 339-5151) and

 facsimile number (i.e., (718) 339-3471), which, at all times relevant, was registered to Relief

 Medical; (b) the same operating hours; (c) the same administrative and/or professional front desk

 staff; and (d) the same common areas.

        181.    Members of the Healthcare Provider Defendants (i.e., Relief Medical, AM

 Chiropractic, Amber Street Chiropractic, Diagnostic Medicine, and Fine Motor Physical Therapy)

 each retained the services of the same billing and collection company (i.e., EZ Processing, LLC),

 which has initiated arbitrations and responded to requests for verification while utilizing the same

 letterhead for each provider.

        182.    Moreover, the payments made by Allstate for the services purportedly rendered by

 Relief Medical, AM Chiropractic, Amber Street Diagnostic, Diagnostic Medicine, and Fine Motor

 Physical Therapy were directed to EZ Processing at 1584 86th Street, Brooklyn, New York 11226

 rather than the actual Avenue X Clinic location.




                                                  29
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 30 of 167 PageID #: 30




        183.    Notably, the recommendation to retain this billing and collection company came

 from no other than Slobodyansky, who utilized their services prior to the conclusion of his

 operation at the Avenue X Clinic.

        184.    The Healthcare Provider Defendants also made payments to companies that

 purported to provide advertisement and marketing services, including Nina Brouk Advertisement,

 Corp. (“Nina Brouk Advertisement”) and Dona Catalina Marketing, LLC (“Dona Catalina

 Marketing”).

        185.    Nina Brouk Advertisement and Dona Catalina Marketing, however, did not actually

 provide advertisement or marketing services to the PC Defendants at the Avenue X Clinic.

        186.    Rather, the payments from Koyen and Mayzenberg, through their professional

 medical corporations, to Nina Brouk Advertisement and Dona Catalina constituted unlawful

 referral fees and kickbacks to secure direct patient referrals to the Avenue X Clinic in violation of

 New York law.

        187.    Likewise, Mazurovsky, through AM Chiropractic, made payments to a series of

 individuals and entities that purported to provide legitimate business services, including but not

 limited to “human resources”, “document preparation”, “network services”, “website

 development”, and “collection and litigation” companies.

        188.    These companies, however, were actually used to conceal the payments that

 Mazurovsky made as kickbacks in return for medically unnecessary patient referrals to the Avenue

 X Clinic.

        189.    In an effort to avoid detection, Mazurovsky also made payments to these companies

 from the bank accounts of two of his other professional medical corporations, AVM Chiropractic,




                                                  30
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 31 of 167 PageID #: 31




 P.C. and Icon Chiropractic, P.C., despite testifying that said corporations were active for

 collections only.

        190.     At all times relevant, the Healthcare Provider Defendants (i.e., Koyen, Levin,

 Mazurovsky, Mayzenberg, and Sedrak) have purposely engaged in an effort to conceal the true

 nature of the operation of the professional medical corporations at this location (i.e., Relief

 Medical, P.C., AM Chiropractic, Amber Street Chiropractic, Diagnostic Medicine, Mingmen

 Acupuncture Services, Dai Mai Acupuncture, and Fine Motor Physical Therapy) and their scheme

 to provide medically unnecessary healthcare services – pursuant to a predetermined treatment

 protocol and an unlawful referral and financial agreement – to the patients of the Avenue X Clinic.

        B.      FALSE AND FRAUDULENT MEDICAL SERVICES

        191.    The Avenue X Clinic was specifically designed to deliver as many tests and

 healthcare services as possible without any regard for the individual needs of the patients.

        192.    In this case, Allstate Claimants typically presented with soft tissue sprains and

 strains with degenerative-type changes reflected on the patients’ MRI scans, generally meaning

 that the injuries were minor and likely not related to the alleged accident.

        193.    Koyen was the entry point for treatment, as he initially examined Allstate Claimants

 through Relief Medical, and then recommended to undergo a course of treatment that called for an

 array of medical services by providers at the Avenue X Clinic.

        194.    Indeed, nearly every Allstate Claimant was ordered to undergo physical therapy, a

 neurological consultation, chiropractic care, and acupuncture treatment at the Avenue X Clinic.

        195.    Allstate Claimants were routinely given these orders even though soft-tissue sprains

 and strains in patients are self-limiting and typically respond to conservative care within four (4)

 to six (6) weeks, with more severe strains taking up to approximately 12 weeks to recover.




                                                  31
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 32 of 167 PageID #: 32




        196.    Such conservative care measures may include anti-inflammatory or pain relieving

 medications (e.g., Acetaminophen) with a short course of physical therapy or chiropractic care.

        197.    Clinically, it is reasonable for patients with such soft-tissue injuries to receive either

 physical therapy or chiropractic care—but not both—for a brief interval of time following the

 motor vehicle accident with a rapid transition to a home-exercise program.

        198.    At the Avenue X Clinic, Allstate Claimants were referred for concomitant physical

 therapy with Koyen at Relief Medical and Sedrak at Fine Motor Physical Therapy, chiropractic

 care with Mazurovsky through AM Chiropractic and Amber Street Chiropractic, and acupuncture

 treatment with Mayzenberg–and his “employees”–through Mingmen Acupuncture Services and

 Dai Mai Acupuncture.

        199.    In the majority of cases, Allstate Claimants were referred for early neurological

 consultations, which nearly always included electrodiagnostic studies, with Levin through

 Diagnostic Medicine.

        200.    In order to justify the referral for the neurological consultation, Koyen frequently

 misrepresented and/or exaggerated the Allstate Claimants’ subjective complaints to include

 findings that were not present or in direct contrast to the reported examination findings from the

 acute emergency medical records.

        201.    In many cases, Allstate Claimants were given prescriptions for MRIs, durable

 medical equipment (“DME”) items, and medications, and then steered to other providers involved

 in this scheme (i.e., City Wide Health Facility) to fulfill these orders.

        202.    The referrals for the MRIs, DME items, and medications were primarily ordered at

 the conclusion of Koyen’s initial examination and before the Allstate Claimants had even begun

 let alone completed a conservative course of treatment.




                                                   32
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 33 of 167 PageID #: 33




        203.    With regard to the MRIs, Allstate Claimants were referred to City Wide Health

 Facility, where the tests and evaluations provided a basis–albeit false–to continue patient care.

        204.    As part of their scheme, Allstate Claimants were kept in the Defendants’ care as

 long as insurance coverage was available.

        205.    In most cases, Allstate Claimants were placed on a course of treatment that lasted

 well in excess of the recommended maximum three (3) months of care that would be generally be

 required to resolve self-limited soft tissue injuries, where in some instances patients received over

 100 separate treatments at the Avenue X Clinic.

                1.      The Fraudulent Initial Examinations

        206.    The medical records that have been submitted to Allstate identify a pattern of

 impropriety that begins with Koyen where he examines the patients within a relatively short

 timeframe after the alleged motor vehicle accidents.

        207.    In many cases, the patients presented with self-limited soft tissue injuries such as

 sprain, strains, or contusions.

        208.    Such self-limited injuries generally recover within approximately four (4) to six (6)

 weeks, with more severe sprains or strains recovering in approximately 12 weeks.

        209.    As a result of the initial examinations, Koyen diagnosed nearly every Avenue X

 Clinic patient with conspicuously similar diagnoses.

        210.    Despite the self-limited soft tissue injuries, Koyen recommended a nearly identical

 and predetermined treatment plan for each patient, which included physical therapy treatment that

 extended well beyond the time of expected resolution.

        211.    In conjunction with the course of physical therapy treatment, Koyen referred the

 Avenue X Clinic patients for additional healthcare services pursuant to the predetermined




                                                  33
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 34 of 167 PageID #: 34




 treatment protocol and improper referral arrangement, which required each patient to return to the

 Avenue X Clinic several times per week for months on end, where they underwent an excessive

 and medically unnecessary course of treatment consisting of concomitant chiropractic care,

 acupuncture treatment, and diagnostic testing.

        212.    The initial examinations that Koyen performed were pursuant to the defendants’

 predetermined treatment protocol and were designed solely to maximize the profits of the PC

 Defendants, as the initial examinations findings and routine diagnoses provided the basis for the

 PC Defendants to provide an array of excessive and medically unnecessary healthcare services.

        213.    In an effort to facilitate this scheme, Koyen utilized a form document for each initial

 examination, in which he would circle pre-printed choices and provide few comments beyond the

 markings in boxes or circling of the pre-printed diagnoses/symptoms.

        214.    As such, the Relief Medical records for the initial examinations indicate that the

 findings were not unique narratives for each patient.

        215.    In many cases, Koyen falsely represented that the patients presented with problems

 of moderate-to-high severity in order to create a false basis for Relief Medical’s charges under the

 CPT codes 99204 and 99205, as examinations billed under these codes are reimbursable at a higher

 rate than examinations that involve presenting problems of low severity (e.g., 99202 and 99203).

        216.    By falsely representing that the patients presented with problems of moderate-to-

 high severity, Koyen further created a false “justification” for the laundry list of predetermined

 treatment that PC Defendants rendered at the Avenue X Clinic.

        217.    Accordingly, the charges for the initial examinations were fraudulent, as they were

 (a) performed pursuant to the fraudulent treatment protocol; (b) performed pursuant to an improper




                                                  34
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 35 of 167 PageID #: 35




 referral and financial arrangements; and (c) provided for the sole purpose of maximizing the profits

 of the Defendants rather than improving the condition of each patient

          218.   The charges for the initial examinations were further fraudulent as the Relief

 Medical bills misrepresented the extent of the initial examination, the nature of the underlying

 services, and the complexity of the patients’ alleged injuries.

                 2.     The Fraudulent Computerized Range of Motion and Muscle Strength
                        Testing

          219.   Pursuant to the predetermined treatment protocol, the Healthcare Provider

 Defendants rendered duplicative and medically unnecessary range of motion and muscle strength

 tests to the Avenue X Clinic patients.

          220.   The documents submitted to Allstate by Relief Medical indicate that Koyen

 performed – to the extent that they were performed at all – range of motion and manual muscle

 strength tests to each patient as part of the initial examination.

          221.   The charges for these tests were part of the charges that Koyen submitted for the

 initial examination, which helped to justify the higher charges under the CPT codes 99204 and

 99205.

          222.   Despite the manual range of muscle and muscle strength testing that was

 purportedly rendered at the onset of each patient’s treatment at the time of the initial examination,

 the Avenue X Clinic patients were invariably subjected to subsequent computerized range of

 motion and muscle strength testing in connection with the initial chiropractic examinations that

 were performed by Mazurovsky through AM Chiropractic and Amber Street Chiropractic.

          223.   The computerized range of motion and muscle strength tests were virtually identical

 to that of the manual testing, except that a digital printout was obtained rather than the provider

 being required to manually document the results.



                                                   35
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 36 of 167 PageID #: 36




        224.    The computerize range of motion and muscle strength tests were therefore rendered

 pursuant to the predetermined treatment protocol, wherein the tests were not rendered to assist in

 the assessment of the treatment of each patient but rather to financially benefit the Healthcare

 Provider Defendants.

        225.    In an effort to further increase the profits from this duplicative and medically

 unnecessary testing, Mazurovsky, or someone working on his behalf, deliberately unbundled the

 billing for these the computerize range of motion and muscle strength tests in order to maximize

 the fraudulent charges that were submitted to Allstate.

        226.    As such, the charges for the computerized range of motion and muscle strength

 testing were fraudulent as they were (a) medically unnecessary; (b) rendered pursuant to a pre-

 determined treatment protocol; (c) rendered pursuant to an improper referral and financial

 arrangement; and (d) provided for the sole purpose of maximizing the profits of the Defendants

 rather than improving the condition of each patient.

                3.      The Fraudulent Neurological Examinations and Electrodiagnostic
                        Tests

        227.    In an attempt to maximize the fraudulent charges that the PC Defendants submitted

 for each patient, and pursuant to the predetermined treatment protocol and improper referral and

 financial arrangements between the PC Defendants, Levin, through Diagnostic Medicine,

 subjected the patients of the Avenue X Clinic to medically unnecessary neurological examinations,

 which were followed by electromyography (“EMG”) tests and nerve conduction velocity (“NCV”)

 tests (collectively the “electrodiagnostic” or “EDX” tests).

        228.    Although the vast majority of soft tissue injuries such as sprains and strains resolve

 after a short course of conservative treatment, or no treatment at all, Levin falsely represented that

 the Avenue X Clinic patients presented with problems of moderate to high severity.



                                                  36
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 37 of 167 PageID #: 37




           229.   These fraudulent representations allowed Levin to create a basis to support not only

 the charges associated with putative neurological examinations, but for the predetermined

 “diagnosis” as well.

           230.   Based on the predetermined “diagnosis”, Levin was able to place the patients on a

 similar course of treatment, which included a series of medically unnecessary EDX testing.

           231.   The charges for the EDX testing were fraudulent, in that the EDX testing was

 medically unnecessary, often duplicative of other diagnostic nerve testing the patients had already

 received, and were performed pursuant to the predetermined treatment protocol.

           232.   Moreover, the charges for the EDX testing were fraudulent, as Levin did not tailor

 the EDX testing to each individual patient and routinely tested far more nerves than recommended

 by the American Association of Neuromuscular and Electrodiagnostic Medicine’s Recommended

 Policy.

           233.   In keeping with the fact that the EDX testing was medically unnecessary, the

 putative “results” of the tests were never incorporated into the patient’s treatment plan, played no

 genuine role in the treatment or care of the patients, and were only used by PC Defendants to

 justify billing for further unnecessary medical treatment.

           234.   As such, the charges for the EDX testing were fraudulent as they were (a) medically

 unnecessary; (b) rendered pursuant to a pre-determined treatment protocol; (c) rendered pursuant

 to an improper referral and financial arrangement; and (d) provided for the sole purpose of

 maximizing the profits of the Defendants rather than improving the condition of each patient.

                  4.     The Fraudulent Physical Therapy Services and Physical Performance
                         Testing

           235.   At the conclusion of each initial examination, Koyen invariably recommended that

 the patients undergo a course of physical therapy treatment.



                                                   37
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 38 of 167 PageID #: 38




         236.    Pursuant to the predetermined treatment protocol, and an in effort to maximize the

 PC Defendants’ profits, virtually every patient was referred for a course of physical therapy that

 involved a nearly identical treatment plan (i.e., hot/cold pack, electrical stimulation, and either

 therapeutic exercise or massage).

         237.    This treatment, which remained unchanged throughout the insureds’ course of

 treatment, was rendered typically two to three times per week for multiple months, despite the

 insureds’ self-limited soft tissue injuries.

         238.    The course of physical treatment was supported by Koyen’s boilerplate “diagnoses”

 as well as the medically useless and fraudulent neurological examinations and electrodiagnostic

 testing that Levin conducted through Diagnostic Medicine.

         239.    During the excessive and medically unnecessary course of physical therapy

 treatment, a number of the Avenue X Clinic patients were referred for physical performance testing

 that was performed by Sedrak through Fine Motor Physical Therapy.

         240.    The physical performance testing that was rendered by Sedrak – to the extent the

 testing was rendered at all – was medically useless, as the purported results of the physical

 performance testing was never incorporated into the insureds’ treatment plans, nor were the plans

 ever assessed or modified based on the purported physical performance testing results.

         241.    This testing was rendered pursuant to the predetermined treatment protocol as a

 means to maximize the charges that were submitted for each patient.

         242.    To further inflate the charges for the physical performance testing, Sedrak and Fine

 Motor Physical Therapy unbundled the charges for each test, which should at most be a single

 charge, and instead billed for multiple, independent physical performance tests on various

 extremities or body parts (e.g. the patients’ arms, legs, torso, etc.).




                                                    38
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 39 of 167 PageID #: 39




        243.    Accordingly, the charges for the physical therapy treatment and the physical

 performance tests were fraudulent as they were (a) medically unnecessary; (b) rendered pursuant

 to a pre-determined treatment protocol; (c) rendered pursuant to an improper referral and financial

 arrangement; and (d) provided for the sole purpose of maximizing the profits of the Defendants

 rather than improving the condition of each patient.

                5.     The Fraudulent Chiropractic Services

        244.    As part of the predetermined treatment protocol, the Avenue X Clinic patients were

 subjected to a course of concomitant, excessive, and medically unnecessary chiropractic services

 under Mazurovsky at AM Chiropractic and Amber Chiropractic.

        245.    Despite the prior initial examinations that were performed by Koyen through Relief

 Medical, the Avenue X Clinic patients were subjected to a chiropractic initial examination, which

 served as the “justification” to provide the medically unnecessary, illusory, and otherwise

 unreimbursable chiropractic treatment.

        246.    Moreover, despite the patients’ relatively low severity soft tissue injuries, the

 medical bills from AM Chiropractic and Amber Street Chiropractic include charges for “putative

 examinations”, which thereby falsely represent that the patients presented with problems of

 moderate severity.

        247.    As a result of the initial examinations, virtually every insured was provided multiple

 exaggerated “diagnoses” and were placed on an excessive course of treatment.

        248.    Similar to the identical course of physical therapy, nearly every Avenue X Clinic

 patient was placed on the same course of chiropractic treatment, which consisted of manipulation,

 trigger point therapy, and various stretching techniques, approximately two to three times per

 week, with monthly re-evaluations.




                                                 39
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 40 of 167 PageID #: 40




        249.    In order to justify the continued course of chiropractic treatment, the patients’

 treatment plans consistently noted that “at present time the prognosis is guarded” and that the

 patient “will require further treatment to evaluated [sic] his/her condition”.

        250.     As such, the charges for the chiropractic care were fraudulent as they were (a)

 medically unnecessary; (b) rendered pursuant to a pre-determined treatment protocol; (c) rendered

 pursuant to an improper referral and financial arrangement; and (d) provided for the sole purpose

 of maximizing the profits of the Defendants rather than improving the condition of each patient.

                6.      The Fraudulent Acupuncture Services

        251.    Consistent with the excessive and fraudulent provision of healthcare services that

 were purportedly provides to patients at the Avenue X Clinic, Mayzenberg subjected the patients

 to a series of medically unnecessary acupuncture treatments through Mingmen Acupuncture

 Services and Dai Mai Acupuncture.

        252.    In furtherance of PC Defendants’ scheme, every patient that was referred to

 Mayzenberg was subjected to an acupuncture initial examination, which rendered exaggerated

 diagnoses to justify the medically unnecessary course of acupuncture treatment.

        253.    Rather than develop a unique and legitimate acupuncture treatment plan for each

 patient, Mayzenberg treated each patient without regard to any necessary individual treatment

 strategies and did not make any necessary adjustments in treatment as the treatment progressed

 over time.

        254.    The medical records that have been submitted to Allstate in support of the charges

 for the acupuncture services demonstrate that no genuine effort was made to treat the patients’

 actual injuries, to properly assess their condition, to monitor their improvement or lack thereof, or

 to adjust the treatment to reflect the patients’ improvements or lack of improvement.




                                                  40
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 41 of 167 PageID #: 41




            255.   The pre-printed checklist and template forms used by Mayzenberg do not reflect

 any genuine examinations of the patients and contain findings that simply reiterate the patients’

 alleged subjective complaints.

            256.   Pursuant to the predetermined treatment protocol, Mayzenberg utilized a cookie-

 cutter course of acupuncture treatment in which three units of acupuncture (i.e., cupping,

 moxibustion, and another “adjunct” procedure) were billed per patient for each date of service.

            257.   Accordingly, the charges for the acupuncture treatment were fraudulent as they

 were (a) medically unnecessary; (b) rendered pursuant to a pre-determined treatment protocol; (c)

 rendered pursuant to an improper referral and financial arrangement; and (d) provided for the sole

 purpose of maximizing the profits of the Defendants rather than improving the condition of each

 patient.

                   7.     The Fraudulent Diagnostic Testing

            258.   In addition to the Fraudulent Services that were purportedly rendered to the patients

 at the Avenue X Clinic, PC Defendants relied upon medically unnecessary referrals for MRIs to

 justify the predetermined treatment protocol and excessive course of treatment that each patient

 was placed on.

            259.   A large majority of these patients were referred early in the course of treatment to

 City Wide Health Facility, where MRIs were performed prior to the expected resolution of the

 patients’ soft tissue sprains or strains.

            260.   In multiple cases, thoracic MRIs were ordered with no clear indication for the study.

 For several patients, extremity MRIs were ordered prematurely and before a conservative course

 of treatment had been maximized.




                                                    41
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 42 of 167 PageID #: 42




         261.   Patients were frequently referred to City Wide Health Facility for spinal MRIs

 wherein the orders contained reports of diffuse symptoms and diffuse findings on examination

 without a clear, localized radicular complaint correlating with objective findings.

         262.   Accordingly, the charges for the diagnostic testing were fraudulent as they were (a)

 medically unnecessary; (b) rendered pursuant to a pre-determined treatment protocol; (c) rendered

 pursuant to an improper referral and financial arrangement; and (d) provided for the sole purpose

 of maximizing the profits of the Defendants rather than improving the condition of each patient.

                8.      Fraudulent Treatment Protocol

         263.   Overall, the Defendants created a system where patients were indiscriminately

 subjected to a regimen of tests and services that were (a) medically unnecessary, (b) fraudulently

 reported, (c) falsely billed, (d) part of a pre-determined protocol of treatment, and, (e) provided for

 the sole purpose of maximizing the profits of the provider rather than improving the condition of

 the patient.

         264.   Because the tests and services provided to Allstate Claimants at the Avenue X

 Clinic were: (a) not medically necessary; (b) rendered pursuant to an unlawful referral and

 financial agreement; (c) rendered pursuant to a predetermined treatment protocol; (d) provided for

 the sole purpose of maximizing the profits of the Defendants rather than improving the condition

 of each patient; and, (e) falsely billed, the No-Fault benefit claims submitted by PC Defendants

 for these tests and services are not compensable.

         265.   To the extent that Allstate paid the PC Defendants in reliance on the documents

 created and submitted to Allstate in connection with any tests and services provided to patients of

 the Avenue X Clinic, including, but not limited to, those payments listed in Exhibits 9-16, Allstate

 is entitled to recover all payments made to the PC Defendants in connection with any such services.




                                                   42
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 43 of 167 PageID #: 43




         266.   Additionally, to the extent that any of PC Defendants’ charges submitted in

 connection with these tests and services remain unpaid, Allstate is under no obligation to make

 any payments in connection with those transactions because those tests and services were

 excessive, not warranted, and therefore not compensable under New York’s No-Fault Law.

         267.   The following examples serve to demonstrate, with particularity, how the

 defendants exploited their patients and defrauded Allstate by providing and then billing for tests

 and serviced that were false, fraudulent, and not compensable under New York’s No-Fault laws.

                1.      Patient L.P. (Claim No. 0399192913)

         268.   Patient L.P. (Claim No. 0399192913) was reportedly involved in a motor vehicle

 accident on January 21, 2016.

         269.   While being examined at the Coney Island Hospital on the date of loss, L.P.

 complained of lower back pain with no report of radicular complaints or any other additional

 injuries.

         270.   An examination at the Coney Island Hospital revealed L.P.’s back to be normal.

 During the same visit, L.P.’s neurological evaluation demonstrated the patient was intact, with

 normal motor and sensory examination findings.

         271.   At the conclusion of the examination at the Coney Island Hospital, L.P. was given

 a nonspecific diagnosis of lower back pain and was prescribed a muscle relaxant upon discharge.

         272.   On January 26, 2016, only five (5) days after the motor vehicle accident, L.P.

 presented at Relief Medical and initiated care with Koyen.

         273.   Despite the only complaint of lower back pain on the date of loss, Koyen reported

 that L.P. had complaints of neck pain radiating to both arms and shoulders, mid-back pain, bilateral




                                                 43
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 44 of 167 PageID #: 44




 shoulder pain, and bilateral knee pain, with tenderness over the neck, both shoulders, trapezius

 muscles, and muscles of the back.

        274.    As a result of the examination, Koyen recommended a course of physical therapy,

 which was subsequently performed at Relief Medical over the course of 78 dates of services, and

 ordered multiple DME, including a cervical pillow, cervical traction unit, and water circulating

 system.

        275.    At the conclusion of the initial examination, Koyen further order L.P. to undergo a

 neurological consultation at Diagnostic Medicine–despite the normal findings at the Coney Island

 Hospital–and MRIs of the cervical spine, left knee, and lumbar spine, which were performed on

 three (3) different dates of service at City Wide Health Facility.

        276.    On the same date as Koyen’s initial examination (i.e., January 26, 2016), L.P. also

 began a course of chiropractic treatment at AM Chiropractic, which continued for 53 dates of

 service, as well as a course of acupuncture treatment at Mingmen Acupuncture Services, which

 subsequently spanned 50 dates of service.

        277.    With regard to medical necessity, the patient’s complaint of lower back pain and

 subsequent findings on the date of loss were/are insufficient to support diagnostic imaging and

 suggest a relatively soft tissue injury, which would generally recover within days to a few weeks.

        278.    The excessive and concomitant treatment of physical therapy, chiropractic care, and

 acupuncture treatment, is therefore medically unnecessary.

        279.    Further, the findings by Koyen to suggest the need for a neurological consultation

 were not consistent with the patient’s own complaints nor were they consistently described by the

 other medical providers who purportedly provided treatment to L.P.




                                                  44
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 45 of 167 PageID #: 45




        280.    In connection with the treatment that was purportedly rendered to the patient, L.P.,

 the defendants, Relief Medical, AM Chiropractic, Mingmen Acupuncture Services, Diagnostic

 Medicine, and City Wide Health Facility, submitted documentation to Allstate, through the U.S.

 mail, supporting their demand for No-Fault reimbursement in connection with the services

 provided to L.P.

        281.    The documentation submitted to Allstate by the defendants demonstrates that L.P.

 received excessive, prolonged, and medically unnecessary healthcare services from the PC

 Defendants at the Avenue X Clinic during the relevant period.

                2.     Patient N.K. (Claim No. 0525904264)

        282.    Patient N.K. (Claim No. 0525904264) was reportedly involved in a motor vehicle

 accident on November 27, 2018.

        283.    Despite not requiring emergency treatment on the date of loss, N.K. presented at

 Relief Medical on November 28, 2018, only one (1) day later, where an initial examination was

 performed by Koyen.

        284.    At the time of the initial examination, Koyen utilized the pre-printed office

 note/form, in which he circled multiple complaints, including neck pain reportedly radiating to the

 arms as well as low back pain radiating to the thighs and buttocks with numbness and tingling in

 the hands and pins-and-needle sensation in the knee.

        285.    The office notes, however, provide no additional detail and do not describe the

 particular nerve roots or peripheral nerve pattern involved in the alleged radiating symptoms.

        286.    As a result of the initial examination, Koyen recommended that N.K. undergo a

 course of physical therapy and ordered various DME, including a cervical pillow, cervical traction




                                                 45
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 46 of 167 PageID #: 46




 unit, lumbosacral orthosis, water-circulation system with pump, pelvic traction unit, car seat, knee

 support, and infrared massager.

         287.    Koyen further ordered N.K. to undergo a neurological evaluation at Diagnostic

 Medicine, a CT scan of the brain, which was performed only three (3) days after the motor vehicle

 accident, and MRIs of the cervical spine, right shoulder, and right knee that were performed on

 three (3) different dates of service at City Wide Health Facility.

         288.    Thereafter, N.K. purportedly presented for 78 dates of physical therapy at Relief

 Medical, over a six (6) month period.

         289.    It should be noted that on the date of the initial examination (i.e., November 28,

 2018), N.K. also began a course of chiropractic treatment at AM Chiropractic, which continued

 for 80 dates of service, as well a course of acupuncture treatment at Mingmen Acupuncture

 Services, which spanned 57 dates of service.

         290.     Despite the multiple diagnoses that were identified by Koyen in the initial

 examination, N.K.’s injuries would be most consistent with sprains or strains to the neck, back,

 and possibly a sprain, strain, or contusion to the right knee and right shoulder, which are self-

 limited soft tissue injuries.

         291.    These types of injuries have a general recovery period of four (4) to six (6) weeks,

 with more severe sprains or strains having an approximate 12 week recovery time, in which

 treatment would consist of either a short course of physical therapy or chiropractic care with

 Acetaminophen or anti-inflammatory medication.

         292.    Consistent with this scheme, N.K. was placed on an extensive and medically

 unnecessary concomitant course of physical therapy, chiropractic care, and acupuncture treatment

 over the course of six (6) months, and was further provided with multiple and unnecessary DME.




                                                  46
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 47 of 167 PageID #: 47




        293.    In connection with the treatment that was purportedly rendered to the patient, N.K.,

 the defendants, Relief Medical, AM Chiropractic, Mingmen Acupuncture Services, Diagnostic

 Medicine, and City Wide Health Facility, submitted documentation to Allstate, through the U.S.

 mail, supporting their demand for No-Fault reimbursement in connection with the services

 provided to N.K.

        294.    The documentation submitted to Allstate by the defendants demonstrates that N.K.

 received excessive, prolonged, and medically unnecessary healthcare services from the PC

 Defendants at the Avenue X Clinic during the relevant period.

                3.      Patient A.Z. (Claim No. 0481397155)

        295.    Patient A.Z. (Claim No. 0481397155) was reportedly involved in a motor vehicle

 accident on October 30, 2017, while riding a bicycle.

        296.    The patient advised the emergency medical technicians that the motor vehicle was

 travelling at approximately 15 miles per hour and was attempting to make a left turn when it struck

 A.Z., causing A.Z. to make contact with the front bumper and fall to the ground when the motor

 vehicle came to a complete stop.

        297.    While in route to the emergency room, A.Z. complained of right ankle pain, but

 denied loss of consciousness and further denied neck or back pain.

        298.    Upon arriving at the NYU Langone Hospital, A.Z. had additional complaints of

 right knee and left shoulder pain but again denied neck pain and any numbness or tingling.

        299.    The examination that was performed at the NYU Langone Hospital revealed a full

 range of motion and X-rays of the left shoulder, right knee, and pelvis were negative for fractures.

        300.    At the conclusion of the examination, A.Z. was discharged with a prescription for

 Toradol, an anti-inflammatory medication, and baclofen, a muscle relaxant.




                                                 47
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 48 of 167 PageID #: 48




        301.    On November 6, 2017, only one (1) week after the motor vehicle accident, A.Z.

 presented at Relief Medical and was examined by Koyen.

        302.    In direct contrast to the emergency medical service and NYU Langone Hospital

 records, Koyen reported that A.Z. had injuries to the left shoulder, right leg, right knee, and right

 ankle, and had further lost consciousness as a result of the impact.

        303.    Koyen additionally noted that A.Z. had tenderness over the cervical spine, upper

 thoracic spine, and left trapezius, as well as tenderness to the left knee and right ankle.

        304.    As a result of the examination, Koyen diagnosed A.Z. with a sprain/strain of the

 thoracic spine as well as the nonspecific diagnosis of “knee trauma” and “shoulder trauma”.

        305.    In light of these findings, Koyen ordered various DME, and recommended that A.Z.

 undergo a course of physical therapy, which ensued for 45 dates of service.

        306.    While treating at Relief Medical, A.Z. also underwent a concomitant course of

 chiropractic treatment at AM Chiropractic over 50 dates of service, which included multiple

 computerized range of motion tests, and 42 dates of acupuncture treatment at Mingmen

 Acupuncture Services.

        307.    Just one (1) month after the motor vehicle accident and before the course of

 conservative treatment could be completed, A.Z. was referred by Koyen to City Wide Health

 Facility for a MRI of the right knee and to Diagnostic Medicine for a neurological consultation.

        308.    In each instance, the radiologist at City Wide Health Facility and Levin at

 Diagnostic Medicine reported inaccurate findings, which were inconsistent with the patient’s

 complaints.

        309.    These findings, however, were ultimately used by the defendants to justify the

 extensive course of treatment that A.Z. was placed on, when the patient’s injuries typically would




                                                   48
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 49 of 167 PageID #: 49




 have been treated with a course of physical therapy or chiropractic treatment over the course of

 four (4) to six (6) weeks.

        310.    In connection with the treatment that was purportedly rendered to the patient, A.Z.,

 the defendants, Relief Medical, AM Chiropractic, Mingmen Acupuncture Services, Diagnostic

 Medicine, and City Wide Health Facility, submitted documentation to Allstate, through the U.S.

 mail, supporting their demand for No-Fault reimbursement in connection with the services

 provided to A.Z.

        311.    The documentation submitted to Allstate by the defendants demonstrates that A.Z.

 received excessive, prolonged, and medically unnecessary healthcare services from the PC

 Defendants at the Avenue X Clinic during the relevant period.

                4.      Patient C.M. (Claim No. 0405306655)

        312.    Patient C.M. (Claim No. 0405306655) was reportedly involved in a motor vehicle

 accident on March 14, 2016.

        313.    Upon arrival at the Syosset Hospital Emergency Department, C.M. had complaints

 of neck and right shoulder pain. C.M. denied loss of consciousness and any additional injuries as

 a result of the motor vehicle accident.

        314.    The examination revealed no radicular symptoms nor neurological deficits and the

 subsequent X-rays of the cervical spine and shoulder were negative for fractures and showed

 degenerative disc disease and acromioclavicular arthritis.

        315.    In light of these findings, C.M. was diagnosed with sprains/strains of the neck and

 shoulder and was discharged with a prescription for Motrin.

        316.    On March 17, 2016, only three (3) days after the motor vehicle accident, C.M.

 presented at Relief Medical for an initial examination with Koyen.




                                                 49
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 50 of 167 PageID #: 50




        317.    Koyen reported that C.M. sustained an injury to the head, as well as both shoulders.

 Koyen also reported that C.M. suffered a twisted neck as a result of the motor vehicle accident.

        318.    Koyen’s documentation contradicts the sole documented complaints of neck and

 right shoulder pain at the Syosset Hospital Emergency Department, only three (3) days prior.

        319.    Notwithstanding the prior neurological examination that revealed no deficits,

 Koyen suggested that C.M. had sensory deficits of the right upper and lower extremities, though

 no specific dermatomal pattern was given.

        320.    As a result of the initial examination, Koyen referred C.M. for a neurological

 consultation with Levin, recommended that C.M. undergo a course of physical therapy, and

 ordered various DME, include a cervical pillow, cervical traction unit, and water circulating

 system.

        321.    At the advice of Koyen, C.M. began a course of physical therapy that spanned 77

 dates of service over nearly eight (8) months.

        322.    Concurrently, C.M. also began a course of chiropractic treatment at AM

 Chiropractic and acupuncture treatment at Mingmen Acupuncture Services on the same date as

 Koyen’s initial examination (i.e., March 17, 2016).

        323.    This chiropractic care and acupuncture treatment subsequently ensued over 76 and

 six sessions, respectively.

        324.    On March 26, 2016, only nine (9) days after the motor vehicle accident, C.M.

 underwent a head CT at City Wide Health Facility based on the referral from Koyen, which

 ultimately revealed no pathology to suggest acute trauma.




                                                  50
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 51 of 167 PageID #: 51




        325.    The subsequent neurological evaluation with electrodiagnostic studies at

 Diagnostic Medicine ultimately revealed no cervical radiculopathy but noted findings of severe

 bilateral carpal tunnel syndrome despite no injury to either of C.M.’s wrists.

        326.    With regard to medical necessity, self-limited soft tissue injuries such as a

 sprain/strain of the patient’s neck and shoulder would likely recover within approximately four (4)

 to six (6) weeks. Injuries such as these would typically be managed with a short course of physical

 therapy or chiropractic care and anti-inflammatory medical or acetaminophen.

        327.    Such injuries would not require the extensive and concurrent physical therapy,

 chiropractic care, and acupuncture treatment, nor the referral for a neurological evaluation and CT

 scan only three (3) days after the subject loss.

        328.    In connection with the treatment that was purportedly rendered to the patient, C.M.,

 the defendants, Relief Medical, AM Chiropractic, Mingmen Acupuncture Services, Diagnostic

 Medicine, and City Wide Health Facility, submitted documentation to Allstate, through the U.S.

 mail, supporting their demand for No-Fault reimbursement in connection with the services

 provided to C.M.

        329.    The documentation submitted to Allstate by the defendants demonstrates that C.M.

 received excessive, prolonged, and medically unnecessary healthcare services from the PC

 Defendants at the Avenue X Clinic during the relevant period.

                5.      Patient M.V. (Claim No. 0476536008)

        330.    Patient M.V. (Claim No. 0476536008) was reportedly struck by a motor vehicle

 while crossing the street on September 3, 2017.

        331.    According to the responding emergency medical technicians, M.V. was knocked to

 the ground as the subject vehicle struck M.V. in the abdomen, knees and hands.




                                                    51
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 52 of 167 PageID #: 52




         332.    As a result of the contact with the motor vehicle, M.V. complained of pain in the

 area of impact but denied any: (i) other pain or injury; (ii) strike to the head, neck or back; and/or

 (iii) loss of consciousness as a result of the collision.

         333.    On September 7, 2017, only four (4) days after the motor vehicle accident, M.V.

 presented at Relief Medical and was examined by Koyen, who reported that M.V. sustained a loss

 of consciousness and had complaints of neck pain with radiation, lower back pain radiating to the

 right thigh, numbness in both hands, and pain in the left shoulder, left elbow, and both knees.

         334.    Koyen further reported sensory deficits of M.V.’s left arm and forearm; however,

 the location of the sensory deficits was not reported.

         335.    As a result of the initial examination, Koyen recommended physical therapy and

 ordered a neurological consultation at Diagnostic Medicine as well as various DME, including a

 cervical pillow, cervical collar, cervical traction device, thoracolumbosacral orthosis, water

 circulating system, pelvic traction unit, knee support, and bed board with mattress.

         336.    At the recommendation of Koyen, M.V. began a course of physical therapy that

 ensued over 41 dates of service and further began a course of concurrent chiropractic care and

 acupuncture treatment, which spanned 45 and 40 visits, respectively.

         337.    On October 4, 2017, less than one (1) month after the motor vehicle accident and

 before a conservative course of treatment could be completed, M.V. presented at City Wide Health

 Facility for a MRI of the left shoulder at the recommendation of Koyen. A subsequent MRI of the

 cervical spine was performed at City Wide Health Facility only 12 days later on October 16, 2017.

         338.    On October 24, 2017, a neurological consultation that included electrodiagnostic

 studies was performed at Diagnostic Medicine, in which Levin noted inconsistent findings of neck




                                                    52
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 53 of 167 PageID #: 53




 pain radiating to the left arm as well as lower back pain radiating to the buttocks with numbness

 in both feet.

         339.    Consistent with this scheme, the defendants placed M.V. on an extensive and

 medically unnecessary course of treatment consisting of concomitant physical therapy,

 chiropractic care, and acupuncture treatment, with an abundant amount of diagnostic imaging and

 electrodiagnostic studies, when the patient’s injuries would appear to be consistent with contusions

 to the abdomen, knees, and hands.

         340.    These injuries would be self-limited soft tissue injuries that would be expected to

 recover within days to a few weeks, where a very short course of physical therapy or chiropractic

 care along with ice and an anti-inflammatory or Acetaminophen medication would be reasonable.

         341.    In connection with the treatment that was purportedly rendered to the patient, M.V.,

 the defendants, Relief Medical, AM Chiropractic, Mingmen Acupuncture Services, Diagnostic

 Medicine, and City Wide Health Facility, submitted documentation to Allstate, through the U.S.

 mail, supporting their demand for No-Fault reimbursement in connection with the services

 provided to M.V.

         342.    The documentation submitted to Allstate by the defendants demonstrates that M.V.

 received excessive, prolonged, and medically unnecessary healthcare services from the PC

 Defendants at the Avenue X Clinic during the relevant period.

                 6.     Patient E.G. (Claim No. 0314221960)

         343.    Patient E.G. (Claim No. 0314221960) was reportedly “clipped” by the side mirror

 of a passing motor vehicle while crossing the street on January 24, 2014.

         344.    As a result of the impact, E.G. reportedly fell to the ground.




                                                  53
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 54 of 167 PageID #: 54




        345.    The emergency medical technicians reported that E.G. complained of injuries to the

 right shoulder and elbow at the scene, but denied any additional injuries or and specifically denied

 any head, neck, or back pain.

        346.    E.G. was subsequently transported to the Coney Island Hospital for a further

 evaluation where E.G. was diagnosed with a right shoulder anterior dislocation.

        347.    After a successful closed reduction maneuver, E.G. was given a sling and was

 instructed to follow up in the orthopedic clinic.

        348.    On January 28, 2014, E.G. was evaluated by an orthopedist at Advanced Pain Care

 Medical, P.C. who confirmed the diagnosis of a dislocated shoulder with contusions to the right

 elbow and chest.

        349.    At the time of the evaluation on January 28, 2014, there was no report of an injury

 or pain in the neck and a neurological examination revealed normal motor function and intact

 sensation with symmetric reflexes.

        350.    On January 30, 2014, only six (6) days after the motor vehicle accident, E.G.

 presented at Relief Medical where an initial examination was performed by Koyen.

        351.    Koyen diagnosed E.G. with an open dislocation of the right shoulder. This is in

 direct contradiction to the diagnosis of a typical closed shoulder dislocation at the Coney Island

 Hospital, which was confirmed by the orthopedist at Advanced Pain Care Medical, P.C.

        352.    Further, Koyen provided multiple additional diagnoses, including a sprain/strain of

 the thoracic spine, right shoulder labral tear and impingement, chest contusion, and “trauma” for

 right elbow and hand; this diagnosis is in direct contradiction of E.G.’s sole prior complains of

 right shoulder and elbow pain.




                                                     54
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 55 of 167 PageID #: 55




        353.    As a result of the examination, Koyen recommended physical therapy, which

 ensued for 108 dates of service at Relief Medical.

        354.    Despite the prior neurological examination that revealed normal findings, Koyen

 referred E.G. to Diagnostic Medicine for a second neurological consultation, to a different

 orthopedist for a second orthopedic consultations, and to City Wide Health Facility for a MRI of

 the right shoulder and X-rays of the left ribs.

        355.    The MRI of the right shoulder and X-Rays of the left ribs were subsequently

 performed on January 31, 2014, only one (1) week after the motor vehicle accident and before a

 conservative course of treatment could be completed.

        356.    While treating at Relief Medical, E.G. also completed a course of acupuncture

 treatment at Mingmen Acupuncture, and chiropractic care at AM Chiropractic, which spanned 75

 and 82 dates of service, respectively.

        357.    With regard to medical necessity, it is clear that E.G. suffered a dislocated shoulder

 as a result of the motor vehicle accident on January 24, 2014.

        358.    The medical records from the PC Defendants, however, reveal numerous

 inconsistencies and improper diagnoses, which were utilized to support the medically unnecessary

 and prolonged course of concomitant physical therapy, chiropractic care, and acupuncture

 treatment.

        359.    Consistent with the defendants’ scheme, the patient was also referred for diagnostic

 imaging studies and a neurological consultation with electrodiagnostic studies that were medically

 unnecessary and simply part of the predetermined treatment protocol.

        360.    In connection with the treatment that was purportedly rendered to the patient, E.G.,

 the defendants, Relief Medical, AM Chiropractic, Mingmen Acupuncture Services, Diagnostic




                                                   55
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 56 of 167 PageID #: 56




 Medicine, and City Wide Health Facility, submitted documentation to Allstate, through the U.S.

 mail, supporting their demand for No-Fault reimbursement in connection with the services

 provided to E.G.

        361.    The documentation submitted to Allstate by the defendants demonstrates that E.G.

 received excessive, prolonged, and medically unnecessary healthcare services from the PC

 Defendants at the Avenue X Clinic during the relevant period.

                7.     Patient M.Z. (Claim No. 0424068864)

        362.    Patient M.Z. (Claim No. 0424068864) was reportedly involved in an incident on

 July 10, 2016, when a motor vehicle ran over M.Z.’s foot.

        363.    Shortly after the reported motor vehicle accident, M.Z. presented at the Lutheran

 Medical Center emergency room with complaints of pain and swelling in the left foot, which was

 noted to be only slightly swollen.

        364.    At the time of the emergency room examination, M.Z. denied neck and back pain

 and had no focal weakness nor focal numbness.

        365.    The examination at the Lutheran Medical Center revealed no deformity and no

 edema, and X-rays were negative for a fracture.

        366.    M.Z. was subsequently diagnosed with a foot sprain and was discharged from the

 emergency department.

        367.    On July 12, 2016, only two (2) days after the motor vehicle accident, M.Z. initiated

 chiropractic care at AM Chiropractic.

        368.    Despite the limited diagnosis of a foot sprain at the Lutheran Medical Center,

 Mazurovsky noted additional complaints of mid and lower back pain and that the patient was found

 to have diffusely diminished strength with normal sensation and symmetric reflexes.




                                                 56
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 57 of 167 PageID #: 57




         369.    As a result of the initial chiropractic examination, Mazurovsky diagnosed the

 patient with a thoracic sprain/strain, a lumbar sprain/strain, a sacroiliac sprain/strain, spinal

 subluxation of the thoracic vertebrae, spine subluxation of the lumbar vertebrae, and internal

 derangement of the left ankle.

         370.    On the same day as the initial chiropractic examination (i.e., July 12, 2016), M.Z.

 also began a course of acupuncture treatment at Mingmen Acupuncture Services and physical

 therapy at Relief Medical and was subsequently examined by Koyen one day later.

         371.    At the time of the examination, Koyen noted new complaints wherein M.Z.

 reportedly had complaints of mid and lower back pain, which purportedly radiated to the left leg

 with left leg weakness.

         372.    As a result of the examination, Koyen concluded that M.Z. had sustained injuries

 to the left leg and foot, and “twisted [their] trunk”.

         373.    Based on these findings, Koyen recommended that the patient continue with

 physical therapy and ordered a neurological consultation and MRIs of the left ankle – despite the

 negative findings at the Lutheran Medical Center – only nine (9) days after the motor vehicle

 accident and before a conservative course of treatment could be completed.

         374.    The Lutheran Medical Center records indicate that M.Z. presented to the emergency

 department with isolated complaints of left foot pain, which was determined to be a foot sprain.

         375.    Despite these findings, the defendants reported inconsistent and exaggerated

 complaints and injuries, which were ultimately used to justify the extensive treatment at the

 Avenue X Clinic, when a typical treatment would have included ice, elevation, and possibly the

 use of a stiff-soled shoe or walking boot for a short period of time.




                                                   57
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 58 of 167 PageID #: 58




         376.   In connection with the treatment that was purportedly rendered to the patient, M.Z.,

 the defendants, Relief Medical, AM Chiropractic, Mingmen Acupuncture Services, and Diagnostic

 Medicine, submitted documentation to Allstate, through the U.S. mail, supporting their demand

 for No-Fault reimbursement in connection with the services provided to M.Z.

         377.   The documentation submitted to Allstate by the defendants demonstrates that M.Z.

 received excessive, prolonged, and medically unnecessary healthcare services from the PC

 Defendants at the Avenue X Clinic during the relevant period.

                8.      Patient M.R. (Claim No. 0378390025)

         378.   Patient M.R. (Claim No. 0378390025) was reportedly involved in a motor vehicle

 accident on July 8, 2015, but did not require any emergency medical treatment at the scene.

         379.   On the same day (i.e., July 8, 2015), M.R. presented at Relief Medical where an

 initial examination was performed by Koyen.

         380.   Despite not requiring any emergency medical treatment at the scene, Koyen noted

 that M.R. presented with complains of neck pain and low back pain radiating to the left groin.

 Koyen noted that M.R. had tenderness over the neck, trapezius muscles, and back. The straight

 leg test was purportedly positive with radiation to both legs and M.R.’s reflexes were reported to

 be diminished for the triceps, wrist extensors, and patella reflexes.

         381.   As a result of the examination, Koyen diagnosed M.R. with sprains and strains of

 the cervical spine and lumbosacral spine and recommended that M.R. undergo a course of physical

 therapy.

         382.   M.R. subsequently underwent 23 dates of physical therapy through December 28,

 2016.




                                                  58
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 59 of 167 PageID #: 59




         383.    Concurrent to the course of physical therapy, M.R. underwent 34 dates of

 chiropractic treatment at AM Chiropractic through February 10, 2016, as well as 23 dates of

 acupuncture treatment at Mingmen Acupuncture through December 28, 2015.

         384.    In addition to the initial examination on the date of loss, Koyen also ordered a MRI

 of M.R.’s cervical spine and prescribed compounded pain cream and DME including a cervical

 pillow, cervical traction unit, a thoracolumbosacral orthosis, infrared heating lamp, pelvic traction

 unit, and bed board with mattress.

         385.    On July 28, 2015, less than three (3) weeks after the motor vehicle accident and

 before a course of conservative course of treatment could be completed, M.R. presented at City

 Wide Health Facility for a MRI of the cervical spine. The MRI of the cervical spine subsequently

 revealed no foraminal narrowing nor evidence of a herniated disc or other post-traumatic

 abnormality.

         386.    Consistent with the defendants’ scheme and treatment pursuant to a predetermined

 treatment protocol, Koyen also ordered M.R. to undergo a neurological consultation at Diagnostic

 Medicine.

         387.    At the time of the neurological consultation, Levin noted that M.R. had complaints

 of neck pain radiating to the right shoulder as well as lower back pain radiating to the buttocks,

 which was inconsistent with the findings contained in Koyen’s initial examination report.

         388.    The medical records indicate that M.R.’s injuries would be most consistent with a

 possible mild sprain or strain of the neck and back, which would be consistent with self-limited

 soft tissue sprains or strains.

         389.    These injuries generally improve within four (4) to six (6) weeks, with more severe

 sprains taking up to approximately 12 weeks to recover.




                                                  59
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 60 of 167 PageID #: 60




        390.    These soft tissue injuries would generally be treated with a short course of physical

 therapy or chiropractic care as well as an oral anti-inflammatory medication or Acetaminophen.

        391.    Here, the patient received excessive concomitant treatment with both physical

 therapy and chiropractic care, which was exacerbated by the additional acupuncture treatment.

        392.    Such treatment was carried out for nearly six (6) months of acupuncture treatment

 and physical therapy and seven (7) months of chiropractic care.

        393.    The patient therefore received care well beyond the time that the soft tissue injuries

 would have resolved.

        394.    Further, the patient was required to undergo relatively acute MRI studies for self-

 limited soft tissue injuries well before the patient had received sufficient conservative care and

 was forced to undergo a neurological consultation despite not having localized symptoms that

 corresponded with examination findings to suggest a potential diagnosis of cervical radiculopathy.

        395.    As such, the patient received an abundance of care that was medically unnecessary.

        396.    In connection with the treatment that was purportedly rendered to the patient, M.R.,

 the defendants, Relief Medical, AM Chiropractic, Mingmen Acupuncture Services, Diagnostic

 Medicine, and City Wide Health Facility, submitted documentation to Allstate, through the U.S.

 mail, supporting their demand for No-Fault reimbursement in connection with the services

 provided to M.R.

        397.    The documentation submitted to Allstate by the defendants demonstrates that M.R.

 received excessive, prolonged, and medically unnecessary healthcare services from the PC

 Defendants at the Avenue X Clinic during the relevant period.




                                                 60
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 61 of 167 PageID #: 61




 VI.    SPECIFIC ALLEGATIONS OF MAIL FRAUD RACKETEERING ACTIVITY
        398.    Throughout the course of this scheme, the Defendants created, prepared, and

 submitted (or caused to be created, prepared, and submitted) false medical documentation, and

 intentionally violated the law of the United States by devising, and intending to devise schemes to

 defraud and obtain money and property by means of false and fraudulent pretenses in

 representations, and by placing, or causing to be placed, in a post office and/or authorized

 depository for mail matter, things to be sent and delivered by the United States Postal Service, in

 violation of 18 U.S.C. § 1341 (mail fraud) for the purpose of executing, or attempting, such

 fraudulent schemes.

        399.    Unless otherwise pleaded to the contrary, all documents, notes, reports, health

 insurance claim forms, medical diagnoses, CPT Code tally sheets, referrals, letters, compounded

 medications and requests for payments in connection with the insurance claims referenced

 throughout this pleading traveled through the U.S. Mail.

        400.    Every automobile insurance claim detailed within, involved at least one use of the

 U.S. Mail, including the mailing of, among other things, the notice of claim, NF-3 forms, CMS-

 1500 forms, insurance policies, insurance payments, claims settlement checks and the return of the

 cancelled settlement drafts to the financial institution(s) from which the draft(s) were drawn, as

 well as return of settlement draft duplicates to Allstate’s home office for filing.

        A.      RELIEF MEDICAL ENTERPRISE

        401.    Koyen, Levin, Mayzenberg, Mazurovsky, Sedrak, Diagnostic Medicine, Dai Mai

 Acupuncture, Mingmen Acupuncture Services, AM Chiropractic, Amber Street Chiropractic, Fine

 Motor Physical Therapy, City Wide Health Facility, Zharov, Atbashyan, Simon Korenblit and

 Alex Korenblit (and/or other persons working at their direction and/or on their behalf) personally

 used the U.S. Mail (or caused the U.S. Mail to be used) to further their fraudulent scheme by


                                                  61
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 62 of 167 PageID #: 62




 causing medical bills and records from Relief Medical to be mailed to Allstate and/or the claimants

 or their counsel, and/or acted with knowledge that the use of the U.S. Mail would follow in the

 ordinary course of business.

         402.   Koyen, Levin, Mayzenberg, Mazurovsky, Sedrak, Diagnostic Medicine, Dai Mai

 Acupuncture, Mingmen Acupuncture Services, AM Chiropractic, Amber Street Chiropractic, Fine

 Motor Physical Therapy, City Wide Health Facility, Zharov, Atbashyan, Simon Korenblit and

 Alex Korenblit (and/or other persons working at their direction and/or on their behalf) caused

 Relief Medical to falsely certify that it was, in all respects, eligible to be reimbursed under New

 York’s No-Fault Laws each time that Relief Medical mailed a demand for payment (i.e., invoice)

 to Allstate.

         403.   During the entire course of this scheme, the provision of the excessive and

 medically unnecessary services to patients of Relief Medical rendered Relief Medical completely

 ineligible for No-Fault reimbursement under New York law.

         404.   Koyen’s and Relief Medical’s illegal financial and referral arrangements with the

 providers at the Avenue X Clinic, and with City Wide Health Facility, also rendered Relief Medical

 completely ineligible for No-Fault reimbursement under New York law.

         405.   Because Relief Medical was not lawfully eligible to seek or collect No-Fault benefit

 payments under New York’s No-Fault laws, Koyen, Levin, Mayzenberg, Mazurovsky, Sedrak,

 Diagnostic Medicine, Dai Mai Acupuncture, Mingmen Acupuncture Services, AM Chiropractic,

 Amber Street Chiropractic, Fine Motor Physical Therapy, City Wide Health Facility, Zharov,

 Atbashyan, Simon Korenblit and Alex Korenblit (and/or other persons working at their direction

 and/or on their behalf) purposely caused Relief Medical to make a misrepresentation each and




                                                 62
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 63 of 167 PageID #: 63




 every time that Relief Medical mailed a document to Allstate claiming eligibility for No-Fault

 reimbursement.

        406.    Therefore, because (a) Relief Medical was not lawfully eligible to seek or collect

 No-Fault benefit payments, (b) Koyen, Levin, Mayzenberg, Mazurovsky, Sedrak, Diagnostic

 Medicine, Dai Mai Acupuncture, Mingmen Acupuncture Services, AM Chiropractic, Amber

 Street Chiropractic, Fine Motor Physical Therapy, City Wide Health Facility, Zharov, Atbashyan,

 Simon Korenblit and Alex Korenblit (and/or other persons working at their direction and/or on

 their behalf) caused Relief Medical to seek No-Fault reimbursement from Allstate, even though

 Relief Medical was not entitled to such reimbursement, and (c) Relief Medical used (or was caused

 to use) the U.S. Mail to seek No-Fault reimbursement, it is clear that Koyen, Levin, Mayzenberg,

 Mazurovsky, Sedrak, Diagnostic Medicine, Dai Mai Acupuncture, Mingmen Acupuncture

 Services, AM Chiropractic, Amber Street Chiropractic, Fine Motor Physical Therapy, City Wide

 Health Facility, Zharov, Atbashyan, Simon Korenblit and Alex Korenblit committed mail fraud.

        407.    At all times relevant, Koyen, Levin, Mayzenberg, Mazurovsky, Sedrak, Diagnostic

 Medicine, Dai Mai Acupuncture, Mingmen Acupuncture Services, AM Chiropractic, Amber

 Street Chiropractic, Fine Motor Physical Therapy, City Wide Health Facility, Zharov, Atbashyan,

 Simon Korenblit and Alex Korenblit knew that Relief Medical (including its employees,

 contractors, and agents), a patient, a claimant, an insurance carrier, a patient’s attorney, other

 healthcare providers, and/or Allstate would use (or be caused to use) the U.S. Mail in connection

 with each of the fraudulent claims, including issuing payments based upon documentation mailed

 by Relief Medical.

        408.    Allstate estimates that the unlawful operation of the Relief Medical enterprise

 generated hundreds of mailings. A table highlighting selected examples of mailings made in the




                                                63
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 64 of 167 PageID #: 64




 furtherance of this scheme is annexed at Exhibit 1 and incorporated by references as if set forth in

 its entirety.

         B.      DIAGNOSTIC MEDICINE ENTERPRISE

         409.    Levin, Koyen and Relief Medical (and/or other persons working at their direction

 and/or on their behalf) personally used the U.S. Mail (or caused the U.S. Mail to be used) to further

 their fraudulent scheme by causing medical bills and records from Diagnostic Medicine to be

 mailed to Allstate and/or the claimants or their counsel, and/or acted with knowledge that the use

 of the U.S. Mail would follow in the ordinary course of business.

         410.    Levin, Koyen and Relief Medical (and/or other persons working at their direction

 and/or on their behalf) caused Diagnostic Medicine to falsely certify that it was, in all respects,

 eligible to be reimbursed under New York’s No-Fault Laws each time that Diagnostic Medicine

 mailed a demand for payment (i.e., invoice) to Allstate.

         411.    During the entire course of this scheme, the provision of the excessive and

 medically unnecessary services to patients of Diagnostic Medicine rendered Diagnostic Medicine

 completely ineligible for No-Fault reimbursement under New York law.

         412.    Levin’s and Diagnostic Medicine’s illegal financial and referral arrangements with

 the providers at the Avenue X Clinic, and with City Wide Health Facility, also rendered Diagnostic

 Medicine completely ineligible for No-Fault reimbursement under New York law.

         413.    Because Diagnostic Medicine was not lawfully eligible to seek or collect No-Fault

 benefit payments under New York’s No-Fault laws, Levin, Koyen and Relief Medical (and/or

 other persons working at their direction and/or on their behalf) purposely caused Diagnostic

 Medicine to make a misrepresentation each and every time that Diagnostic Medicine mailed a

 document to Allstate claiming eligibility for No-Fault reimbursement.




                                                  64
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 65 of 167 PageID #: 65




         414.    Therefore, because (a) Diagnostic Medicine was not lawfully eligible to seek or

 collect No-Fault benefit payments, (b) Levin, Koyen and Relief Medical (and/or other persons

 working at their direction and/or on their behalf) caused Diagnostic Medicine to seek No-Fault

 reimbursement from Allstate, even though Diagnostic Medicine was not entitled to such

 reimbursement, and (c) Diagnostic Medicine used (or was caused to use) the U.S. Mail to seek No-

 Fault reimbursement, it is clear that Levin, Koyen and Relief Medical committed mail fraud.

         415.    At all times relevant, Levin, Koyen and Relief Medical knew that Diagnostic

 Medicine (including its employees, contractors, and agents), a patient, a claimant, an insurance

 carrier, a patient’s attorney, other healthcare providers, and/or Allstate would use (or be caused to

 use) the U.S. Mail in connection with each of the fraudulent claims, including issuing payments

 based upon documentation mailed by Diagnostic Medicine.

         416.    Allstate estimates that the unlawful operation of the Diagnostic Medicine enterprise

 generated hundreds of mailings. A table highlighting selected examples of mailings made in the

 furtherance of this scheme is annexed at Exhibit 2 and incorporated by references as if set forth in

 its entirety.

         C.      DAI MAI ACUPUNCTURE ENTERPRISE

         417.    Mayzenberg, Koyen and Relief Medical (and/or other persons working at their

 direction and/or on their behalf) personally used the U.S. Mail (or caused the U.S. Mail to be used)

 to further their fraudulent scheme by causing medical bills and records from Dai Mai Acupuncture

 to be mailed to Allstate and/or the claimants or their counsel, and/or acted with knowledge that the

 use of the U.S. Mail would follow in the ordinary course of business.

         418.    Mayzenberg, Koyen and Relief Medical (and/or other persons working at their

 direction and/or on their behalf) caused Dai Mai Acupuncture to falsely certify that it was, in all




                                                  65
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 66 of 167 PageID #: 66




 respects, eligible to be reimbursed under New York’s No-Fault Laws each time that Dai Mai

 Acupuncture mailed a demand for payment (i.e., invoice) to Allstate.

        419.    During the entire course of this scheme, the provision of the excessive and

 medically unnecessary services to patients of Dai Mai Acupuncture rendered Dai Mai Acupuncture

 completely ineligible for No-Fault reimbursement under New York law.

        420.    Mayzenberg’s and Dai Mai Acupuncture’s illegal financial and referral

 arrangements with the providers at the Avenue X Clinic, and with City Wide Health Facility, also

 rendered Dai Mai Acupuncture completely ineligible for No-Fault reimbursement under New York

 law.

        421.    Because Dai Mai Acupuncture was not lawfully eligible to seek or collect No-Fault

 benefit payments under New York’s No-Fault laws, Mayzenberg, Koyen and Relief Medical

 (and/or other persons working at their direction and/or on their behalf) purposely caused Dai Mai

 Acupuncture to make a misrepresentation each and every time that Dai Mai Acupuncture mailed

 a document to Allstate claiming eligibility for No-Fault reimbursement.

        422.    Therefore, because (a) Dai Mai Acupuncture was not lawfully eligible to seek or

 collect No-Fault benefit payments, (b) Mayzenberg, Koyen and Relief Medical (and/or other

 persons working at their direction and/or on their behalf) caused Dai Mai Acupuncture to seek No-

 Fault reimbursement from Allstate, even though Dai Mai Acupuncture was not entitled to such

 reimbursement, and (c) Dai Mai Acupuncture used (or was caused to use) the U.S. Mail to seek

 No-Fault reimbursement, it is clear that Mayzenberg committed mail fraud.

        423.    At all times relevant, Mayzenberg, Koyen and Relief Medical knew that Dai Mai

 Acupuncture (including its employees, contractors, and agents), a patient, a claimant, an insurance

 carrier, a patient’s attorney, other healthcare providers, and/or Allstate would use (or be caused to




                                                  66
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 67 of 167 PageID #: 67




 use) the U.S. Mail in connection with each of the fraudulent claims, including issuing payments

 based upon documentation mailed by Dai Mai Acupuncture.

         424.     Allstate estimates that the unlawful operation of the Dai Mai Acupuncture

 enterprise generated hundreds of mailings. A table highlighting selected examples of mailings

 made in the furtherance of this scheme is annexed at Exhibit 3 and incorporated by references as

 if set forth in its entirety.

         D.       MINGMEN ACUPUNCTURE SERVICES ENTERPRISE

         425.     Mayzenberg, Koyen and Relief Medical (and/or other persons working at their

 direction and/or on their behalf) personally used the U.S. Mail (or caused the U.S. Mail to be used)

 to further their fraudulent scheme by causing medical bills and records from Mingmen

 Acupuncture Services to be mailed to Allstate and/or the claimants or their counsel, and/or acted

 with knowledge that the use of the U.S. Mail would follow in the ordinary course of business.

         426.     Mayzenberg, Koyen and Relief Medical (and/or other persons working at their

 direction and/or on their behalf) caused Mingmen Acupuncture Services to falsely certify that it

 was, in all respects, eligible to be reimbursed under New York’s No-Fault Laws each time that

 Mingmen Acupuncture Services mailed a demand for payment (i.e., invoice) to Allstate.

         427.     During the entire course of this scheme, the provision of the excessive and

 medically unnecessary services to patients of Mingmen Acupuncture Services rendered Mingmen

 Acupuncture Services completely ineligible for No-Fault reimbursement under New York law.

         428.     Mayzenberg’s and Mingmen Acupuncture Services’ illegal financial and referral

 arrangements with the providers at the Avenue X Clinic, and with City Wide Health Facility, also

 rendered Mingmen Acupuncture Services completely ineligible for No-Fault reimbursement under

 New York law.




                                                 67
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 68 of 167 PageID #: 68




         429.    Because Mingmen Acupuncture Services was not lawfully eligible to seek or

 collect No-Fault benefit payments under New York’s No-Fault laws, Mayzenberg, Koyen and

 Relief Medical (and/or other persons working at their direction and/or on their behalf) purposely

 caused Mingmen Acupuncture Services to make a misrepresentation each and every time that

 Mingmen Acupuncture Services mailed a document to Allstate claiming eligibility for No-Fault

 reimbursement.

         430.    Therefore, because (a) Mingmen Acupuncture Services was not lawfully eligible to

 seek or collect No-Fault benefit payments, (b) Mayzenberg, Koyen and Relief Medical (and/or

 other persons working at their direction and/or on their behalf) caused Mingmen Acupuncture

 Services to seek No-Fault reimbursement from Allstate, even though Mingmen Acupuncture

 Services was not entitled to such reimbursement, and (c) Mingmen Acupuncture Services used (or

 was caused to use) the U.S. Mail to seek No-Fault reimbursement, it is clear that Mayzenberg

 committed mail fraud.

         431.    At all times relevant, Mayzenberg, Koyen and Relief Medical knew that Mingmen

 Acupuncture Services (including its employees, contractors, and agents), a patient, a claimant, an

 insurance carrier, a patient’s attorney, other healthcare providers, and/or Allstate would use (or be

 caused to use) the U.S. Mail in connection with each of the fraudulent claims, including issuing

 payments based upon documentation mailed by Mingmen Acupuncture Services.

         432.    Allstate estimates that the unlawful operation of the Mingmen Acupuncture

 Services enterprise generated hundreds of mailings. A table highlighting selected examples of

 mailings made in the furtherance of this scheme is annexed at Exhibit 4 and incorporated by

 references as if set forth in its entirety.




                                                  68
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 69 of 167 PageID #: 69




        E.      AM CHIROPRACTIC ENTERPRISE

        433.     Mazurovsky, Koyen and Relief Medical (and/or other persons working at their

 direction and/or on their behalf) personally used the U.S. Mail (or caused the U.S. Mail to be used)

 to further their fraudulent scheme by causing medical bills and records from AM Chiropractic to

 be mailed to Allstate and/or the claimants or their counsel, and/or acted with knowledge that the

 use of the U.S. Mail would follow in the ordinary course of business.

        434.    Mazurovsky, Koyen and Relief Medical (and/or other persons working at their

 direction and/or on their behalf) caused AM Chiropractic to falsely certify that it was, in all

 respects, eligible to be reimbursed under New York’s No-Fault Laws each time that AM

 Chiropractic mailed a demand for payment (i.e., invoice) to Allstate.

        435.    During the entire course of this scheme, the provision of the excessive and

 medically unnecessary services to patients of AM Chiropractic rendered AM Chiropractic

 completely ineligible for No-Fault reimbursement under New York law.

        436.    Mazurovsky’s and AM Chiropractic’s illegal financial and referral arrangements

 with the providers at the Avenue X Clinic, and with City Wide Health Facility, also rendered AM

 Chiropractic completely ineligible for No-Fault reimbursement under New York law.

        437.    Because AM Chiropractic was not lawfully eligible to seek or collect No-Fault

 benefit payments under New York’s No-Fault laws, Mazurovsky, Koyen and Relief Medical

 (and/or other persons working at their direction and/or on their behalf) purposely caused AM

 Chiropractic to make a misrepresentation each and every time that AM Chiropractic mailed a

 document to Allstate claiming eligibility for No-Fault reimbursement.

        438.    Therefore, because (a) AM Chiropractic was not lawfully eligible to seek or collect

 No-Fault benefit payments, (b) Mazurovsky, Koyen and Relief Medical (and/or other persons




                                                 69
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 70 of 167 PageID #: 70




 working at their direction and/or on their behalf) caused AM Chiropractic to seek No-Fault

 reimbursement from Allstate, even though AM Chiropractic was not entitled to such

 reimbursement, and (c) AM Chiropractic used (or was caused to use) the U.S. Mail to seek No-

 Fault reimbursement, it is clear that Mazurovsky, Koyen and Relief Medical committed mail fraud.

         439.    At all times relevant, Mazurovsky, Koyen and Relief Medical knew that AM

 Chiropractic (including its employees, contractors, and agents), a patient, a claimant, an insurance

 carrier, a patient’s attorney, other healthcare providers, and/or Allstate would use (or be caused to

 use) the U.S. Mail in connection with each of the fraudulent claims, including issuing payments

 based upon documentation mailed by AM Chiropractic.

         440.    Allstate estimates that the unlawful operation of the AM Chiropractic enterprise

 generated hundreds of mailings. A table highlighting selected examples of mailings made in the

 furtherance of this scheme is annexed at Exhibit 5 and incorporated by references as if set forth in

 its entirety.

         F.      AMBER STREET CHIROPRACTIC ENTERPRISE

         441.    Mazurovsky, Koyen and Relief Medical (and/or other persons working at their

 direction and/or on their behalf) personally used the U.S. Mail (or caused the U.S. Mail to be used)

 to further their fraudulent scheme by causing medical bills and records from Amber Street

 Chiropractic to be mailed to Allstate and/or the claimants or their counsel, and/or acted with

 knowledge that the use of the U.S. Mail would follow in the ordinary course of business.

         442.    Mazurovsky, Koyen and Relief Medical (and/or other persons working at their

 direction and/or on their behalf) caused Amber Street Chiropractic to falsely certify that it was, in

 all respects, eligible to be reimbursed under New York’s No-Fault Laws each time that Amber

 Street Chiropractic mailed a demand for payment (i.e., invoice) to Allstate.




                                                  70
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 71 of 167 PageID #: 71




        443.    During the entire course of this scheme, the provision of the excessive and

 medically unnecessary services to patients of Amber Street Chiropractic rendered Amber Street

 Chiropractic completely ineligible for No-Fault reimbursement under New York law.

        444.    Mazurovsky’s and Amber Street Chiropractic’s illegal financial and referral

 arrangements with the providers at the Avenue X Clinic, and with City Wide Health Facility, also

 rendered Amber Street Chiropractic completely ineligible for No-Fault reimbursement under New

 York law.

        445.    Because Amber Street Chiropractic was not lawfully eligible to seek or collect No-

 Fault benefit payments under New York’s No-Fault laws, Mazurovsky, Koyen and Relief Medical

 (and/or other persons working at their direction and/or on their behalf) purposely caused Amber

 Street Chiropractic to make a misrepresentation each and every time that Amber Street

 Chiropractic mailed a document to Allstate claiming eligibility for No-Fault reimbursement.

        446.    Therefore, because (a) Amber Street Chiropractic was not lawfully eligible to seek

 or collect No-Fault benefit payments, (b) Mazurovsky, Koyen and Relief Medical (and/or other

 persons working at their direction and/or on their behalf) caused Amber Street Chiropractic to seek

 No-Fault reimbursement from Allstate, even though Amber Street Chiropractic was not entitled to

 such reimbursement, and (c) Amber Street Chiropractic used (or was caused to use) the U.S. Mail

 to seek No-Fault reimbursement, it is clear that Mazurovsky, Koyen and Relief Medical committed

 mail fraud.

        447.    At all times relevant, Mazurovsky, Koyen and Relief Medical knew that Amber

 Street Chiropractic (including its employees, contractors, and agents), a patient, a claimant, an

 insurance carrier, a patient’s attorney, other healthcare providers, and/or Allstate would use (or be




                                                  71
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 72 of 167 PageID #: 72




 caused to use) the U.S. Mail in connection with each of the fraudulent claims, including issuing

 payments based upon documentation mailed by Amber Street Chiropractic.

         448.     Allstate estimates that the unlawful operation of the Amber Street Chiropractic

 enterprise generated hundreds of mailings. A table highlighting selected examples of mailings

 made in the furtherance of this scheme is annexed at Exhibit 6 and incorporated by references as

 if set forth in its entirety.

         G.       Fine Motor Physical Therapy Enterprise

         449.     Sedrak, Koyen and Relief Medical (and/or other persons working at their direction

 and/or on their behalf) personally used the U.S. Mail (or caused the U.S. Mail to be used) to further

 their fraudulent scheme by causing medical bills and records from Fine Motor Physical Therapy

 to be mailed to Allstate and/or the claimants or their counsel, and/or acted with knowledge that the

 use of the U.S. Mail would follow in the ordinary course of business.

         450.     Sedrak, Koyen and Relief Medical (and/or other persons working at their direction

 and/or on their behalf) caused Fine Motor Physical Therapy to falsely certify that it was, in all

 respects, eligible to be reimbursed under New York’s No-Fault Laws each time that Fine Motor

 Physical T mailed a demand for payment (i.e., invoice) to Allstate.

         451.     During the entire course of this scheme, the provision of the excessive and

 medically unnecessary services to patients of Fine Motor Physical Therapy rendered Fine Motor

 Physical Therapy completely ineligible for No-Fault reimbursement under New York law.

         452.     Sedrak’s and Fine Motor Physical Therapy’s illegal financial and referral

 arrangements with the providers at the Avenue X Clinic, and with City Wide Health Facility, also

 rendered Fine Motor Physical Therapy completely ineligible for No-Fault reimbursement under

 New York law.




                                                  72
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 73 of 167 PageID #: 73




         453.     Because Fine Motor Physical Therapy was not lawfully eligible to seek or collect

 No-Fault benefit payments under New York’s No-Fault laws, Sedrak, Koyen and Relief Medical

 (and/or other persons working at their direction and/or on their behalf) purposely caused Fine

 Motor Physical Therapy to make a misrepresentation each and every time that Fine Motor Physical

 Therapy mailed a document to Allstate claiming eligibility for No-Fault reimbursement.

         454.     Therefore, because (a) Fine Motor Physical Therapy was not lawfully eligible to

 seek or collect No-Fault benefit payments, (b) Sedrak, Koyen and Relief Medical (and/or other

 persons working at their direction and/or on their behalf) caused Fine Motor Physical Therapy to

 seek No-Fault reimbursement from Allstate, even though Fine Motor Physical Therapy was not

 entitled to such reimbursement, and (c) Fine Motor Physical Therapy used (or was caused to use)

 the U.S. Mail to seek No-Fault reimbursement, it is clear that Sedrak, Koyen and Relief Medical

 committed mail fraud.

         455.     At all times relevant, Sedrak, Koyen and Relief Medical knew that Fine Motor

 Physical Therapy (including its employees, contractors, and agents), a patient, a claimant, an

 insurance carrier, a patient’s attorney, other healthcare providers, and/or Allstate would use (or be

 caused to use) the U.S. Mail in connection with each of the fraudulent claims, including issuing

 payments based upon documentation mailed by Fine Motor Physical Therapy.

         456.     Allstate estimates that the unlawful operation of the Fine Motor Physical Therapy

 enterprise generated hundreds of mailings. A table highlighting selected examples of mailings

 made in the furtherance of this scheme is annexed at Exhibit 7 and incorporated by references as

 if set forth in its entirety.




                                                  73
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 74 of 167 PageID #: 74




        H.      CITY WIDE HEALTH FACILITY ENTERPRISE

        457.    Zharov, Atbashyan, Simon Korenblit, Alex Korenblit, Koyen and Relief Medical

 (and/or other persons working at their direction and/or on their behalf) personally used the U.S.

 Mail (or caused the U.S. Mail to be used) to further their fraudulent scheme by causing medical

 bills and records from City Wide Health Facility to be mailed to Allstate and/or the claimants or

 their counsel, and/or acted with knowledge that the use of the U.S. Mail would follow in the

 ordinary course of business.

        458.    Zharov, Atbashyan, Simon Korenblit, Alex Korenblit, Koyen and Relief Medical

 (and/or other persons working at their direction and/or on their behalf) caused City Wide Health

 Facility to falsely certify that it was, in all respects, eligible to be reimbursed under New York’s

 No-Fault Laws each time that City Wide Health Facility mailed a demand for payment (i.e.,

 invoice) to Allstate.

        459.    During the entire course of this scheme, the provision of the excessive and

 medically unnecessary services to patients of City Wide Health Facility rendered City Wide Health

 Facility completely ineligible for No-Fault reimbursement under New York law.

        460.    Zharov’s, Atbashyan’s, Simon Korenblit’s, Alex Korenblit’s, and City Wide Health

 Facility’s illegal financial and referral arrangements with the providers at the Avenue X also

 rendered City Wide Health Facility completely ineligible for No-Fault reimbursement under New

 York law.

        461.    Because City Wide Health Facility was not lawfully eligible to seek or collect No-

 Fault benefit payments under New York’s No-Fault laws, Zharov, Atbashyan, Simon Korenblit,

 Alex Korenblit, Koyen and Relief Medical (and/or other persons working at their direction and/or

 on their behalf) purposely caused City Wide Health Facility to make a misrepresentation each and




                                                 74
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 75 of 167 PageID #: 75




 every time that City Wide Health Facility mailed a document to Allstate claiming eligibility for

 No-Fault reimbursement.

         462.     Therefore, because (a) City Wide Health Facility was not lawfully eligible to seek

 or collect No-Fault benefit payments, (b) Zharov, Atbashyan, Simon Korenblit, Alex Korenblit,

 Koyen and Relief Medical (and/or other persons working at their direction and/or on their behalf)

 caused City Wide Health Facility to seek No-Fault reimbursement from Allstate, even though City

 Wide Health Facility was not entitled to such reimbursement, and (c) City Wide Health Facility

 used (or was caused to use) the U.S. Mail to seek No-Fault reimbursement, it is clear that Zharov,

 Atbashyan, Simon Korenblit, Alex Korenblit, Koyen and Relief Medical committed mail fraud.

         463.     At all times relevant, Zharov, Atbashyan, Simon Korenblit, Alex Korenblit, Koyen

 and Relief Medical knew that City Wide Health Facility (including its owners, employees,

 contractors, and agents), a patient, a claimant, an insurance carrier, a patient’s attorney, other

 healthcare providers, and/or Allstate would use (or be caused to use) the U.S. Mail in connection

 with each of the fraudulent claims, including issuing payments based upon documentation mailed

 by City Wide Health Facility.

         464.     Allstate estimates that the unlawful operation of the City Wide Health Facility

 enterprise generated hundreds of mailings. A table highlighting selected examples of mailings

 made in the furtherance of this scheme is annexed at Exhibit 8 and incorporated by references as

 if set forth in its entirety.

         I.       EZ PROCESSING, LLC ENTERPRISE

         465.     Koyen, Levin, Mazurovsky, Sedrak, Relief Medical, Diagnostic Medicine, AM

 Chiropractic, Amber Street Chiropractic and Fine Motor Physical Therapy (and/or persons

 working at their direction and/or on their behalf) used the U.S. Mail (or caused the U.S. Mail to be




                                                  75
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 76 of 167 PageID #: 76




 used) to further the defendants’ fraudulent scheme by causing medical bills and records from Relief

 Medical, Diagnostic Medicine, AM Chiropractic, Amber Street Chiropractic, and Fine Motor

 Physical Therapy through EZ Processing to be mailed to Allstate and/or the claimants or their

 counsel, and/or acted with knowledge the use of the U.S. Mail would follow in the ordinary course

 of business.

        466.    Koyen, Levin, Mazurovsky, Sedrak, Relief Medical, Diagnostic Medicine, AM

 Chiropractic, Amber Street Chiropractic and Fine Motor Physical Therapy (and/or other persons

 working at their direction and/or on their behalf) caused Relief Medical, Diagnostic Medicine, AM

 Chiropractic, Amber Street Chiropractic, and Fine Motor Physical Therapy to falsely certify that

 they were, in all respects, eligible to be reimbursed under New York’s No-Fault Laws each time

 that a demand for payment (i.e., invoice) was mailed to Allstate, by and through EZ Processing.

        467.    During the entire course of this scheme, the provision of the excessive and

 medically unnecessary services to patients of Relief Medical, Diagnostic Medicine, AM

 Chiropractic, Amber Street Chiropractic, and Fine Motor Physical Therapy rendered Relief

 Medical, Diagnostic Medicine, AM Chiropractic, Amber Street Chiropractic, and Fine Motor

 Physical Therapy completely ineligible for No-Fault reimbursement under New York law.

        468.    Relief Medical’s, Diagnostic Medicine’s, AM Chiropractic’s, Amber Street

 Chiropractic’s, and Fine Motor Physical Therapy’s illegal financial and referral arrangements with

 the providers at the Avenue X Clinic and with City Wide Health Facility also rendered Relief

 Medical, Diagnostic Medicine, AM Chiropractic, Amber Street Chiropractic, and Fine Motor

 Physical Therapy completely ineligible for No-Fault reimbursement under New York law.

        469.    Because Relief Medical, Diagnostic Medicine, AM Chiropractic, Amber Street

 Chiropractic, and Fine Motor Physical Therapy were not lawfully eligible to seek or collect No-




                                                 76
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 77 of 167 PageID #: 77




 Fault benefit payments under New York’s No-Fault laws, Koyen, Levin, Mazurovsky, Sedrak,

 Relief Medical, Diagnostic Medicine, AM Chiropractic, Amber Street Chiropractic and Fine

 Motor Physical Therapy (and/or other persons working at their direction and/or on their behalf)

 purposely caused Relief Medical, Diagnostic Medicine, AM Chiropractic, Amber Street

 Chiropractic, and Fine Motor Physical Therapy to make a misrepresentation each and every time

 that Relief Medical, Diagnostic Medicine, AM Chiropractic, Amber Street Chiropractic, and Fine

 Motor Physical Therapy, mailed a document to Allstate, by and through EZ Processing, claiming

 eligibility for No-Fault reimbursement.

        470.   Therefore, because (a) Relief Medical, Diagnostic Medicine, AM Chiropractic,

 Amber Street Chiropractic, and Fine Motor Physical Therapy were not lawfully eligible to seek or

 collect No-Fault benefit payments, (b) Koyen, Levin, Mazurovsky, Sedrak, Relief Medical,

 Diagnostic Medicine, AM Chiropractic, Amber Street Chiropractic and Fine Motor Physical

 Therapy (and/or other persons working at thier direction and/or on thier behalf) caused Relief

 Medical, Diagnostic Medicine, AM Chiropractic, Amber Street Chiropractic, and Fine Motor

 Physical Therapy, to seek No-Fault reimbursement from Allstate, by and through EZ Processing,

 even though Relief Medical, Diagnostic Medicine, AM Chiropractic, Amber Street Chiropractic,

 and Fine Motor Physical Therapy were not entitled to such reimbursement, and (c) Koyen, Levin,

 Mazurovsky, Sedrak, Relief Medical, Diagnostic Medicine, AM Chiropractic, Amber Street

 Chiropractic and Fine Motor Physical Therapy used (or caused EZ Processing to use) the U.S.

 Mail to seek No-Fault reimbursement on behalf of Relief Medical, Diagnostic Medicine, AM

 Chiropractic, Amber Street Chiropractic, and Fine Motor Physical Therapy, it is clear that Koyen,

 Levin, Mazurovsky, Sedrak, Relief Medical, Diagnostic Medicine, AM Chiropractic, Amber

 Street Chiropractic and Fine Motor Physical Therapy committed mail fraud.




                                                77
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 78 of 167 PageID #: 78




        471.    At all times relevant, Koyen, Levin, Mazurovsky, Sedrak, Relief Medical,

 Diagnostic Medicine, AM Chiropractic, Amber Street Chiropractic, and Fine Motor Physical

 Therapy (including its employees, contractors, and agents), a patient, a claimant, an insurance

 carrier, a patient’s attorney, other healthcare providers, and/or Allstate would use (or be caused to

 use) the U.S. Mail in connection with each of the fraudulent claims, including issuing payments

 based upon documentation mailed by Koyen, Levin, Mazurovsky, Sedrak, Relief Medical,

 Diagnostic Medicine, AM Chiropractic, Amber Street Chiropractic, and Fine Motor Physical

 Therapy.

        472.    Allstate estimates that the unlawful operation of the Relief Medical, Diagnostic

 Medicine, AM Chiropractic, Amber Street Chiropractic, and Fine Motor Physical Therapy

 enterprise generated hundreds of mailings through by and through EZ Processing.               Tables

 highlighting selected examples of mailings made in the furtherance of this scheme are annexed at

 Exhibits 1-2 and 5-7 and incorporated by references as if set forth in its entirety.

 VII.   MATERIAL MISREPRESENTATIONS AND JUSTIFIABLE RELIANCE

        A.      MATERIAL MISREPRESENTATIONS MADE BY THE DEFENDANTS

        473.    To induce Allstate to pay the fraudulent charges for unnecessary, unlawful, and

 undelivered treatments and tests, the Defendants submitted, or caused to be submitted, false

 medical documentation that materially misrepresented that the medical services they provided

 were necessary.

        474.    Included in this false medical documentation were New York Motor Vehicle No-

 Fault Insurance Law Verification of Treatment By Attending Physician Or Other Provider Of

 Health Service forms (“NF-3”).




                                                  78
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 79 of 167 PageID #: 79




         475.    The back of all NF-3 forms contain the following language in bold and capitalized

 font: “Any person who knowingly and with intent to defraud any insurance company of other

 person files an application for commercial insurance or a statement of claim for any commercial

 or personal insurance benefits containing any materially false information, or conceals for the

 purpose of misleading, information concerning any fact material thereto … to a law enforcement

 agency, the Department of Motor Vehicles or an insurance company, commits a fraudulent act,

 which is a crime, and shall also be subject to a civil penalty”.

         476.    Despite the warning on the back of the NF-3 forms, the Defendants included false,

 incomplete, and/or misleading information in the bills and supporting documentation submitted to

 Allstate for payment, as discussed supra.

         477.    Through the submission of patient records, invoices, NF-3 forms, and other medical

 documentation to Allstate via the U.S. Mail, Defendants attested to the fact and necessity of the

 visits, examinations, interviews, screenings, testing, procedures, and ancillary services for which

 they billed Allstate.

         478.    As the Defendants subjected their patients to excessive and invasive treatments that

 were: (a) medically unnecessary; (b) rendered pursuant to an unlawful referral and financial

 agreement; (c) rendered pursuant to a predetermined treatment protocol; (d) provided for the sole

 purpose of maximizing the profits of the Defendants rather than improving the condition of each

 patient; and (e) falsely billed, each bill and accompanying documentation submitted by, or on

 behalf of, the Defendants to Allstate constitutes a material misrepresentation.

         479.    Additionally, as discussed above, the Defendants knew, and it was reasonably

 foreseeable, that their patients, or their patients’ representatives, would submit the Defendants’




                                                  79
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 80 of 167 PageID #: 80




 bills, and related documentation, through the U.S. Mail when they sought claim settlement

 payments from Allstate.

        480.    In these instances, documents submitted to Allstate through the U.S. Mail included

 medical records and bills generated by at least one of the Defendants.

        481.    As part of this scheme, Defendants intended for Allstate to act in reliance on the

 statements and representations contained in the records and bills concerning the treatment and tests

 provided to patients.

        482.    In reasonable reliance on the statements and representations contained in the

 records and bills concerning the treatment and tests provided to patients, Allstate did in fact tender

 payment for the treatment and testing provided by the Defendants.

        B.      ALLSTATE’S JUSTIFIABLE RELIANCE
        483.    Each claim submitted to Allstate by (or on behalf of) Relief Medical, Diagnostic

 Medicine, Dai Mai Acupuncture, Mingmen Acupuncture Services, AM Chiropractic, Amber

 Street Chiropractic, Fine Motor Physical Therapy, and City Wide Health Facility was verified

 pursuant to Insurance Law § 403.

        484.    At all relevant times, Koyen, Levin, Mayzenberg, Mazurovsky, and Sedrak, as duly

 licensed healthcare providers, were legally and ethically obligated to act honestly and with

 integrity, and were also legally and ethically obligated to act in accordance with any other aspect

 of their oath as a licensed medical professional.

        485.    To induce Allstate to promptly pay Relief Medical’s, Diagnostic Medicine’s, Dai

 Mai Acupuncture’s, Mingmen Acupuncture Services’, AM Chiropractic’s, Amber Street

 Chiropractic’s, Fine Motor Physical Therapy’s, and City Wide Health Facility’s invoices for

 services rendered to patients, the defendants submitted (or caused to be submitted) to Allstate NF-

 3 forms or CMS-1500 forms certifying that Relief Medical, Diagnostic Medicine, Dai Mai


                                                     80
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 81 of 167 PageID #: 81




 Acupuncture, Mingmen Acupuncture Services, AM Chiropractic, Amber Street Chiropractic, Fine

 Motor Physical Therapy, and City Wide Health Facility were eligible to be reimbursed under New

 York’s No-Fault Laws.

        486.    Further, to induce Allstate to promptly pay the fraudulent charges for healthcare

 tests and services purportedly provided to patients of Relief Medical, Diagnostic Medicine, Dai

 Mai Acupuncture, Mingmen Acupuncture Services, AM Chiropractic, Amber Street Chiropractic,

 Fine Motor Physical Therapy, and City Wide Health Facility, the defendants hired law firms to

 pursue collection of the fraudulent charges from Allstate. These law firms routinely file time-

 consuming and expensive lawsuits and arbitration matters against Allstate in the event that Relief

 Medical’s, Diagnostic Medicine’s, Dai Mai Acupuncture’s, Mingmen Acupuncture Services’, AM

 Chiropractic’s, Amber Street Chiropractic’s, Fine Motor Physical Therapy’s, and City Wide

 Health Facility’s charges are not paid in full.

        487.    Allstate is under a statutory and contractual obligation to promptly and fairly

 process claims within thirty (30) days. The facially valid documents submitted to Allstate in

 support of the fraudulent charges at issue, combined with the material misrepresentations described

 above, were designed to, and did, cause Allstate to justifiably rely on them.

        488.    At all relevant times, as alleged above, the defendants concealed from Allstate the

 truth regarding Relief Medical, Diagnostic Medicine, Dai Mai Acupuncture, Mingmen

 Acupuncture Services, AM Chiropractic, Amber Street Chiropractic, Fine Motor Physical

 Therapy, and City Wide Health Facility’s reimbursement eligibility under New York law.

        489.    In reasonable reliance on these misrepresentations, Allstate paid money to Relief

 Medical, Diagnostic Medicine, Dai Mai Acupuncture, Mingmen Acupuncture Services, AM




                                                   81
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 82 of 167 PageID #: 82




 Chiropractic, Amber Street Chiropractic, Fine Motor Physical Therapy, and City Wide Health

 Facility to its detriment.

         490.    Allstate would not have made any of these payments to these entities had the

 defendants provided true and accurate information about Relief Medical, Diagnostic Medicine,

 Dai Mai Acupuncture, Mingmen Acupuncture Services, AM Chiropractic, Amber Street

 Chiropractic, Fine Motor Physical Therapy, and City Wide Health Facility’s reimbursement

 eligibility under New York law, including the fact and necessity of the services provided.

 VIII. DAMAGES
         491.    The Defendants’ pattern of fraudulent and unlawful conduct injured Allstate in its

 business and property by reason of the previously mentioned violations of state and federal law.

 Although it is not necessary for Allstate to calculate damages with specificity at this stage in the

 litigation (whereas Allstate’s damages continue to accrue), Allstate’s injury includes, but is not

 limited to, compensatory damages for:

         (a)     Payments made to Relief Medical in connection with No-Fault claims in
                 excess of $316,274.18, the exact amount to be determined a trial. The chart
                 annexed at Exhibit 9, and incorporated herein as if set forth in its entirety,
                 identifies Allstate’s payments to Relief Medical in connection with No-
                 Fault claims determined to be fraudulent and not compensable as of the
                 filing of this Complaint.

         (b)     Payments made to Diagnostic Medicine in connection with No-Fault claims
                 in excess of $230,661.07, the exact amount to be determined a trial. The
                 chart annexed at Exhibit 10, and incorporated herein as if set forth in its
                 entirety, identifies Allstate’s payments to Diagnostic Medicine in
                 connection with No-Fault claims determined to be fraudulent and not
                 compensable as of the filing of this Complaint.

         (c)     Payments made to Dai Mai Acupuncture in connection with No-Fault
                 claims in excess of $57,706.86, the exact amount to be determined a trial.
                 The chart annexed at Exhibit 11, and incorporated herein as if set forth in
                 its entirety, identifies Allstate’s payments to Dai Mai Acupuncture in
                 connection with No-Fault claims determined to be fraudulent and not
                 compensable as of the filing of this Complaint.



                                                  82
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 83 of 167 PageID #: 83




       (d)    Payments made to Mingmen Acupuncture Services in connection with No-
              Fault claims in excess of $662,000.34, the exact amount to be determined a
              trial. The chart annexed at Exhibit 12, and incorporated herein as if set forth
              in its entirety, identifies Allstate’s payments to Mingmen Acupuncture
              Services in connection with No-Fault claims determined to be fraudulent
              and not compensable as of the filing of this Complaint.

       (e)    Payments made to AM Chiropractic in connection with No-Fault claims in
              excess of $258,074.89, the exact amount to be determined a trial. The chart
              annexed at Exhibit 13, and incorporated herein as if set forth in its entirety,
              identifies Allstate’s payments to AM Chiropractic in connection with No-
              Fault claims determined to be fraudulent and not compensable as of the
              filing of this Complaint.

       (f)    Payments made to Amber Street Chiropractic in connection with No-Fault
              claims in excess of $8,981.68, the exact amount to be determined a trial.
              The chart annexed at Exhibit 14, and incorporated herein as if set forth in
              its entirety, identifies Allstate’s payments to Amber Street Chiropractic in
              connection with No-Fault claims determined to be fraudulent and not
              compensable as of the filing of this Complaint.

       (g)    Payments made to Fine Motor Physical Therapy in connection with No-
              Fault claims in excess of $32,317.27, the exact amount to be determined a
              trial. The chart annexed at Exhibit 15, and incorporated herein as if set forth
              in its entirety, identifies Allstate’s payments to Fine Motor Physical
              Therapy in connection with No-Fault claims determined to be fraudulent
              and not compensable as of the filing of this Complaint.

       (h)    Payments made to City Wide Health Facility in connection with No-Fault
              claims in excess of $666,628.04, the exact amount to be determined a trial.
              The chart annexed at Exhibit 16, and incorporated herein as if set forth in
              its entirety, identifies Allstate’s payments to City Wide Health Facility in
              connection with No-Fault claims determined to be fraudulent and not
              compensable as of the filing of this Complaint.

 IX.   CAUSES OF ACTION
                                       COUNT I
                         VIOLATIONS OF 18 U.S.C. § 1962(c)
                        RELIEF MEDICAL, P.C. ENTERPRISE
       (Against Yury Koyen, M.D., Aleksandr Levin, M.D., Igor Mayzenberg, L.Ac.,
       Alexander Mazurovsky, D.C., Joseph Sedrak, P.T., Diagnostic Medicine, P.C.,
            Dai Mai Acupuncture, P.C., Mingmen Acupuncture Services, P.C.,
                 AM Chiropractic, P.C., Amber Street Chiropractic, P.C.,
            Fine Motor Physical Therapy, P.C., City Wide Health Facility, Inc.,
       Alexander Zharov, Edward Atbashyan, Simon Korenblit, and Alex Korenblit)



                                                83
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 84 of 167 PageID #: 84




         492.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

 in paragraphs 1-491 as if set forth fully herein.

         493.    Relief Medical, P.C. (“Relief Medical”) constitutes an enterprise, as defined in 18

 U.S.C. § 1961(4), engaged in, and the activities of which affect, interstate commerce.

         494.    In connection with the operation and management of the Relief Medical enterprise

 and with each of the claims identified in the plaintiffs’ Complaint, Defendants Yury Koyen, M.D.,

 Aleksandr Levin, M.D., Igor Mayzenberg, L.Ac., Alexander Mazurovksy, D.C., Joseph Sedrak,

 P.T., Diagnostic Medicine, P.C., Dai Mai Acupuncture, P.C., Mingmen Acupuncture Services,

 P.C., AM Chiropractic, P.C., Amber Street Chiropractic, P.C., Fine Motor Physical Therapy, P.C.,

 City Wide Health Facility, Inc., Alexander Zharov, Edward Atbashyan, Simon Korenblit, and Alex

 Korenblit (collectively “Count I Defendants”) intentionally caused to be prepared and mailed,

 false medical documentation in connection with Allstate insurance claims, or knew that such false

 medical documentation would be mailed in the ordinary course of Relief Medical’s business, or

 should have reasonably foreseen that the mailing of such false medical documentation by Relief

 Medical would occur, in furtherance of the scheme to defraud.

         495.    The Count I Defendants knew, or should have foreseen two or more mailings to

 demand and/or receive payment on certain dates, including, but not limited to, those dates

 identified in the chart at Exhibit 1.

         496.    Among other things, NF-3 forms, HCFA-1500 forms, CMS-1500 forms, medical

 billing invoices, medical reports, applications for insurance, and premium checks were routinely

 delivered to Allstate through the U.S. Mail.

         497.    Policies of insurance were delivered to insureds through the U.S. Mail.

         498.    Payments made by Allstate to Relief Medical traveled through the U.S. Mail.




                                                     84
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 85 of 167 PageID #: 85




        499.     As documented above, the Count I Defendants repeatedly and intentionally

 submitted NF-3 forms, HCFA-1500 forms, and/or CMS-1500 forms and other medical

 documentation to Allstate for the purpose of seeking payment for healthcare services provided to

 patients through Relief Medical—payments that the Count I Defendants intended to be funded

 using the No-Fault insurance benefits that were provided under the applicable Allstate automobile

 insurance policy pursuant to New York law, for medical services and treatments that were

 purportedly provided by Relief Medical, to collect payment from Allstate under the Personal Injury

 Protection benefits portion of the Allstate policies and applicable New York No-Fault laws.

        500.     As a result of, and in reasonable reliance upon these misleading documents and

 misrepresentations, Allstate, by its agents and employees, issued payments to Relief Medical for

 the benefit of the Count I Defendants that would not otherwise have been made.

        501.     The Count I Defendants’ pattern of fraudulent claims, each appearing legitimate on

 their face, also prevented Allstate from discovering the fraudulent scheme for a long period of

 time, thus enabling the scheme to continue without being detected.

        502.     The facts set forth above constitute indictable offenses pursuant to 18 U.S.C. § 1341

 (mail fraud).

        503.     By mailing numerous fraudulent claim-related documents in furtherance of an

 ongoing scheme, the Count I Defendants engaged in a pattern of racketeering activity within the

 meaning of 18 U.S.C. § 1962(c).

        504.     The Count I Defendants participated in the conduct of the Relief Medical enterprise

 through a pattern of racketeering activities.




                                                  85
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 86 of 167 PageID #: 86




        505.     The unlawful activities and other misconduct alleged in this case had the direct

 effect of causing funds to be transferred from Allstate to Relief Medical for the benefit of the Count

 I Defendants.

        506.     Allstate is a “person” as defined by 18 U.S.C. § 1961(3), injured in its business or

 property by reason of the Count I Defendants’ conduct.

        507.     The Count I Defendants’ conduct in violation of 18 U.S.C. § 1962(c) was the direct

 and proximate cause of Allstate’s injury.

        508.     Allstate (and all plaintiffs individually) is in the business of writing insurance and

 paying claims in the State of New York.

        509.     Insurance fraud schemes practiced here and elsewhere have a deleterious impact on

 Allstate’s overall financial well-being and adversely affect insurance rates.

        510.     By virtue of the Count I Defendants’ violations of 18 U.S.C. § 1962(c), Allstate is

 entitled to recover from them three times the damages sustained by reason of the claims submitted

 by them, and others acting in concert with them, together with the costs of suit, including

 reasonable attorney’s fees.

                                        COUNT II
                             VIOLATION 18 U.S.C. § 1962(d)
                         RELIEF MEDICAL, P.C. ENTERPRISE
        (Against Yury Koyen, M.D., Aleksandr Levin, M.D., Igor Mayzenberg, L.Ac.,
        Alexander Mazurovsky, D.C., Joseph Sedrak, P.T., Diagnostic Medicine, P.C.,
             Dai Mai Acupuncture, P.C., Mingmen Acupuncture Services, P.C.,
                  AM Chiropractic, P.C., Amber Street Chiropractic, P.C.,
             Fine Motor Physical Therapy, P.C., City Wide Health Facility, Inc.,
        Alexander Zharov, Edward Atbashyan, Simon Korenblit, and Alex Korenblit)

        511.     Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

 in paragraphs 1-491 as if set forth fully herein.




                                                     86
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 87 of 167 PageID #: 87




        512.    Defendants Yury Koyen, M.D., Aleksandr Levin, M.D., Igor Mayzenberg, L.Ac.,

 Alexander Mazurovsky, D.C., Joseph Sedrak, P.T., Diagnostic Medicine, P.C., Dai Mai

 Acupuncture, P.C., Mingmen Acupuncture Services, P.C., AM Chiropractic, P.C., Amber Street

 Chiropractic, P.C., Fine Motor Physical Therapy, P.C., City Wide Health Facility, Inc., Alexander

 Zharov, Edward Atbashyan, Simon Korenblit, and Alex Korenblit               (collectively “Count II

 Defendants”) willfully conspired with one another to violate 18 U.S.C. § 1962(c) through the

 operation of Relief Medical, P.C. (“Relief Medical”).

        513.    The Count II Defendants each agreed to further, facilitate, support, and operate the

 Relief Medical enterprise.

        514.    As such, the Count II Defendants conspired to violate 18 U.S.C. § 1962(c).

        515.    The purpose of the conspiracy was to obtain payments and No-Fault insurance

 benefits from Allstate on behalf of Relief Medical even though Relief Medical was not eligible to

 collect such benefits by virtue of its unlawful conduct.

        516.    The Count II Defendants were aware of this purpose and agreed to take steps to

 meet the conspiracy’s objectives, including the creation and submission to Allstate of insurance

 claim and medical record documents containing material misrepresentations.

        517.    Allstate has been injured in its business and property by reason of this conspiratorial

 conduct whereas Allstate has been induced to make claim payments as a result of the Count II

 Defendants’ unlawful conduct described herein.

        518.    By virtue of the Count II Defendants’ violations of 18 U.S.C. § 1962(d), Allstate is

 entitled to recover from each of the defendants identified, three times the damages sustained by

 reason of the claims submitted by the defendants, and others acting in concert with them, together

 with the costs of suit, including reasonable attorney’s fees.




                                                  87
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 88 of 167 PageID #: 88




                                        COUNT III
                           VIOLATIONS OF 18 U.S.C. § 1962(c)
                      DIAGNOSTIC MEDICINE, P.C. ENTERPRISE
        (Against Aleksandr Levin, M.D., Yury Koyen, M.D., and Relief Medical, P.C.)

         519.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

 in paragraphs 1-491 as if set forth fully herein.

         520.    Diagnostic Medicine, P.C. (“Diagnostic Medicine”) constitutes an enterprise, as

 defined in 18 U.S.C. § 1961(4), engaged in, and the activities of which affect, interstate commerce.

         521.    In connection with the operation and management of the Diagnostic Medicine

 enterprise and with each of the claims identified in the plaintiffs’ Complaint, Defendants

 Aleksandr Levin, M.D., Yury Koyen, M.D., and Relief Medical, P.C. (collectively “Count III

 Defendants”) intentionally caused to be prepared and mailed, false medical documentation in

 connection with Allstate insurance claims, or knew that such false medical documentation would

 be mailed in the ordinary course of Diagnostic Medicine’s business, or should have reasonably

 foreseen that the mailing of such false medical documentation by Diagnostic Medicine would

 occur, in furtherance of the scheme to defraud.

         522.    The Count III Defendants knew, or should have foreseen two or more mailings to

 demand and/or receive payment on certain dates, including, but not limited to, those dates

 identified in the chart at Exhibit 2.

         523.    Among other things, NF-3 forms, HCFA-1500 forms, CMS-1500 forms, medical

 billing invoices, medical reports, applications for insurance, and premium checks were routinely

 delivered to Allstate through the U.S. Mail.

         524.    Policies of insurance were delivered to insureds through the U.S. Mail.

         525.    Payments made by Allstate to Diagnostic Medicine traveled through the U.S. Mail.




                                                     88
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 89 of 167 PageID #: 89




        526.     As documented above, the Count III Defendants repeatedly and intentionally

 submitted NF-3 forms, HCFA-1500 forms, and/or CMS-1500 forms and other medical

 documentation to Allstate for the purpose of seeking payment for healthcare services provided to

 patients through Diagnostic Medicine—payments that the Count III Defendants intended to be

 funded using the No-Fault insurance benefits that were provided under the applicable Allstate

 automobile insurance policy pursuant to New York law, for medical services and treatments that

 were purportedly provided by Diagnostic Medicine, to collect payment from Allstate under the

 Personal Injury Protection benefits portion of the Allstate policies and applicable New York No-

 Fault laws.

        527.     As a result of, and in reasonable reliance upon these misleading documents and

 misrepresentations, Allstate, by its agents and employees, issued payments to Diagnostic Medicine

 for the benefit of the Count III Defendants that would not otherwise have been made.

        528.     The Count III Defendants’ pattern of fraudulent claims, each appearing legitimate

 on their face, also prevented Allstate from discovering the fraudulent scheme for a long period of

 time, thus enabling the scheme to continue without being detected.

        529.     The facts set forth above constitute indictable offenses pursuant to 18 U.S.C. § 1341

 (mail fraud).

        530.     By mailing numerous fraudulent claim-related documents in furtherance of an

 ongoing scheme, the Count III Defendants engaged in a pattern of racketeering activity within the

 meaning of 18 U.S.C. § 1962(c).

        531.     The Count III Defendants participated in the conduct of the Diagnostic Medicine

 enterprise through a pattern of racketeering activities.




                                                  89
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 90 of 167 PageID #: 90




        532.    The unlawful activities and other misconduct alleged in this case had the direct

 effect of causing funds to be transferred from Allstate to Diagnostic Medicine for the benefit of

 the Count III Defendants.

        533.    Allstate is a “person” as defined by 18 U.S.C. § 1961(3), injured in its business or

 property by reason of the Count III Defendants’ conduct.

        534.    The Count III Defendants’ conduct in violation of 18 U.S.C. § 1962(c) was the

 direct and proximate cause of Allstate’s injury.

        535.    Allstate (and all plaintiffs individually) is in the business of writing insurance and

 paying claims in the State of New York.

        536.    Insurance fraud schemes practiced here and elsewhere have a deleterious impact on

 Allstate’s overall financial well-being and adversely affect insurance rates.

        537.    By virtue of the Count III Defendants’ violations of 18 U.S.C. § 1962(c), Allstate

 is entitled to recover from them three times the damages sustained by reason of the claims

 submitted by them, and others acting in concert with them, together with the costs of suit, including

 reasonable attorney’s fees.

                                        COUNT IV
                             VIOLATION 18 U.S.C. § 1962(d)
                      DIAGNOSTIC MEDICINE, P.C. ENTERPRISE
        (Against Aleksandr Levin, M.D., Yury Koyen, M.D., and Relief Medical, P.C.)

        538.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

 in paragraphs 1-491 as if set forth fully herein.

        539.    Defendants Aleksandr Levin, M.D., Yury Koyen, M.D., and Relief Medical, P.C.

 (collectively “Count IV Defendants”) willfully conspired with one another to violate 18 U.S.C. §

 1962(c) through the operation of Diagnostic Medicine, P.C. (“Diagnostic Medicine”).




                                                     90
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 91 of 167 PageID #: 91




        540.    The Count IV Defendants each agreed to further, facilitate, support, and operate the

 Diagnostic Medicine enterprise.

        541.    As such, the Count IV Defendants conspired to violate 18 U.S.C. § 1962(c).

        542.    The purpose of the conspiracy was to obtain payments and No-Fault insurance

 benefits from Allstate on behalf of Diagnostic Medicine even though Diagnostic Medicine was not

 eligible to collect such benefits by virtue of its unlawful conduct.

        543.    The Count IV Defendants were aware of this purpose and agreed to take steps to

 meet the conspiracy’s objectives, including the creation and submission to Allstate of insurance

 claim and medical record documents containing material misrepresentations.

        544.    Allstate has been injured in its business and property by reason of this conspiratorial

 conduct whereas Allstate has been induced to make claim payments as a result of the Count IV

 Defendants’ unlawful conduct described herein.

        545.    By virtue of the Count IV Defendants’ violations of 18 U.S.C. § 1962(d), Allstate

 is entitled to recover from each of the defendants identified, three times the damages sustained by

 reason of the claims submitted by the defendants, and others acting in concert with them, together

 with the costs of suit, including reasonable attorney’s fees.

                                        COUNT V
                          VIOLATIONS OF 18 U.S.C. § 1962(c)
                     DAI MAI ACUPUNCTURE, P.C. ENTERPRISE
       (Against Igor Mayzenberg, L.Ac., Yury Koyen, M.D., and Relief Medical, P.C.)

        546.     Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

 in paragraphs 1-491 as if set forth fully herein.

        547.    Dai Mai Acupuncture, P.C. (“Dai Mai Acupuncture”) constitutes an enterprise, as

 defined in 18 U.S.C. § 1961(4), engaged in, and the activities of which affect, interstate commerce.




                                                     91
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 92 of 167 PageID #: 92




         548.    In connection with the operation and management of the Dai Mai Acupuncture

 enterprise and with each of the claims identified in the plaintiffs’ Complaint, Defendants Igor

 Mayzenberg, L.Ac., Yury Koyen, M.D., and Relief Medical, P.C. (collectively “Count V

 Defendants”) intentionally caused to be prepared and mailed, false medical documentation in

 connection with Allstate insurance claims, or knew that such false medical documentation would

 be mailed in the ordinary course of Dai Mai Acupuncture’s business, or should have reasonably

 foreseen that the mailing of such false medical documentation by Dai Mai Acupuncture would

 occur, in furtherance of the scheme to defraud.

         549.    The Count V Defendants knew, or should have foreseen two or more mailings to

 demand and/or receive payment on certain dates, including, but not limited to, those dates

 identified in the chart at Exhibit 3.

         550.    Among other things, NF-3 forms, HCFA-1500 forms, CMS-1500 forms, medical

 billing invoices, medical reports, applications for insurance, and premium checks were routinely

 delivered to Allstate through the U.S. Mail.

         551.    Policies of insurance were delivered to insureds through the U.S. Mail.

         552.    Payments made by Allstate to Dai Mai Acupuncture traveled through the U.S. Mail.

         553.    As documented above, the Count V Defendants repeatedly and intentionally

 submitted NF-3 forms, HCFA-1500 forms, and/or CMS-1500 forms and other medical

 documentation to Allstate for the purpose of seeking payment for healthcare services provided to

 patients through Dai Mai Acupuncture—payments that the Count V Defendants intended to be

 funded using the No-Fault insurance benefits that were provided under the applicable Allstate

 automobile insurance policy pursuant to New York law, for medical services and treatments that

 were purportedly provided by Dai Mai Acupuncture, to collect payment from Allstate under the




                                                   92
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 93 of 167 PageID #: 93




 Personal Injury Protection benefits portion of the Allstate policies and applicable New York No-

 Fault laws.

        554.     As a result of, and in reasonable reliance upon these misleading documents and

 misrepresentations, Allstate, by its agents and employees, issued payments to Dai Mai

 Acupuncture for the benefit of the Count V Defendants that would not otherwise have been made.

        555.     The Count V Defendants’ pattern of fraudulent claims, each appearing legitimate

 on their face, also prevented Allstate from discovering the fraudulent scheme for a long period of

 time, thus enabling the scheme to continue without being detected.

        556.     The facts set forth above constitute indictable offenses pursuant to 18 U.S.C. § 1341

 (mail fraud).

        557.     By mailing numerous fraudulent claim-related documents in furtherance of an

 ongoing scheme, the Count V Defendants engaged in a pattern of racketeering activity within the

 meaning of 18 U.S.C. § 1962(c).

        558.     The Count V Defendants participated in the conduct of the Dai Mai Acupuncture

 enterprise through a pattern of racketeering activities.

        559.     The unlawful activities and other misconduct alleged in this case had the direct

 effect of causing funds to be transferred from Allstate to Dai Mai Acupuncture for the benefit of

 the Count V Defendants.

        560.     Allstate is a “person” as defined by 18 U.S.C. § 1961(3), injured in its business or

 property by reason of the Count V Defendants’ conduct.

        561.     The Count V Defendants’ conduct in violation of 18 U.S.C. § 1962(c) was the direct

 and proximate cause of Allstate’s injury.




                                                  93
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 94 of 167 PageID #: 94




        562.    Allstate (and all plaintiffs individually) is in the business of writing insurance and

 paying claims in the State of New York.

        563.    Insurance fraud schemes practiced here and elsewhere have a deleterious impact on

 Allstate’s overall financial well-being and adversely affect insurance rates.

        564.    By virtue of the Count V Defendants’ violations of 18 U.S.C. § 1962(c), Allstate is

 entitled to recover from them three times the damages sustained by reason of the claims submitted

 by them, and others acting in concert with them, together with the costs of suit, including

 reasonable attorney’s fees.

                                       COUNT VI
                            VIOLATION 18 U.S.C. § 1962(d)
                     DAI MAI ACUPUNCTURE, P.C. ENTERPRISE
       (Against Igor Mayzenberg, L.Ac., Yury Koyen, M.D., and Relief Medical, P.C.)

        565.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

 in paragraphs 1-491 as if set forth fully herein.

        566.    Defendants Igor Mayzenberg, L.Ac., Yury Koyen, M.D., and Relief Medical, P.C.

 (collectively “Count VI Defendants”) willfully conspired with one another to violate 18 U.S.C. §

 1962(c) through the operation of Dai Mai Acupuncture, P.C. (“Dai Mai Acupuncture”).

        567.    The Count VI Defendants each agreed to further, facilitate, support, and operate the

 Dai Mai Acupuncture enterprise.

        568.    As such, the Count VI Defendants conspired to violate 18 U.S.C. § 1962(c).

        569.    The purpose of the conspiracy was to obtain payments and No-Fault insurance

 benefits from Allstate on behalf of Dai Mai Acupuncture even though Dai Mai Acupuncture was

 not eligible to collect such benefits by virtue of its unlawful conduct.




                                                     94
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 95 of 167 PageID #: 95




        570.    The Count VI Defendants were aware of this purpose and agreed to take steps to

 meet the conspiracy’s objectives, including the creation and submission to Allstate of insurance

 claim and medical record documents containing material misrepresentations.

        571.    Allstate has been injured in its business and property by reason of this conspiratorial

 conduct whereas Allstate has been induced to make claim payments as a result of the Count VI

 Defendants’ unlawful conduct described herein.

        572.    By virtue of the Count VI Defendants’ violations of 18 U.S.C. § 1962(d), Allstate

 is entitled to recover from each of the defendants identified, three times the damages sustained by

 reason of the claims submitted by the defendants, and others acting in concert with them, together

 with the costs of suit, including reasonable attorney’s fees.

                                      COUNT VII
                          VIOLATIONS OF 18 U.S.C. § 1962(c)
              MINGMEN ACUPUNCTURE SERVICES, P.C. ENTERPRISE
       (Against Igor Mayzenberg, L.Ac., Yury Koyen, M.D., and Relief Medical, P.C.)

        573.     Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

 in paragraphs 1-491 as if set forth fully herein.

        574.    Mingmen Acupuncture Services, P.C. (“Mingmen Acupuncture Services”)

 constitutes an enterprise, as defined in 18 U.S.C. § 1961(4), engaged in, and the activities of which

 affect, interstate commerce.

        575.    In connection with the operation and management of the Mingmen Acupuncture

 Services enterprise and with each of the claims identified in the plaintiffs’ Complaint, Defendants

 Igor Mayzenberg, L.Ac., Yury Koyen, M.D., and Relief Medical, P.C. (collectively “Count VII

 Defendants”) intentionally caused to be prepared and mailed, false medical documentation in

 connection with Allstate insurance claims, or knew that such false medical documentation would

 be mailed in the ordinary course of Mingmen Acupuncture Services’s business, or should have



                                                     95
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 96 of 167 PageID #: 96




 reasonably foreseen that the mailing of such false medical documentation by Mingmen

 Acupuncture Services would occur, in furtherance of the scheme to defraud.

         576.    The Count VII Defendants knew, or should have foreseen two or more mailings to

 demand and/or receive payment on certain dates, including, but not limited to, those dates

 identified in the chart at Exhibit 4.

         577.    Among other things, NF-3 forms, HCFA-1500 forms, CMS-1500 forms, medical

 billing invoices, medical reports, applications for insurance, and premium checks were routinely

 delivered to Allstate through the U.S. Mail.

         578.    Policies of insurance were delivered to insureds through the U.S. Mail.

         579.    Payments made by Allstate to Mingmen Acupuncture Services traveled through the

 U.S. Mail.

         580.    As documented above, the Count VII Defendants repeatedly and intentionally

 submitted NF-3 forms, HCFA-1500 forms, and/or CMS-1500 forms and other medical

 documentation to Allstate for the purpose of seeking payment for healthcare services provided to

 patients through Mingmen Acupuncture Services—payments that the Count VII Defendants

 intended to be funded using the No-Fault insurance benefits that were provided under the

 applicable Allstate automobile insurance policy pursuant to New York law, for medical services

 and treatments that were purportedly provided by Mingmen Acupuncture Services, to collect

 payment from Allstate under the Personal Injury Protection benefits portion of the Allstate policies

 and applicable New York No-Fault laws.

         581.    As a result of, and in reasonable reliance upon these misleading documents and

 misrepresentations, Allstate, by its agents and employees, issued payments to Mingmen




                                                 96
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 97 of 167 PageID #: 97




 Acupuncture Services for the benefit of the Count VII Defendants that would not otherwise have

 been made.

        582.     The Count VII Defendants’ pattern of fraudulent claims, each appearing legitimate

 on their face, also prevented Allstate from discovering the fraudulent scheme for a long period of

 time, thus enabling the scheme to continue without being detected.

        583.     The facts set forth above constitute indictable offenses pursuant to 18 U.S.C. § 1341

 (mail fraud).

        584.     By mailing numerous fraudulent claim-related documents in furtherance of an

 ongoing scheme, the Count VII Defendants engaged in a pattern of racketeering activity within the

 meaning of 18 U.S.C. § 1962(c).

        585.     The Count VII Defendants participated in the conduct of the Mingmen Acupuncture

 Services enterprise through a pattern of racketeering activities.

        586.     The unlawful activities and other misconduct alleged in this case had the direct

 effect of causing funds to be transferred from Allstate to Mingmen Acupuncture Services for the

 benefit of the Count VII Defendants.

        587.     Allstate is a “person” as defined by 18 U.S.C. § 1961(3), injured in its business or

 property by reason of the Count VII Defendants’ conduct.

        588.     The Count VII Defendants’ conduct in violation of 18 U.S.C. § 1962(c) was the

 direct and proximate cause of Allstate’s injury.

        589.     Allstate (and all plaintiffs individually) is in the business of writing insurance and

 paying claims in the State of New York.

        590.     Insurance fraud schemes practiced here and elsewhere have a deleterious impact on

 Allstate’s overall financial well-being and adversely affect insurance rates.




                                                    97
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 98 of 167 PageID #: 98




        591.    By virtue of the Count VII Defendants’ violations of 18 U.S.C. § 1962(c), Allstate

 is entitled to recover from them three times the damages sustained by reason of the claims

 submitted by them, and others acting in concert with them, together with the costs of suit, including

 reasonable attorney’s fees.

                                      COUNT VIII
                            VIOLATION 18 U.S.C. § 1962(d)
              MINGMEN ACUPUNCTURE SERVICES, P.C. ENTERPRISE
       (Against Igor Mayzenberg, L.Ac., Yury Koyen, M.D., and Relief Medical, P.C.)

        592.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

 in paragraphs 1-491 as if set forth fully herein.

        593.    Defendants Igor Mayzenberg, L.Ac., Yury Koyen, M.D., and Relief Medical, P.C.

 (collectively “Count VIII Defendants”) willfully conspired with one another to violate 18 U.S.C.

 § 1962(c) through the operation of Mingmen Acupuncture Services, P.C. (“Mingmen Acupuncture

 Services”).

        594.    The Count VIII Defendants each agreed to further, facilitate, support, and operate

 the Mingmen Acupuncture Services enterprise.

        595.    As such, the Count VIII Defendants conspired to violate 18 U.S.C. § 1962(c).

        596.    The purpose of the conspiracy was to obtain payments and No-Fault insurance

 benefits from Allstate on behalf of Mingmen Acupuncture Services even though Mingmen

 Acupuncture Services was not eligible to collect such benefits by virtue of its unlawful conduct.

        597.    The Count VIII Defendants were aware of this purpose and agreed to take steps to

 meet the conspiracy’s objectives, including the creation and submission to Allstate of insurance

 claim and medical record documents containing material misrepresentations.




                                                     98
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 99 of 167 PageID #: 99




        598.    Allstate has been injured in its business and property by reason of this conspiratorial

 conduct whereas Allstate has been induced to make claim payments as a result of the Count VIII

 Defendants’ unlawful conduct described herein.

        599.    By virtue of the Count VIII Defendants’ violations of 18 U.S.C. § 1962(d), Allstate

 is entitled to recover from each of the defendants identified, three times the damages sustained by

 reason of the claims submitted by the defendants, and others acting in concert with them, together

 with the costs of suit, including reasonable attorney’s fees.

                                     COUNT IX
                         VIOLATIONS OF 18 U.S.C. § 1962(c)
                       AM CHIROPRACTIC, P.C. ENTERPRISE
    (Against Alexander Mazurovsky, D.C., Yury Koyen, M.D., and Relief Medical, P.C.)

        600.     Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

 in paragraphs 1-491 as if set forth fully herein.

        601.    AM Chiropractic, P.C. (“AM Chiropractic”) constitutes an enterprise, as defined in

 18 U.S.C. § 1961(4), engaged in, and the activities of which affect, interstate commerce.

        602.    In connection with the operation and management of the AM Chiropractic

 enterprise and with each of the claims identified in the plaintiffs’ Complaint, Defendants

 Alexander Mazurovsky, D.C., Yury Koyen, M.D., and Relief Medical, P.C. (collectively “Count

 IX Defendants”) intentionally caused to be prepared and mailed, false medical documentation in

 connection with Allstate insurance claims, or knew that such false medical documentation would

 be mailed in the ordinary course of AM Chiropractic’s business, or should have reasonably

 foreseen that the mailing of such false medical documentation by AM Chiropractic would occur,

 in furtherance of the scheme to defraud.




                                                     99
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 100 of 167 PageID #: 100




           603.    The Count IX Defendants knew, or should have foreseen two or more mailings to

   demand and/or receive payment on certain dates, including, but not limited to, those dates

   identified in the chart at Exhibit 5.

           604.    Among other things, NF-3 forms, HCFA-1500 forms, CMS-1500 forms, medical

   billing invoices, medical reports, applications for insurance, and premium checks were routinely

   delivered to Allstate through the U.S. Mail.

           605.    Policies of insurance were delivered to insureds through the U.S. Mail.

           606.    Payments made by Allstate to AM Chiropractic traveled through the U.S. Mail.

           607.    As documented above, the Count IX Defendants repeatedly and intentionally

   submitted NF-3 forms, HCFA-1500 forms, and/or CMS-1500 forms and other medical

   documentation to Allstate for the purpose of seeking payment for healthcare services provided to

   patients through AM Chiropractic—payments that the Count IX Defendants intended to be funded

   using the No-Fault insurance benefits that were provided under the applicable Allstate automobile

   insurance policy pursuant to New York law, for medical services and treatments that were

   purportedly provided by AM Chiropractic, to collect payment from Allstate under the Personal

   Injury Protection benefits portion of the Allstate policies and applicable New York No-Fault laws.

           608.    As a result of, and in reasonable reliance upon these misleading documents and

   misrepresentations, Allstate, by its agents and employees, issued payments to AM Chiropractic for

   the benefit of the Count IX Defendants that would not otherwise have been made.

           609.    The Count IX Defendants’ pattern of fraudulent claims, each appearing legitimate

   on their face, also prevented Allstate from discovering the fraudulent scheme for a long period of

   time, thus enabling the scheme to continue without being detected.




                                                  100
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 101 of 167 PageID #: 101




          610.     The facts set forth above constitute indictable offenses pursuant to 18 U.S.C. § 1341

   (mail fraud).

          611.     By mailing numerous fraudulent claim-related documents in furtherance of an

   ongoing scheme, the Count IX Defendants engaged in a pattern of racketeering activity within the

   meaning of 18 U.S.C. § 1962(c).

          612.     The Count IX Defendants participated in the conduct of the AM Chiropractic

   enterprise through a pattern of racketeering activities.

          613.     The unlawful activities and other misconduct alleged in this case had the direct

   effect of causing funds to be transferred from Allstate to AM Chiropractic for the benefit of the

   Count IX Defendants.

          614.     Allstate is a “person” as defined by 18 U.S.C. § 1961(3), injured in its business or

   property by reason of the Count IX Defendants’ conduct.

          615.     The Count IX Defendants’ conduct in violation of 18 U.S.C. § 1962(c) was the

   direct and proximate cause of Allstate’s injury.

          616.     Allstate (and all plaintiffs individually) is in the business of writing insurance and

   paying claims in the State of New York.

          617.     Insurance fraud schemes practiced here and elsewhere have a deleterious impact on

   Allstate’s overall financial well-being and adversely affect insurance rates.

          618.     By virtue of the Count IX Defendants’ violations of 18 U.S.C. § 1962(c), Allstate

   is entitled to recover from them three times the damages sustained by reason of the claims

   submitted by them, and others acting in concert with them, together with the costs of suit, including

   reasonable attorney’s fees.




                                                    101
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 102 of 167 PageID #: 102




                                        COUNT X
                             VIOLATION 18 U.S.C. § 1962(d)
                         AM CHIROPRACTIC, P.C. ENTERPRISE
      (Against Alexander Mazurovsky, D.C., Yury Koyen, M.D., and Relief Medical, P.C.)

          619.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          620.    Defendants Alexander Mazurovsky, D.C., Yury Koyen, M.D., and Relief Medical,

   P.C. (collectively “Count X Defendants”) willfully conspired with one another to violate 18

   U.S.C. § 1962(c) through the operation of AM Chiropractic, P.C. (“AM Chiropractic”).

          621.    The Count X Defendants each agreed to further, facilitate, support, and operate the

   AM Chiropractic enterprise.

          622.    As such, the Count X Defendants conspired to violate 18 U.S.C. § 1962(c).

          623.    The purpose of the conspiracy was to obtain payments and No-Fault insurance

   benefits from Allstate on behalf of AM Chiropractic even though AM Chiropractic was not eligible

   to collect such benefits by virtue of its unlawful conduct.

          624.    The Count X Defendants were aware of this purpose and agreed to take steps to

   meet the conspiracy’s objectives, including the creation and submission to Allstate of insurance

   claim and medical record documents containing material misrepresentations.

          625.    Allstate has been injured in its business and property by reason of this conspiratorial

   conduct whereas Allstate has been induced to make claim payments as a result of the Count X

   Defendants’ unlawful conduct described herein.

          626.    By virtue of the Count X Defendants’ violations of 18 U.S.C. § 1962(d), Allstate is

   entitled to recover from each of the defendants identified, three times the damages sustained by

   reason of the claims submitted by the defendants, and others acting in concert with them, together

   with the costs of suit, including reasonable attorney’s fees.



                                                       102
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 103 of 167 PageID #: 103




                                        COUNT XI
                            VIOLATIONS OF 18 U.S.C. § 1962(c)
                   AMBER STREET CHIROPRACTIC, P.C. ENTERPRISE
       (Against Alexander Mazurovsky, D.C., Yury Koyen, M.D., and Relief Medical, P.C.)

           627.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

           628.    Amber Street Chiropractic, P.C. (“Amber Street Chiropractic”) constitutes an

   enterprise, as defined in 18 U.S.C. § 1961(4), engaged in, and the activities of which affect,

   interstate commerce.

           629.    In connection with the operation and management of the Amber Street Chiropractic

   enterprise and with each of the claims identified in the plaintiffs’ Complaint, Defendants

   Alexander Mazurovsky, D.C., Yury Koyen, M.D., and Relief Medical, P.C. (collectively “Count

   XI Defendants”) intentionally caused to be prepared and mailed, false medical documentation in

   connection with Allstate insurance claims, or knew that such false medical documentation would

   be mailed in the ordinary course of Amber Street Chiropractic’s business, or should have

   reasonably foreseen that the mailing of such false medical documentation by Amber Street

   Chiropractic would occur, in furtherance of the scheme to defraud.

           630.    The Count XI Defendants knew, or should have foreseen two or more mailings to

   demand and/or receive payment on certain dates, including, but not limited to, those dates

   identified in the chart at Exhibit 6.

           631.    Among other things, NF-3 forms, HCFA-1500 forms, CMS-1500 forms, medical

   billing invoices, medical reports, applications for insurance, and premium checks were routinely

   delivered to Allstate through the U.S. Mail.

           632.    Policies of insurance were delivered to insureds through the U.S. Mail.




                                                       103
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 104 of 167 PageID #: 104




           633.     Payments made by Allstate to Amber Street Chiropractic traveled through the U.S.

   Mail.

           634.     As documented above, the Count XI Defendants repeatedly and intentionally

   submitted NF-3 forms, HCFA-1500 forms, and/or CMS-1500 forms and other medical

   documentation to Allstate for the purpose of seeking payment for healthcare services provided to

   patients through Amber Street Chiropractic—payments that the Count XI Defendants intended to

   be funded using the No-Fault insurance benefits that were provided under the applicable Allstate

   automobile insurance policy pursuant to New York law, for medical services and treatments that

   were purportedly provided by Amber Street Chiropractic, to collect payment from Allstate under

   the Personal Injury Protection benefits portion of the Allstate policies and applicable New York

   No-Fault laws.

           635.     As a result of, and in reasonable reliance upon these misleading documents and

   misrepresentations, Allstate, by its agents and employees, issued payments to Amber Street

   Chiropractic for the benefit of the Count XI Defendants that would not otherwise have been made.

           636.     The Count XI Defendants’ pattern of fraudulent claims, each appearing legitimate

   on their face, also prevented Allstate from discovering the fraudulent scheme for a long period of

   time, thus enabling the scheme to continue without being detected.

           637.     The facts set forth above constitute indictable offenses pursuant to 18 U.S.C. § 1341

   (mail fraud).

           638.     By mailing numerous fraudulent claim-related documents in furtherance of an

   ongoing scheme, the Count XI Defendants engaged in a pattern of racketeering activity within the

   meaning of 18 U.S.C. § 1962(c).




                                                    104
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 105 of 167 PageID #: 105




          639.    The Count XI Defendants participated in the conduct of the Amber Street

   Chiropractic enterprise through a pattern of racketeering activities.

          640.    The unlawful activities and other misconduct alleged in this case had the direct

   effect of causing funds to be transferred from Allstate to Amber Street Chiropractic for the benefit

   of the Count XI Defendants.

          641.    Allstate is a “person” as defined by 18 U.S.C. § 1961(3), injured in its business or

   property by reason of the Count XI Defendants’ conduct.

          642.    The Count XI Defendants’ conduct in violation of 18 U.S.C. § 1962(c) was the

   direct and proximate cause of Allstate’s injury.

          643.    Allstate (and all plaintiffs individually) is in the business of writing insurance and

   paying claims in the State of New York.

          644.    Insurance fraud schemes practiced here and elsewhere have a deleterious impact on

   Allstate’s overall financial well-being and adversely affect insurance rates.

          645.    By virtue of the Count XI Defendants’ violations of 18 U.S.C. § 1962(c), Allstate

   is entitled to recover from them three times the damages sustained by reason of the claims

   submitted by them, and others acting in concert with them, together with the costs of suit, including

   reasonable attorney’s fees.

                                       COUNT XII
                             VIOLATION 18 U.S.C. § 1962(d)
                  AMBER STREET CHIROPRACTIC, P.C. ENTERPRISE
      (Against Alexander Mazurovsky, D.C., Yury Koyen, M.D., and Relief Medical, P.C.)

          646.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          647.    Defendants Alexander Mazurovsky, D.C., Yury Koyen, M.D., and Relief Medical,

   P.C. (collectively “Count XII Defendants”) willfully conspired with one another to violate 18



                                                       105
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 106 of 167 PageID #: 106




   U.S.C. § 1962(c) through the operation of Amber Street Chiropractic, P.C. (“Amber Street

   Chiropractic”).

          648.    The Count XII Defendants each agreed to further, facilitate, support, and operate

   the Amber Street Chiropractic enterprise.

          649.    As such, the Count XII Defendants conspired to violate 18 U.S.C. § 1962(c).

          650.    The purpose of the conspiracy was to obtain payments and No-Fault insurance

   benefits from Allstate on behalf of Amber Street Chiropractic even though Amber Street

   Chiropractic was not eligible to collect such benefits by virtue of its unlawful conduct.

          651.    The Count XII Defendants were aware of this purpose and agreed to take steps to

   meet the conspiracy’s objectives, including the creation and submission to Allstate of insurance

   claim and medical record documents containing material misrepresentations.

          652.    Allstate has been injured in its business and property by reason of this conspiratorial

   conduct whereas Allstate has been induced to make claim payments as a result of the Count XII

   Defendants’ unlawful conduct described herein.

          653.    By virtue of the Count XII Defendants’ violations of 18 U.S.C. § 1962(d), Allstate

   is entitled to recover from each of the defendants identified, three times the damages sustained by

   reason of the claims submitted by the defendants, and others acting in concert with them, together

   with the costs of suit, including reasonable attorney’s fees.

                                          COUNT XIII
                             VIOLATIONS OF 18 U.S.C. § 1962(c)
                  FINE MOTOR PHYSICAL THERAPY, P.C. ENTERPRISE
            (Against Joseph Sedrak, P.T., Yury Koyen, M.D., and Relief Medical, P.C.)

          654.       Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.




                                                       106
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 107 of 167 PageID #: 107




           655.    Fine Motor Physical Therapy, P.C. (“Fine Motor Physical Therapy”) constitutes an

   enterprise, as defined in 18 U.S.C. § 1961(4), engaged in, and the activities of which affect,

   interstate commerce.

           656.    In connection with the operation and management of the Fine Motor Physical

   Therapy enterprise and with each of the claims identified in the plaintiffs’ Complaint, Defendants

   Joseph Sedrak, P.T., Yury Koyen, M.D., and Relief Medical, P.C. (collectively “Count XIII

   Defendants”) intentionally caused to be prepared and mailed, false medical documentation in

   connection with Allstate insurance claims, or knew that such false medical documentation would

   be mailed in the ordinary course of Fine Motor Physical Therapy’s business, or should have

   reasonably foreseen that the mailing of such false medical documentation by Fine Motor Physical

   Therapy would occur, in furtherance of the scheme to defraud.

           657.    The Count XIII Defendants knew, or should have foreseen two or more mailings to

   demand and/or receive payment on certain dates, including, but not limited to, those dates

   identified in the chart at Exhibit 7.

           658.    Among other things, NF-3 forms, HCFA-1500 forms, CMS-1500 forms, medical

   billing invoices, medical reports, applications for insurance, and premium checks were routinely

   delivered to Allstate through the U.S. Mail.

           659.    Policies of insurance were delivered to insureds through the U.S. Mail.

           660.    Payments made by Allstate to Fine Motor Physical Therapy traveled through the

   U.S. Mail.

           661.    As documented above, the Count XIII Defendants repeatedly and intentionally

   submitted NF-3 forms, HCFA-1500 forms, and/or CMS-1500 forms and other medical

   documentation to Allstate for the purpose of seeking payment for healthcare services provided to




                                                  107
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 108 of 167 PageID #: 108




   patients through Fine Motor Physical Therapy—payments that the Count XIII Defendants intended

   to be funded using the No-Fault insurance benefits that were provided under the applicable Allstate

   automobile insurance policy pursuant to New York law, for medical services and treatments that

   were purportedly provided by Fine Motor Physical Therapy, to collect payment from Allstate

   under the Personal Injury Protection benefits portion of the Allstate policies and applicable New

   York No-Fault laws.

          662.     As a result of, and in reasonable reliance upon these misleading documents and

   misrepresentations, Allstate, by its agents and employees, issued payments to Fine Motor Physical

   Therapy for the benefit of the Count XIII Defendants that would not otherwise have been made.

          663.     The Count XIII Defendants’ pattern of fraudulent claims, each appearing legitimate

   on their face, also prevented Allstate from discovering the fraudulent scheme for a long period of

   time, thus enabling the scheme to continue without being detected.

          664.     The facts set forth above constitute indictable offenses pursuant to 18 U.S.C. § 1341

   (mail fraud).

          665.     By mailing numerous fraudulent claim-related documents in furtherance of an

   ongoing scheme, the Count XIII Defendants engaged in a pattern of racketeering activity within

   the meaning of 18 U.S.C. § 1962(c).

          666.     The Count XIII Defendants participated in the conduct of the Fine Motor Physical

   Therapy enterprise through a pattern of racketeering activities.

          667.     The unlawful activities and other misconduct alleged in this case had the direct

   effect of causing funds to be transferred from Allstate to Fine Motor Physical Therapy for the

   benefit of the Count XIII Defendants.




                                                   108
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 109 of 167 PageID #: 109




          668.    Allstate is a “person” as defined by 18 U.S.C. § 1961(3), injured in its business or

   property by reason of the Count XIII Defendants’ conduct.

          669.    The Count XIII Defendants’ conduct in violation of 18 U.S.C. § 1962(c) was the

   direct and proximate cause of Allstate’s injury.

          670.    Allstate (and all plaintiffs individually) is in the business of writing insurance and

   paying claims in the State of New York.

          671.    Insurance fraud schemes practiced here and elsewhere have a deleterious impact on

   Allstate’s overall financial well-being and adversely affect insurance rates.

          672.    By virtue of the Count XIII Defendants’ violations of 18 U.S.C. § 1962(c), Allstate

   is entitled to recover from them three times the damages sustained by reason of the claims

   submitted by them, and others acting in concert with them, together with the costs of suit, including

   reasonable attorney’s fees.

                                          COUNT XIV
                                VIOLATION 18 U.S.C. § 1962(d)
                  FINE MOTOR PHYSICAL THERAPY, P.C. ENTERPRISE
            (Against Joseph Sedrak, P.T., Yury Koyen, M.D., and Relief Medical, P.C.)

          673.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          674.    Defendants Joseph Sedrak, P.T., Yury Koyen, M.D., and Relief Medical, P.C.

   (collectively “Count XIV Defendants”) willfully conspired with one another to violate 18 U.S.C.

   § 1962(c) through the operation of Fine Motor Physical Therapy, P.C. (“Fine Motor Physical

   Therapy”).

          675.    The Count XIV Defendants each agreed to further, facilitate, support, and operate

   the Fine Motor Physical Therapy enterprise.

          676.    As such, the Count XIV Defendants conspired to violate 18 U.S.C. § 1962(c).



                                                       109
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 110 of 167 PageID #: 110




          677.    The purpose of the conspiracy was to obtain payments and No-Fault insurance

   benefits from Allstate on behalf of Fine Motor Physical Therapy even though Fine Motor Physical

   Therapy was not eligible to collect such benefits by virtue of its unlawful conduct.

          678.    The Count XIV Defendants were aware of this purpose and agreed to take steps to

   meet the conspiracy’s objectives, including the creation and submission to Allstate of insurance

   claim and medical record documents containing material misrepresentations.

          679.    Allstate has been injured in its business and property by reason of this conspiratorial

   conduct whereas Allstate has been induced to make claim payments as a result of the Count XIV

   Defendants’ unlawful conduct described herein.

          680.    By virtue of the Count XIV Defendants’ violations of 18 U.S.C. § 1962(d), Allstate

   is entitled to recover from each of the defendants identified, three times the damages sustained by

   reason of the claims submitted by the defendants, and others acting in concert with them, together

   with the costs of suit, including reasonable attorney’s fees.

                                       COUNT XV
                           VIOLATIONS OF 18 U.S.C. § 1962(c)
                   CITY WIDE HEALTH FACILITY, INC. ENTERPRISE
       (Against Alexander Zharov, Edward Atbashyan, Simon Korenblit, Alex Korenblit,
                        Yury Koyen, M.D., and Relief Medical, P.C.)

          681.     Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          682.    City Wide Health Facility, Inc. (“City Wide Health Facility”) constitutes an

   enterprise, as defined in 18 U.S.C. § 1961(4), engaged in, and the activities of which affect,

   interstate commerce.

          683.    In connection with the operation and management of the City Wide Health Facility

   enterprise and with each of the claims identified in the plaintiffs’ Complaint, Defendants




                                                       110
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 111 of 167 PageID #: 111




   Alexander Zharov, Edward Atbashyan, Simon Korenblit, Alex Korenblit, Yury Koyen, M.D., and

   Relief Medical, P.C. (collectively “Count XV Defendants”) intentionally caused to be prepared

   and mailed, false medical documentation in connection with Allstate insurance claims, or knew

   that such false medical documentation would be mailed in the ordinary course of City Wide Health

   Facility’s business, or should have reasonably foreseen that the mailing of such false medical

   documentation by City Wide Health Facility would occur, in furtherance of the scheme to defraud.

           684.    The Count XV Defendants knew, or should have foreseen two or more mailings to

   demand and/or receive payment on certain dates, including, but not limited to, those dates

   identified in the chart at Exhibit 8.

           685.    Among other things, NF-3 forms, HCFA-1500 forms, CMS-1500 forms, medical

   billing invoices, medical reports, applications for insurance, and premium checks were routinely

   delivered to Allstate through the U.S. Mail.

           686.    Policies of insurance were delivered to insureds through the U.S. Mail.

           687.    Payments made by Allstate to City Wide Health Facility traveled through the U.S.

   Mail.

           688.    As documented above, the Count XV Defendants repeatedly and intentionally

   submitted NF-3 forms, HCFA-1500 forms, and/or CMS-1500 forms and other medical

   documentation to Allstate for the purpose of seeking payment for healthcare services provided to

   patients through City Wide Health Facility—payments that the Count XV Defendants intended to

   be funded using the No-Fault insurance benefits that were provided under the applicable Allstate

   automobile insurance policy pursuant to New York law, for medical services and treatments that

   were purportedly provided by City Wide Health Facility, to collect payment from Allstate under




                                                  111
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 112 of 167 PageID #: 112




   the Personal Injury Protection benefits portion of the Allstate policies and applicable New York

   No-Fault laws.

          689.      As a result of, and in reasonable reliance upon these misleading documents and

   misrepresentations, Allstate, by its agents and employees, issued payments to City Wide Health

   Facility for the benefit of the Count XV Defendants that would not otherwise have been made.

          690.      The Count XV Defendants’ pattern of fraudulent claims, each appearing legitimate

   on their face, also prevented Allstate from discovering the fraudulent scheme for a long period of

   time, thus enabling the scheme to continue without being detected.

          691.      The facts set forth above constitute indictable offenses pursuant to 18 U.S.C. § 1341

   (mail fraud).

          692.      By mailing numerous fraudulent claim-related documents in furtherance of an

   ongoing scheme, the Count XV Defendants engaged in a pattern of racketeering activity within

   the meaning of 18 U.S.C. § 1962(c).

          693.      The Count XV Defendants participated in the conduct of the City Wide Health

   Facility enterprise through a pattern of racketeering activities.

          694.      The unlawful activities and other misconduct alleged in this case had the direct

   effect of causing funds to be transferred from Allstate to City Wide Health Facility for the benefit

   of the Count XV Defendants.

          695.      Allstate is a “person” as defined by 18 U.S.C. § 1961(3), injured in its business or

   property by reason of the Count XV Defendants’ conduct.

          696.      The Count XV Defendants’ conduct in violation of 18 U.S.C. § 1962(c) was the

   direct and proximate cause of Allstate’s injury.




                                                    112
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 113 of 167 PageID #: 113




          697.    Allstate (and all plaintiffs individually) is in the business of writing insurance and

   paying claims in the State of New York.

          698.    Insurance fraud schemes practiced here and elsewhere have a deleterious impact on

   Allstate’s overall financial well-being and adversely affect insurance rates.

          699.    By virtue of the Count XV Defendants’ violations of 18 U.S.C. § 1962(c), Allstate

   is entitled to recover from them three times the damages sustained by reason of the claims

   submitted by them, and others acting in concert with them, together with the costs of suit, including

   reasonable attorney’s fees.

                                      COUNT XVI
                              VIOLATION 18 U.S.C. § 1962(d)
                   CITY WIDE HEALTH FACILITY, INC. ENTERPRISE
       (Against Alexander Zharov, Edward Atbashyan, Simon Korenblit, Alex Korenblit,
                         Yury Koyen, M.D., and Relief Medical, P.C.)

          700.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          701.    Defendants Alexander Zharov, Edward Atbashyan, Simon Korenblit, Alex

   Korenblit, Yury Koyen, M.D., and Relief Medical, P.C. (collectively “Count XVI Defendants”)

   willfully conspired with one another to violate 18 U.S.C. § 1962(c) through the operation of City

   Wide Health Facility, Inc. (“City Wide Health Facility”).

          702.    The Count XVI Defendants each agreed to further, facilitate, support, and operate

   the City Wide Health Facility enterprise.

          703.    As such, the Count XVI Defendants conspired to violate 18 U.S.C. § 1962(c).

          704.    The purpose of the conspiracy was to obtain payments and No-Fault insurance

   benefits from Allstate on behalf of City Wide Health Facility even though City Wide Health

   Facility was not eligible to collect such benefits by virtue of its unlawful conduct.




                                                       113
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 114 of 167 PageID #: 114




          705.    The Count XVI Defendants were aware of this purpose and agreed to take steps to

   meet the conspiracy’s objectives, including the creation and submission to Allstate of insurance

   claim and medical record documents containing material misrepresentations.

          706.    Allstate has been injured in its business and property by reason of this conspiratorial

   conduct whereas Allstate has been induced to make claim payments as a result of the Count XVI

   Defendants’ unlawful conduct described herein.

          707.    By virtue of the Count XVI Defendants’ violations of 18 U.S.C. § 1962(d), Allstate

   is entitled to recover from each of the defendants identified, three times the damages sustained by

   reason of the claims submitted by the defendants, and others acting in concert with them, together

   with the costs of suit, including reasonable attorney’s fees.

                                        COUNT XVII
                           VIOLATIONS OF 18 U.S.C. § 1962(c)
                          EZ PROCESSING, LLC ENTERPRISE
       (Against Yury Koyen, M.D., Aleksandr Levin, M.D., Alexander Mazurovsky, D.C.,
             Joseph Sedrak, P.T., Relief Medical, P.C., Diagnostic Medicine, P.C.,
                   AM Chiropractic, P.C., Amber Street Chiropractic, P.C.,
                          and Fine Motor Physical Therapy, P.C.)

          708.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          709.    EZ Processing, LLC (“EZ Processing”) constitutes an enterprise, as defined in 18

   U.S.C. § 1961(4), engaged in, and the activities of which affect, interstate commerce.

          710.    In connection with the operation and management of the EZ Processing enterprise

   and with each of the claims identified in the plaintiffs’ Complaint, Defendants Yury Koyen, M.D.,

   Aleksandr Levin, M.D., Alexander Mazurovksy, D.C., Joseph Sedrak, P.T., Relief Medical, P.C.,

   Diagnostic Medicine, P.C., AM Chiropractic, P.C., Amber Street Chiropractic, P.C., and Fine

   Motor Physical Therapy, P.C. (collectively “Count XVII Defendants”) intentionally caused to be




                                                       114
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 115 of 167 PageID #: 115




   prepared and mailed, false medical documentation in connection with Allstate insurance claims,

   or knew that such false medical documentation would be mailed in the ordinary course of EZ

   Processing’s business, or should have reasonably foreseen that the mailing of such false medical

   documentation by EZ Processing would occur, in furtherance of the scheme to defraud.

          711.    The Count XVII Defendants knew, or should have foreseen two or more mailings

   to demand and/or receive payment on certain dates, including, but not limited to, those dates

   identified in the charts at Exhibits 1-2 and 5-7.

          712.    Among other things, NF-3 forms, HCFA-1500 forms, CMS-1500 forms, medical

   billing invoices, medical reports, applications for insurance, and premium checks were routinely

   delivered to Allstate through the U.S. Mail.

          713.    Policies of insurance were delivered to insureds through the U.S. Mail.

          714.    Payments made by Allstate to EZ Processing traveled through the U.S. Mail.

          715.    As documented above, the Count XVII Defendants repeatedly and intentionally

   submitted NF-3 forms, HCFA-1500 forms, and/or CMS-1500 forms and other medical

   documentation to Allstate for the purpose of seeking payment for healthcare services provided to

   patients through EZ Processing—payments that the Count XVII Defendants intended to be funded

   using the No-Fault insurance benefits that were provided under the applicable Allstate automobile

   insurance policy pursuant to New York law, for medical services and treatments that were

   purportedly provided by Relief Medical, Diagnostic Medicine, AM Chiropractic, Amber Street

   Chiropractic, and Fine Motor Physical Therapy, to collect payment from Allstate under the

   Personal Injury Protection benefits portion of the Allstate policies and applicable New York No-

   Fault laws.




                                                       115
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 116 of 167 PageID #: 116




          716.     As a result of, and in reasonable reliance upon these misleading documents and

   misrepresentations, Allstate, by its agents and employees, issued payments to EZ Processing for

   the benefit of the Count XVII Defendants that would not otherwise have been made.

          717.     The Count XVII Defendants’ pattern of fraudulent claims, each appearing

   legitimate on their face, also prevented Allstate from discovering the fraudulent scheme for a long

   period of time, thus enabling the scheme to continue without being detected.

          718.     The facts set forth above constitute indictable offenses pursuant to 18 U.S.C. § 1341

   (mail fraud).

          719.     By mailing numerous fraudulent claim-related documents in furtherance of an

   ongoing scheme, the Count XVII Defendants engaged in a pattern of racketeering activity within

   the meaning of 18 U.S.C. § 1962(c).

          720.     The Count XVII Defendants participated in the conduct of the EZ Processing

   enterprise through a pattern of racketeering activities.

          721.     The unlawful activities and other misconduct alleged in this case had the direct

   effect of causing funds to be transferred from Allstate to EZ Processing for the benefit of the Count

   XVII Defendants.

          722.     Allstate is a “person” as defined by 18 U.S.C. § 1961(3), injured in its business or

   property by reason of the Count XVII Defendants’ conduct.

          723.     The Count XVII Defendants’ conduct in violation of 18 U.S.C. § 1962(c) was the

   direct and proximate cause of Allstate’s injury.

          724.     Allstate (and all plaintiffs individually) is in the business of writing insurance and

   paying claims in the State of New York.




                                                    116
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 117 of 167 PageID #: 117




          725.    Insurance fraud schemes practiced here and elsewhere have a deleterious impact on

   Allstate’s overall financial well-being and adversely affect insurance rates.

          726.    By virtue of the Count XVII Defendants’ violations of 18 U.S.C. § 1962(c), Allstate

   is entitled to recover from them three times the damages sustained by reason of the claims

   submitted by them, and others acting in concert with them, together with the costs of suit, including

   reasonable attorney’s fees.

                                        COUNT XVIII
                              VIOLATION 18 U.S.C. § 1962(d)
                          EZ PROCESSING, LLC ENTERPRISE
       (Against Yury Koyen, M.D., Aleksandr Levin, M.D., Alexander Mazurovsky, D.C.,
             Joseph Sedrak, P.T., Relief Medical, P.C., Diagnostic Medicine, P.C.,
                   AM Chiropractic, P.C., Amber Street Chiropractic, P.C.,
                          and Fine Motor Physical Therapy, P.C.)

          727.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          728.    Defendants Yury Koyen, M.D., Aleksandr Levin, M.D., Alexander Mazurovksy,

   D.C., Joseph Sedrak, P.T., Relief Medical, P.C., Diagnostic Medicine, P.C., AM Chiropractic,

   P.C., Amber Street Chiropractic, P.C., and Fine Motor Physical Therapy, P.C. (collectively “Count

   XVIII Defendants”) willfully conspired with one another to violate 18 U.S.C. § 1962(c) through

   the operation of EZ Processing, LLC (“EZ Processing”).

          729.    The Count XVIII Defendants each agreed to further, facilitate, support, and operate

   the EZ Processing enterprise.

          730.    As such, the Count XVIII Defendants conspired to violate 18 U.S.C. § 1962(c).

          731.    The purpose of the conspiracy was to obtain payments and No-Fault insurance

   benefits from Allstate on behalf of Relief Medical, Diagnostic Medicine, AM Chiropractic, Amber

   Street Chiropractic, and Fine Motor Physical Therapy, even though Relief Medical, Diagnostic




                                                       117
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 118 of 167 PageID #: 118




   Medicine, AM Chiropractic, Amber Street Chiropractic, and Fine Motor Physical Therapy were

   not eligible to collect such benefits by virtue of their unlawful conduct.

          732.    The Count XVIII Defendants were aware of this purpose and agreed to take steps

   to meet the conspiracy’s objectives, including the creation and submission to Allstate of insurance

   claim and medical record documents containing material misrepresentations.

          733.    Allstate has been injured in its business and property by reason of this conspiratorial

   conduct whereas Allstate has been induced to make claim payments as a result of the Count XVIII

   Defendants’ unlawful conduct described herein.

          734.    By virtue of the Count XVIII Defendants’ violations of 18 U.S.C. § 1962(d),

   Allstate is entitled to recover from each of the defendants identified, three times the damages

   sustained by reason of the claims submitted by the defendants, and others acting in concert with

   them, together with the costs of suit, including reasonable attorney’s fees.

                                           COUNT XIX
                                   COMMON LAW FRAUD
            (Against Relief Medical, P.C., Yury Koyen, M.D., Aleksandr Levin, M.D.,
           Igor Mayzenberg, L.Ac., Alexander Mazurovsky, D.C., Joseph Sedrak, P.T.,
                     Diagnostic Medicine, P.C., Dai Mai Acupuncture, P.C.,
                  Mingmen Acupuncture Services, P.C., AM Chiropractic, P.C.,
              Amber Street Chiropractic, P.C., Fine Motor Physical Therapy, P.C.,
             City Wide Health Facility, Inc., Alexander Zharov, Edward Atbashyan,
                             Simon Korenblit, and Alex Korenblit)

          735.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          736.    Defendants, Relief Medical, P.C., Yury Koyen, M.D., Aleksandr Levin, M.D., Igor

   Mayzenberg, L.Ac., Alexander Mazurovsky, D.C., Joseph Sedrak, P.T., Diagnostic Medicine,

   P.C., Dai Mai Acupuncture, P.C., Mingmen Acupuncture Services, P.C., AM Chiropractic, P.C.,

   Amber Street Chiropractic, P.C., Fine Motor Physical Therapy, P.C., City Wide Health Facility,




                                                       118
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 119 of 167 PageID #: 119




   Inc., Alexander Zharov, Edward Atbashyan, Simon Korenblit, and Alex Korenblit (collectively

   “Count XIX Defendants”) intentionally defrauded Allstate through their submission of charges for

   treatment and services that were medically unnecessary, excessive, fraudulently charged, and/or

   not rendered as represented.

             737.    The Count XIX Defendants’ scheme to defraud Allstate was reliant upon a

   succession of material misrepresentations of fact that Relief Medical, P.C. was entitled to receive

   No-Fault reimbursement under New York law.

             738.    These misrepresentations of fact by the Count XIX Defendants included, but were

   not limited to, the material misrepresentations of fact made in the Count XIX Defendants’ reports,

   invoices, and medical documentation.

             739.    The Count XIX Defendants’ representations were false or required disclosure of

   additional facts to render the information furnished not misleading.

             740.    These misrepresentations were intentionally made by the Count XIX Defendants in

   furtherance of his scheme to defraud Allstate by submitting claims for payment of No-Fault

   insurance benefits.

             741.    The Count XIX Defendants’ misrepresentations were known to be false from the

   onset and were made for the purpose of inducing Allstate to make payments for claims that were

   not legitimate.

             742.    Allstate reasonably relied, to its detriment, upon the Count XIX Defendants’

   material misrepresentations concerning the Count XIX Defendants’ eligibility to receive No-Fault

   reimbursement in paying numerous bills for healthcare expenses pursuant to No-Fault insurance

   claims.




                                                   119
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 120 of 167 PageID #: 120




          743.    Allstate’s damages include, but are not necessarily limited to, No-Fault benefit

   payments made by Allstate to the Count XIX Defendants totaling at least $316,274.18 for which

   the Count XIX Defendants were not eligible to receive under New York’s No-Fault laws.

                                         COUNT XX
                                  COMMON LAW FRAUD
         (Against Diagnostic Medicine, P.C., Aleksandr Levin, M.D., Yury Koyen, M.D.,
                                   and Relief Medical, P.C.)

          744.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          745.    Defendants, Diagnostic Medicine, P.C., Aleksandr Levin, M.D., Yury Koyen,

   M.D., and Relief Medical, P.C. (collectively “Count XX Defendants”) intentionally defrauded

   Allstate through their submission of charges for treatment and services that were medically

   unnecessary, excessive, fraudulently charged, and/or not rendered as represented.

          746.    The Count XX Defendants’ scheme to defraud Allstate was reliant upon a

   succession of material misrepresentations of fact that Diagnostic Medicine, P.C. was entitled to

   receive No-Fault reimbursement under New York law.

          747.    These misrepresentations of fact by the Count XX Defendants included, but were

   not limited to, the material misrepresentations of fact made in the Count XX Defendants’ reports,

   invoices, and medical documentation.

          748.    The Count XX Defendants’ representations were false or required disclosure of

   additional facts to render the information furnished not misleading.

          749.    These misrepresentations were intentionally made by the Count XX Defendants in

   furtherance of his scheme to defraud Allstate by submitting claims for payment of No-Fault

   insurance benefits.




                                                       120
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 121 of 167 PageID #: 121




             750.    The Count XX Defendants’ misrepresentations were known to be false from the

   onset and were made for the purpose of inducing Allstate to make payments for claims that were

   not legitimate.

             751.    Allstate reasonably relied, to its detriment, upon the Count XX Defendants’

   material misrepresentations concerning the Count XX Defendants’ eligibility to receive No-Fault

   reimbursement in paying numerous bills for healthcare expenses pursuant to No-Fault insurance

   claims.

             752.    Allstate’s damages include, but are not necessarily limited to, No-Fault benefit

   payments made by Allstate to the Count XX Defendants totaling at least $230,661.07 for which

   the Count XX Defendants were not eligible to receive under New York’s No-Fault laws.

                                        COUNT XXI
                                 COMMON LAW FRAUD
        (Against Dai Mai Acupuncture, P.C., Igor Mayzenberg, L.Ac., Yury Koyen, M.D.,
                                  and Relief Medical, P.C.)

             753.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

             754.    Defendants, Dai Mai Acupuncture, P.C., Igor Mayzenberg, L.Ac., Yury Koyen,

   M.D., and Relief Medical, P.C. (collectively “Count XXI Defendants”) intentionally defrauded

   Allstate through their submission of charges for treatment and services that were medically

   unnecessary, excessive, fraudulently charged, and/or not rendered as represented.

             755.    The Count XXI Defendants’ scheme to defraud Allstate was reliant upon a

   succession of material misrepresentations of fact that Dai Mai Acupuncture, P.C. was entitled to

   receive No-Fault reimbursement under New York law.




                                                       121
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 122 of 167 PageID #: 122




             756.    These misrepresentations of fact by the Count XXI Defendants included, but were

   not limited to, the material misrepresentations of fact made in the Count XXI Defendants’ reports,

   invoices, and medical documentation.

             757.    The Count XXI Defendants’ representations were false or required disclosure of

   additional facts to render the information furnished not misleading.

             758.    These misrepresentations were intentionally made by the Count XXI Defendants in

   furtherance of his scheme to defraud Allstate by submitting claims for payment of No-Fault

   insurance benefits.

             759.    The Count XXI Defendants’ misrepresentations were known to be false from the

   onset and were made for the purpose of inducing Allstate to make payments for claims that were

   not legitimate.

             760.    Allstate reasonably relied, to its detriment, upon the Count XXI Defendants’

   material misrepresentations concerning the Count XXI Defendants’ eligibility to receive No-Fault

   reimbursement in paying numerous bills for healthcare expenses pursuant to No-Fault insurance

   claims.

             761.    Allstate’s damages include, but are not necessarily limited to, No-Fault benefit

   payments made by Allstate to the Count XXI Defendants totaling at least $57,706.86 for which

   the Count XXI Defendants were not eligible to receive under New York’s No-Fault laws.

                                        COUNT XXII
                                   COMMON LAW FRAUD
               (Against Mingmen Acupuncture Services, P.C., Igor Mayzenberg, L.Ac.,
                           Yury Koyen, M.D., and Relief Medical, P.C.)

             762.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.




                                                       122
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 123 of 167 PageID #: 123




             763.    Defendants, Mingmen Acupuncture Services, P.C., Igor Mayzenberg, L.Ac., Yury

   Koyen, M.D., and Relief Medical, P.C. (collectively “Count XXII Defendants”) intentionally

   defrauded Allstate through their submission of charges for treatment and services that were

   medically unnecessary, excessive, fraudulently charged, and/or not rendered as represented.

             764.    The Count XXII Defendants’ scheme to defraud Allstate was reliant upon a

   succession of material misrepresentations of fact that Mingmen Acupuncture Services, P.C. was

   entitled to receive No-Fault reimbursement under New York law.

             765.    These misrepresentations of fact by the Count XXII Defendants included, but were

   not limited to, the material misrepresentations of fact made in the Count XXII Defendants’ reports,

   invoices, and medical documentation.

             766.    The Count XXII Defendants’ representations were false or required disclosure of

   additional facts to render the information furnished not misleading.

             767.    These misrepresentations were intentionally made by the Count XXII Defendants

   in furtherance of his scheme to defraud Allstate by submitting claims for payment of No-Fault

   insurance benefits.

             768.    The Count XXII Defendants’ misrepresentations were known to be false from the

   onset and were made for the purpose of inducing Allstate to make payments for claims that were

   not legitimate.

             769.    Allstate reasonably relied, to its detriment, upon the Count XXII Defendants’

   material misrepresentations concerning the Count XXII Defendants’ eligibility to receive No-Fault

   reimbursement in paying numerous bills for healthcare expenses pursuant to No-Fault insurance

   claims.




                                                   123
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 124 of 167 PageID #: 124




          770.    Allstate’s damages include, but are not necessarily limited to, No-Fault benefit

   payments made by Allstate to the Count XXII Defendants totaling at least $662,000.34 for which

   the Count XXII Defendants were not eligible to receive under New York’s No-Fault laws.

                                         COUNT XXIII
                                   COMMON LAW FRAUD
                   (Against AM Chiropractic, P.C., Alexander Mazurovsky, D.C.,
                            Yury Koyen, M.D., and Relief Medical, P.C.)

          771.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          772.    Defendants, AM Chiropractic, P.C., Alexander Mazurovsky, D.C., Yury Koyen,

   M.D., and Relief Medical, P.C. (collectively “Count XXIII Defendants”) intentionally defrauded

   Allstate through their submission of charges for treatment and services that were medically

   unnecessary, excessive, fraudulently charged, and/or not rendered as represented.

          773.    The Count XXIII Defendants’ scheme to defraud Allstate was reliant upon a

   succession of material misrepresentations of fact that AM Chiropractic, P.C. was entitled to receive

   No-Fault reimbursement under New York law.

          774.    These misrepresentations of fact by the Count XXIII Defendants included, but were

   not limited to, the material misrepresentations of fact made in the Count XXIII Defendants’

   reports, invoices, and medical documentation.

          775.    The Count XXIII Defendants’ representations were false or required disclosure of

   additional facts to render the information furnished not misleading.

          776.    These misrepresentations were intentionally made by the Count XXIII Defendants

   in furtherance of his scheme to defraud Allstate by submitting claims for payment of No-Fault

   insurance benefits.




                                                       124
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 125 of 167 PageID #: 125




          777.       The Count XXIII Defendants’ misrepresentations were known to be false from the

   onset and were made for the purpose of inducing Allstate to make payments for claims that were

   not legitimate.

          778.       Allstate reasonably relied, to its detriment, upon the Count XXIII Defendants’

   material misrepresentations concerning the Count XXIII Defendants’ eligibility to receive No-

   Fault reimbursement in paying numerous bills for healthcare expenses pursuant to No-Fault

   insurance claims.

          779.       Allstate’s damages include, but are not necessarily limited to, No-Fault benefit

   payments made by Allstate to the Count XXIII Defendants totaling at least $258,074.89 for which

   the Count XXIII Defendants were not eligible to receive under New York’s No-Fault laws.

                                        COUNT XXIV
                                   COMMON LAW FRAUD
             (Against Amber Street Chiropractic, P.C., Alexander Mazurovsky, D.C.,
                         Yury Koyen, M.D., and Relief Medical, P.C.)

          780.       Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          781.       Defendants, Amber Street Chiropractic, P.C., Alexander Mazurovsky, D.C., Yury

   Koyen, M.D., and Relief Medical, P.C. (collectively “Count XXIV Defendants”) intentionally

   defrauded Allstate through their submission of charges for treatment and services that were

   medically unnecessary, excessive, fraudulently charged, and/or not rendered as represented.

          782.       The Count XXIV Defendants’ scheme to defraud Allstate was reliant upon a

   succession of material misrepresentations of fact that Amber Street Chiropractic, P.C. was entitled

   to receive No-Fault reimbursement under New York law.




                                                       125
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 126 of 167 PageID #: 126




          783.       These misrepresentations of fact by the Count XXIV Defendants included, but were

   not limited to, the material misrepresentations of fact made in the Count XXIV Defendants’

   reports, invoices, and medical documentation.

          784.       The Count XXIV Defendants’ representations were false or required disclosure of

   additional facts to render the information furnished not misleading.

          785.       These misrepresentations were intentionally made by the Count XXIV Defendants

   in furtherance of his scheme to defraud Allstate by submitting claims for payment of No-Fault

   insurance benefits.

          786.       The Count XXIV Defendants’ misrepresentations were known to be false from the

   onset and were made for the purpose of inducing Allstate to make payments for claims that were

   not legitimate.

          787.       Allstate reasonably relied, to its detriment, upon the Count XXIV Defendants’

   material misrepresentations concerning the Count XXIV Defendants’ eligibility to receive No-

   Fault reimbursement in paying numerous bills for healthcare expenses pursuant to No-Fault

   insurance claims.

          788.       Allstate’s damages include, but are not necessarily limited to, No-Fault benefit

   payments made by Allstate to the Count XXIV Defendants totaling at least $8,981.68 for which

   the Count XXIV Defendants were not eligible to receive under New York’s No-Fault laws.

                                         COUNT XXV
                                   COMMON LAW FRAUD
                 (Against Fine Motor Physical Therapy, P.C., Joseph Sedrak, P.T.,
                           Yury Koyen, M.D., and Relief Medical, P.C.)

          789.       Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.




                                                       126
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 127 of 167 PageID #: 127




             790.    Defendants, Fine Motor Physical Therapy, P.C., Joseph Sedrak, P.T., Yury Koyen,

   M.D., and Relief Medical, P.C. (collectively “Count XXV Defendants”) intentionally defrauded

   Allstate through their submission of charges for treatment and services that were medically

   unnecessary, excessive, fraudulently charged, and/or not rendered as represented.

             791.    The Count XXV Defendants’ scheme to defraud Allstate was reliant upon a

   succession of material misrepresentations of fact that Fine Motor Physical Therapy, P.C. was

   entitled to receive No-Fault reimbursement under New York law.

             792.    These misrepresentations of fact by the Count XXV Defendants included, but were

   not limited to, the material misrepresentations of fact made in the Count XXV Defendants’ reports,

   invoices, and medical documentation.

             793.    The Count XXV Defendants’ representations were false or required disclosure of

   additional facts to render the information furnished not misleading.

             794.    These misrepresentations were intentionally made by the Count XXV Defendants

   in furtherance of his scheme to defraud Allstate by submitting claims for payment of No-Fault

   insurance benefits.

             795.    The Count XXV Defendants’ misrepresentations were known to be false from the

   onset and were made for the purpose of inducing Allstate to make payments for claims that were

   not legitimate.

             796.    Allstate reasonably relied, to its detriment, upon the Count XXV Defendants’

   material misrepresentations concerning the Count XXV Defendants’ eligibility to receive No-Fault

   reimbursement in paying numerous bills for healthcare expenses pursuant to No-Fault insurance

   claims.




                                                   127
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 128 of 167 PageID #: 128




          797.    Allstate’s damages include, but are not necessarily limited to, No-Fault benefit

   payments made by Allstate to the Count XXV Defendants totaling at least $32,317.27 for which

   the Count XXV Defendants were not eligible to receive under New York’s No-Fault laws.

                                         COUNT XXVI
                                  COMMON LAW FRAUD
     (Against City Wide Health Facility, Inc., Alexander Zharov, Edward Atbashyan, Simon
            Korenblit, Alex Korenblit, Yury Koyen, M.D., and Relief Medical, P.C.)

          798.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          799.    Defendants, City Wide Health Facility, Inc., Alexander Zharov, Edward

   Atbashyan, Simon Korenblit, Alex Korenblit, Yury Koyen, M.D., and Relief Medical, P.C.

   (collectively “Count XXVI Defendants”) intentionally defrauded Allstate through their

   submission of charges for treatment and services that were medically unnecessary, excessive,

   fraudulently charged, and/or not rendered as represented.

          800.    The Count XXVI Defendants’ scheme to defraud Allstate was reliant upon a

   succession of material misrepresentations of fact that City Wide Health Facility, Inc. was entitled

   to receive No-Fault reimbursement under New York law.

          801.    These misrepresentations of fact by the Count XXVI Defendants included, but were

   not limited to, the material misrepresentations of fact made in the Count XXVI Defendants’

   reports, invoices, and medical documentation.

          802.    The Count XXVI Defendants’ representations were false or required disclosure of

   additional facts to render the information furnished not misleading.

          803.    These misrepresentations were intentionally made by the Count XXVI Defendants

   in furtherance of his scheme to defraud Allstate by submitting claims for payment of No-Fault

   insurance benefits.



                                                       128
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 129 of 167 PageID #: 129




          804.       The Count XXVI Defendants’ misrepresentations were known to be false from the

   onset and were made for the purpose of inducing Allstate to make payments for claims that were

   not legitimate.

          805.       Allstate reasonably relied, to its detriment, upon the Count XXVI Defendants’

   material misrepresentations concerning the Count XXVI Defendants’ eligibility to receive No-

   Fault reimbursement in paying numerous bills for healthcare expenses pursuant to No-Fault

   insurance claims.

          806.       Allstate’s damages include, but are not necessarily limited to, No-Fault benefit

   payments made by Allstate to the Count XXVI Defendants totaling at least $666,628.04 for which

   the Count XXVI Defendants were not eligible to receive under New York’s No-Fault laws.

                                         COUNT XXVII
                                   UNJUST ENRICHMENT
            (Against Relief Medical, P.C., Yury Koyen, M.D., Aleksandr Levin, M.D.,
           Igor Mayzenberg, L.Ac., Alexander Mazurovsky, D.C., Joseph Sedrak, P.T.,
                     Diagnostic Medicine, P.C., Dai Mai Acupuncture, P.C.,
                  Mingmen Acupuncture Services, P.C., AM Chiropractic, P.C.,
              Amber Street Chiropractic, P.C., Fine Motor Physical Therapy, P.C.,
             City Wide Health Facility, Inc., Alexander Zharov, Edward Atbashyan,
                             Simon Korenblit, and Alex Korenblit)

          807.       Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          808.       As alleged herein, Relief Medical, P.C., Yury Koyen, M.D., Aleksandr Levin,

   M.D., Igor Mayzenberg, L.Ac., Alexander Mazurovsky, D.C., Joseph Sedrak, P.T., Diagnostic

   Medicine, P.C., Dai Mai Acupuncture, P.C., Mingmen Acupuncture Services, P.C., AM

   Chiropractic, P.C., Amber Street Chiropractic, P.C., Fine Motor Physical Therapy, P.C., City Wide

   Health Facility, Inc., Alexander Zharov, Edward Atbashyan, Simon Korenblit, and Alex Korenblit




                                                       129
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 130 of 167 PageID #: 130




   (collectively “Count XXVII Defendants”), through various means, conspired to induce Allstate to

   make numerous and substantial payments to Relief Medical, P.C. pursuant to New York law.

          809.    When Allstate paid Relief Medical, P.C., Allstate reasonably believed that it was

   legally obligated to make such payments based on the misrepresentations and omissions that the

   Count XXVII Defendants, or those persons working under their control, made, or were caused to

   make, concerning Relief Medical, P.C.’s reimbursement eligibility under New York law.

          810.    Each and every payment that Allstate was caused to make to, or for the benefit of,

   Relief Medical, P.C. during the course of this scheme constitutes a benefit that the Count XXVII

   Defendants aggressively caused Relief Medical, P.C. to seek and voluntarily accept.

          811.    Through the course of this scheme, Relief Medical, P.C. wrongfully obtained from

   Allstate No-Fault benefit payments totaling at least $316,274.18 as a direct and proximate result

   of the unlawful conduct detailed throughout this Complaint, benefits that were derived, in part,

   directly from the No-Fault reimbursement payments that Allstate was wrongfully induced to make

   to Relief Medical, P.C.

          812.    Retention of those benefits by the Count XXVII Defendants would violate

   fundamental principles of justice, equity, and good conscience.

                                       COUNT XXVIII
                                  UNJUST ENRICHMENT
         (Against Diagnostic Medicine, P.C., Aleksandr Levin, M.D., Yury Koyen, M.D.,
                                   and Relief Medical, P.C.)

          813.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          814.    As alleged herein, Diagnostic Medicine, P.C., Aleksandr Levin, M.D., Yury Koyen,

   M.D., and Relief Medical, P.C. (collectively “Count XXVIII Defendants”), through various




                                                       130
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 131 of 167 PageID #: 131




   means, conspired to induce Allstate to make numerous and substantial payments to Diagnostic

   Medicine, P.C. pursuant to New York law.

          815.    When Allstate paid Diagnostic Medicine, P.C., Allstate reasonably believed that it

   was legally obligated to make such payments based on the misrepresentations and omissions that

   the Count XXVIII Defendants, or those persons working under their control, made, or were caused

   to make, concerning Diagnostic Medicine, P.C.’s reimbursement eligibility under New York law.

          816.    Each and every payment that Allstate was caused to make to, or for the benefit of,

   Diagnostic Medicine, P.C. during the course of this scheme constitutes a benefit that the Count

   XXVIII Defendants aggressively caused Diagnostic Medicine, P.C. to seek and voluntarily accept.

          817.    Through the course of this scheme, Diagnostic Medicine, P.C. wrongfully obtained

   from Allstate No-Fault benefit payments totaling at least $230,661.07 as a direct and proximate

   result of the unlawful conduct detailed throughout this Complaint, benefits that were derived, in

   part, directly from the No-Fault reimbursement payments that Allstate was wrongfully induced to

   make to Diagnostic Medicine, P.C.

          818.    Retention of those benefits by the Count XXVIII Defendants would violate

   fundamental principles of justice, equity, and good conscience.

                                       COUNT XXIX
                                 UNJUST ENRICHMENT
        (Against Dai Mai Acupuncture, P.C., Igor Mayzenberg, L.Ac., Yury Koyen, M.D.,
                                  and Relief Medical, P.C.)

          819.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          820.    As alleged herein, Dai Mai Acupuncture, P.C., Igor Mayzenberg, L.Ac., Yury

   Koyen, M.D., and Relief Medical, P.C. (collectively “Count XXIX Defendants”), through various




                                                       131
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 132 of 167 PageID #: 132




   means, conspired to induce Allstate to make numerous and substantial payments to Dai Mai

   Acupuncture, P.C. pursuant to New York law.

          821.    When Allstate paid Dai Mai Acupuncture, P.C., Allstate reasonably believed that

   it was legally obligated to make such payments based on the misrepresentations and omissions that

   the Count XXIX Defendants, or those persons working under their control, made, or were caused

   to make, concerning Dai Mai Acupuncture, P.C.’s reimbursement eligibility under New York law.

          822.    Each and every payment that Allstate was caused to make to, or for the benefit of,

   Dai Mai Acupuncture, P.C. during the course of this scheme constitutes a benefit that the Count

   XXIX Defendants aggressively caused Dai Mai Acupuncture, P.C. to seek and voluntarily accept.

          823.    Through the course of this scheme, Dai Mai Acupuncture, P.C. wrongfully obtained

   from Allstate No-Fault benefit payments totaling at least $57,706.86 as a direct and proximate

   result of the unlawful conduct detailed throughout this Complaint, benefits that were derived, in

   part, directly from the No-Fault reimbursement payments that Allstate was wrongfully induced to

   make to Dai Mai Acupuncture, P.C.

          824.    Retention of those benefits by the Count XXIX Defendants would violate

   fundamental principles of justice, equity, and good conscience.

                                      COUNT XXX
                                 UNJUST ENRICHMENT
             (Against Mingmen Acupuncture Services, P.C., Igor Mayzenberg, L.Ac.,
                         Yury Koyen, M.D., and Relief Medical, P.C.)

          825.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          826.    As alleged herein, Mingmen Acupuncture Services, P.C., Igor Mayzenberg, L.Ac.,

   Yury Koyen, M.D., and Relief Medical, P.C. (collectively “Count XXX Defendants”), through




                                                       132
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 133 of 167 PageID #: 133




   various means, conspired to induce Allstate to make numerous and substantial payments to

   Mingmen Acupuncture Services, P.C. pursuant to New York law.

          827.    When Allstate paid Mingmen Acupuncture Services, P.C., Allstate reasonably

   believed that it was legally obligated to make such payments based on the misrepresentations and

   omissions that the Count XXX Defendants, or those persons working under their control, made,

   or were caused to make, concerning Mingmen Acupuncture Services, P.C.’s reimbursement

   eligibility under New York law.

          828.    Each and every payment that Allstate was caused to make to, or for the benefit of,

   Mingmen Acupuncture Services, P.C. during the course of this scheme constitutes a benefit that

   the Count XXX Defendants aggressively caused Mingmen Acupuncture Services, P.C. to seek and

   voluntarily accept.

          829.    Through the course of this scheme, Mingmen Acupuncture Services, P.C.

   wrongfully obtained from Allstate No-Fault benefit payments totaling at least $662,000.34 as a

   direct and proximate result of the unlawful conduct detailed throughout this Complaint, benefits

   that were derived, in part, directly from the No-Fault reimbursement payments that Allstate was

   wrongfully induced to make to Mingmen Acupuncture Services, P.C.

          830.    Retention of those benefits by the Count XXX Defendants would violate

   fundamental principles of justice, equity, and good conscience.

                                       COUNT XXXI
                                 UNJUST ENRICHMENT
       (Against AM Chiropractic, P.C., Alexander Mazurovsky, D.C., Yury Koyen, M.D.,
                                  and Relief Medical, P.C.)

          831.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.




                                                       133
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 134 of 167 PageID #: 134




          832.    As alleged herein, AM Chiropractic, P.C., Alexander Mazurovsky, D.C., Yury

   Koyen, M.D., and Relief Medical, P.C. (collectively “Count XXXI Defendants”), through various

   means, conspired to induce Allstate to make numerous and substantial payments to AM

   Chiropractic, P.C. pursuant to New York law.

          833.    When Allstate paid AM Chiropractic, P.C., Allstate reasonably believed that it was

   legally obligated to make such payments based on the misrepresentations and omissions that the

   Count XXXI Defendants, or those persons working under their control, made, or were caused to

   make, concerning AM Chiropractic, P.C.’s reimbursement eligibility under New York law.

          834.    Each and every payment that Allstate was caused to make to, or for the benefit of,

   AM Chiropractic, P.C. during the course of this scheme constitutes a benefit that the Count XXXI

   Defendants aggressively caused AM Chiropractic, P.C. to seek and voluntarily accept.

          835.    Through the course of this scheme, AM Chiropractic, P.C. wrongfully obtained

   from Allstate No-Fault benefit payments totaling at least $258,074.89 as a direct and proximate

   result of the unlawful conduct detailed throughout this Complaint, benefits that were derived, in

   part, directly from the No-Fault reimbursement payments that Allstate was wrongfully induced to

   make to AM Chiropractic, P.C.

          836.    Retention of those benefits by the Count XXXI Defendants would violate

   fundamental principles of justice, equity, and good conscience.

                                       COUNT XXXII
                                  UNJUST ENRICHMENT
      (Against Amber Street Chiropractic, P.C., Alexander Mazurovsky, D.C., Yury Koyen,
                               M.D., and Relief Medical, P.C.)

          837.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.




                                                       134
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 135 of 167 PageID #: 135




          838.    As alleged herein, Amber Street Chiropractic, P.C., Alexander Mazurovsky, D.C.,

   Yury Koyen, M.D., and Relief Medical, P.C. (collectively “Count XXXII Defendants”), through

   various means, conspired to induce Allstate to make numerous and substantial payments to Amber

   Street Chiropractic, P.C. pursuant to New York law.

          839.    When Allstate paid Amber Street Chiropractic, P.C., Allstate reasonably believed

   that it was legally obligated to make such payments based on the misrepresentations and omissions

   that the Count XXXII Defendants, or those persons working under their control, made, or were

   caused to make, concerning Amber Street Chiropractic, P.C.’s reimbursement eligibility under

   New York law.

          840.    Each and every payment that Allstate was caused to make to, or for the benefit of,

   Amber Street Chiropractic, P.C. during the course of this scheme constitutes a benefit that the

   Count XXXII Defendants aggressively caused Amber Street Chiropractic, P.C. to seek and

   voluntarily accept.

          841.    Through the course of this scheme, Amber Street Chiropractic, P.C. wrongfully

   obtained from Allstate No-Fault benefit payments totaling at least $8,981.68 as a direct and

   proximate result of the unlawful conduct detailed throughout this Complaint, benefits that were

   derived, in part, directly from the No-Fault reimbursement payments that Allstate was wrongfully

   induced to make to Amber Street Chiropractic, P.C.

          842.    Retention of those benefits by the Count XXXII Defendants would violate

   fundamental principles of justice, equity, and good conscience.




                                                 135
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 136 of 167 PageID #: 136




                                       COUNT XXXIII
                                   UNJUST ENRICHMENT
      (Against Fine Motor Physical Therapy, P.C., Joseph Sedrak, P.T., Yury Koyen, M.D.,
                                   and Relief Medical, P.C.)

          843.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          844.    As alleged herein, Fine Motor Physical Therapy, P.C., Joseph Sedrak, P.T., Yury

   Koyen, M.D., and Relief Medical, P.C. (collectively “Count XXXIII Defendants”), through

   various means, conspired to induce Allstate to make numerous and substantial payments to Fine

   Motor Physical Therapy, P.C. pursuant to New York law.

          845.    When Allstate paid Fine Motor Physical Therapy, P.C., Allstate reasonably

   believed that it was legally obligated to make such payments based on the misrepresentations and

   omissions that the Count XXXIII Defendants, or those persons working under their control, made,

   or were caused to make, concerning Fine Motor Physical Therapy, P.C.’s reimbursement eligibility

   under New York law.

          846.    Each and every payment that Allstate was caused to make to, or for the benefit of,

   Fine Motor Physical Therapy, P.C. during the course of this scheme constitutes a benefit that the

   Count XXXIII Defendants aggressively caused Fine Motor Physical Therapy, P.C. to seek and

   voluntarily accept.

          847.    Through the course of this scheme, Fine Motor Physical Therapy, P.C. wrongfully

   obtained from Allstate No-Fault benefit payments totaling at least $32,317.27 as a direct and

   proximate result of the unlawful conduct detailed throughout this Complaint, benefits that were

   derived, in part, directly from the No-Fault reimbursement payments that Allstate was wrongfully

   induced to make to Fine Motor Physical Therapy, P.C.




                                                       136
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 137 of 167 PageID #: 137




             848.   Retention of those benefits by the Count XXXIII Defendants would violate

   fundamental principles of justice, equity, and good conscience.

                                        COUNT XXXIV
                                  UNJUST ENRICHMENT
     (Against City Wide Health Facility, Inc., Alexander Zharov, Edward Atbashyan, Simon
            Korenblit, Alex Korenblit, Yury Koyen, M.D., and Relief Medical, P.C.)

             849.   Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

             850.   As alleged herein, City Wide Health Facility, Inc., Alexander Zharov, Edward

   Atbashyan, Simon Korenblit, Alex Korenblit, Yury Koyen, M.D., and Relief Medical, P.C.

   (collectively “Count XXXIV Defendants”), through various means, conspired to induce Allstate

   to make numerous and substantial payments to City Wide Health Facility, Inc. pursuant to New

   York law.

             851.   When Allstate paid City Wide Health Facility, Inc., Allstate reasonably believed

   that it was legally obligated to make such payments based on the misrepresentations and omissions

   that the Count XXXIV Defendants, or those persons working under their control, made, or were

   caused to make, concerning City Wide Health Facility, Inc.’s reimbursement eligibility under New

   York law.

             852.   Each and every payment that Allstate was caused to make to, or for the benefit of,

   City Wide Health Facility, Inc. during the course of this scheme constitutes a benefit that the Count

   XXXIV Defendants aggressively caused City Wide Health Facility, Inc. to seek and voluntarily

   accept.

             853.   Through the course of this scheme, City Wide Health Facility, Inc. wrongfully

   obtained from Allstate No-Fault benefit payments totaling at least $666,628.04 as a direct and

   proximate result of the unlawful conduct detailed throughout this Complaint, benefits that were



                                                       137
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 138 of 167 PageID #: 138




   derived, in part, directly from the No-Fault reimbursement payments that Allstate was wrongfully

   induced to make to City Wide Health Facility, Inc.

          854.    Retention of those benefits by the Count XXXIV Defendants would violate

   fundamental principles of justice, equity, and good conscience.

                                     COUNT XXXV
                        DECLARATORY RELIEF UNDER 28 U.S.C. §2201
                               (Against Relief Medical, P.C.)

          855.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          856.    To be eligible to receive assigned No-Fault benefits, an assignee provider must

   adhere to all applicable New York statutes that grant the authority to provide healthcare services

   in New York.

          857.    Relief Medical, P.C. engaged in the following unlawful activity: (a) providing

   treatment and services in violation of applicable regulatory and licensing requirements; (b)

   providing treatment and services that were medically unnecessary and were completely unjustified

   as a means of treating the Allstate Claimants’ purported injuries; (c) billing for treatment and

   services that were not rendered as represented; and (d) submitting charges for treatment and

   services with the knowledge that such treatment and services were not lawfully reimbursable under

   New York law.       Relief Medical, P.C. was, at all times relevant, completely ineligible for

   reimbursement under New York law, and thus has no standing to submit or receive insurance

   benefits from Allstate.

          858.    Relief Medical, P.C. continues to submit, or continues to cause to submit, claims to

   Allstate demanding payment.

          859.    Relief Medical, P.C. continues to challenge Allstate’s prior claim denials.




                                                       138
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 139 of 167 PageID #: 139




          860.    Relief Medical, P.C. continues to commence litigation against Allstate seeking

   payment of No-Fault benefits allegedly due and owing.

          861.    A justifiable controversy exists between Allstate and Relief Medical, P.C. because

   Relief Medical, P.C. rejects Allstate’s ability to deny such claims.

          862.    Allstate has no adequate remedy at law.

          863.    Relief Medical, P.C. will also continue to bill Allstate absent a declaration by this

   Court that their activities are unlawful, and that Allstate has no obligation to pay the pending,

   previously denied, and/or future claims submitted by Relief Medical, P.C.

          864.    Accordingly, Allstate requests a judgment pursuant to the Declaratory Judgment

   Act, 28 U.S.C. §§ 2201 and 2202, declaring (a) that Relief Medical, P.C. has no standing to seek,

   collect, or retain any payments made by Allstate, and (b) that Allstate has no legal obligation to

   make any payment on any unpaid or otherwise pending bills that been submitted to Allstate by, or

   on behalf of, Relief Medical, P.C.

                                      COUNT XXXVI
                        DECLARATORY RELIEF UNDER 28 U.S.C. §2201
                             (Against Diagnostic Medicine, P.C.)

          865.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          866.    To be eligible to receive assigned No-Fault benefits, an assignee provider must

   adhere to all applicable New York statutes that grant the authority to provide healthcare services

   in New York.

          867.    Diagnostic Medicine, P.C. engaged in the following unlawful activity: (a)

   providing treatment and services in violation of applicable regulatory and licensing requirements;

   (b) providing treatment and services that were medically unnecessary and were completely




                                                       139
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 140 of 167 PageID #: 140




   unjustified as a means of treating the Allstate Claimants’ purported injuries; (c) billing for

   treatment and services that were not rendered as represented; and (d) submitting charges for

   treatment and services with the knowledge that such treatment and services were not lawfully

   reimbursable under New York law.          Diagnostic Medicine, P.C. was, at all times relevant,

   completely ineligible for reimbursement under New York law, and thus has no standing to submit

   or receive insurance benefits from Allstate.

          868.    Diagnostic Medicine, P.C. continues to submit, or continues to cause to submit,

   claims to Allstate demanding payment.

          869.    Diagnostic Medicine, P.C. continues to challenge Allstate’s prior claim denials.

          870.    Diagnostic Medicine, P.C. continues to commence litigation against Allstate

   seeking payment of No-Fault benefits allegedly due and owing.

          871.    A justifiable controversy exists between Allstate and Diagnostic Medicine, P.C.

   because Diagnostic Medicine, P.C. rejects Allstate’s ability to deny such claims.

          872.    Allstate has no adequate remedy at law.

          873.    Diagnostic Medicine, P.C. will also continue to bill Allstate absent a declaration by

   this Court that their activities are unlawful, and that Allstate has no obligation to pay the pending,

   previously denied, and/or future claims submitted by Diagnostic Medicine, P.C.

          874.    Accordingly, Allstate requests a judgment pursuant to the Declaratory Judgment

   Act, 28 U.S.C. §§ 2201 and 2202, declaring (a) that Diagnostic Medicine, P.C. has no standing to

   seek, collect, or retain any payments made by Allstate, and (b) that Allstate has no legal obligation

   to make any payment on any unpaid or otherwise pending bills that been submitted to Allstate by,

   or on behalf of, Diagnostic Medicine, P.C.




                                                    140
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 141 of 167 PageID #: 141




                                      COUNT XXXVII
                        DECLARATORY RELIEF UNDER 28 U.S.C. §2201
                             (Against Dai Mai Acupuncture, P.C.)

          875.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          876.    To be eligible to receive assigned No-Fault benefits, an assignee provider must

   adhere to all applicable New York statutes that grant the authority to provide healthcare services

   in New York.

          877.    Dai Mai Acupuncture, P.C. engaged in the following unlawful activity: (a)

   providing treatment and services in violation of applicable regulatory and licensing requirements;

   (b) providing treatment and services that were medically unnecessary and were completely

   unjustified as a means of treating the Allstate Claimants’ purported injuries; (c) billing for

   treatment and services that were not rendered as represented; and (d) submitting charges for

   treatment and services with the knowledge that such treatment and services were not lawfully

   reimbursable under New York law. Dai Mai Acupuncture, P.C. was, at all times relevant,

   completely ineligible for reimbursement under New York law, and thus has no standing to submit

   or receive insurance benefits from Allstate.

          878.    Dai Mai Acupuncture, P.C. continues to submit, or continues to cause to submit,

   claims to Allstate demanding payment.

          879.    Dai Mai Acupuncture, P.C. continues to challenge Allstate’s prior claim denials.

          880.    Dai Mai Acupuncture, P.C. continues to commence litigation against Allstate

   seeking payment of No-Fault benefits allegedly due and owing.

          881.    A justifiable controversy exists between Allstate and Dai Mai Acupuncture, P.C.

   because Dai Mai Acupuncture, P.C. rejects Allstate’s ability to deny such claims.




                                                       141
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 142 of 167 PageID #: 142




          882.    Allstate has no adequate remedy at law.

          883.    Dai Mai Acupuncture, P.C. will also continue to bill Allstate absent a declaration

   by this Court that their activities are unlawful, and that Allstate has no obligation to pay the

   pending, previously denied, and/or future claims submitted by Dai Mai Acupuncture, P.C.

          884.    Accordingly, Allstate requests a judgment pursuant to the Declaratory Judgment

   Act, 28 U.S.C. §§ 2201 and 2202, declaring (a) that Dai Mai Acupuncture, P.C. has no standing to

   seek, collect, or retain any payments made by Allstate, and (b) that Allstate has no legal obligation

   to make any payment on any unpaid or otherwise pending bills that been submitted to Allstate by,

   or on behalf of, Dai Mai Acupuncture, P.C.

                                       COUNT XXXVIII
                        DECLARATORY RELIEF UNDER 28 U.S.C. §2201
                          (Against Mingmen Acupuncture Services, P.C.)

          885.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          886.    To be eligible to receive assigned No-Fault benefits, an assignee provider must

   adhere to all applicable New York statutes that grant the authority to provide healthcare services

   in New York.

          887.    Mingmen Acupuncture Services, P.C. engaged in the following unlawful activity:

   (a) providing treatment and services in violation of applicable regulatory and licensing

   requirements; (b) providing treatment and services that were medically unnecessary and were

   completely unjustified as a means of treating the Allstate Claimants’ purported injuries; (c) billing

   for treatment and services that were not rendered as represented; and (d) submitting charges for

   treatment and services with the knowledge that such treatment and services were not lawfully

   reimbursable under New York law. Mingmen Acupuncture Services, P.C. was, at all times




                                                       142
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 143 of 167 PageID #: 143




   relevant, completely ineligible for reimbursement under New York law, and thus has no standing

   to submit or receive insurance benefits from Allstate.

             888.   Mingmen Acupuncture Services, P.C. continues to submit, or continues to cause to

   submit, claims to Allstate demanding payment.

             889.   Mingmen Acupuncture Services, P.C. continues to challenge Allstate’s prior claim

   denials.

             890.   Mingmen Acupuncture Services, P.C. continues to commence litigation against

   Allstate seeking payment of No-Fault benefits allegedly due and owing.

             891.   A justifiable controversy exists between Allstate and Mingmen Acupuncture

   Services, P.C. because Mingmen Acupuncture Services, P.C. rejects Allstate’s ability to deny such

   claims.

             892.   Allstate has no adequate remedy at law.

             893.   Mingmen Acupuncture Services, P.C. will also continue to bill Allstate absent a

   declaration by this Court that their activities are unlawful, and that Allstate has no obligation to

   pay the pending, previously denied, and/or future claims submitted by Mingmen Acupuncture

   Services, P.C.

             894.   Accordingly, Allstate requests a judgment pursuant to the Declaratory Judgment

   Act, 28 U.S.C. §§ 2201 and 2202, declaring (a) that Mingmen Acupuncture Services, P.C. has no

   standing to seek, collect, or retain any payments made by Allstate, and (b) that Allstate has no

   legal obligation to make any payment on any unpaid or otherwise pending bills that been submitted

   to Allstate by, or on behalf of, Mingmen Acupuncture Services, P.C.




                                                   143
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 144 of 167 PageID #: 144




                                     COUNT XXXIX
                        DECLARATORY RELIEF UNDER 28 U.S.C. §2201
                              (Against AM Chiropractic, P.C.)

          895.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          896.    To be eligible to receive assigned No-Fault benefits, an assignee provider must

   adhere to all applicable New York statutes that grant the authority to provide healthcare services

   in New York.

          897.    AM Chiropractic, P.C. engaged in the following unlawful activity: (a) providing

   treatment and services in violation of applicable regulatory and licensing requirements; (b)

   providing treatment and services that were medically unnecessary and were completely unjustified

   as a means of treating the Allstate Claimants’ purported injuries; (c) billing for treatment and

   services that were not rendered as represented; and (d) submitting charges for treatment and

   services with the knowledge that such treatment and services were not lawfully reimbursable under

   New York law. AM Chiropractic, P.C. was, at all times relevant, completely ineligible for

   reimbursement under New York law, and thus has no standing to submit or receive insurance

   benefits from Allstate.

          898.    AM Chiropractic, P.C. continues to submit, or continues to cause to submit, claims

   to Allstate demanding payment.

          899.    AM Chiropractic, P.C. continues to challenge Allstate’s prior claim denials.

          900.    AM Chiropractic, P.C. continues to commence litigation against Allstate seeking

   payment of No-Fault benefits allegedly due and owing.

          901.    A justifiable controversy exists between Allstate and AM Chiropractic, P.C.

   because AM Chiropractic, P.C. rejects Allstate’s ability to deny such claims.




                                                       144
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 145 of 167 PageID #: 145




          902.    Allstate has no adequate remedy at law.

          903.    AM Chiropractic, P.C. will also continue to bill Allstate absent a declaration by this

   Court that their activities are unlawful, and that Allstate has no obligation to pay the pending,

   previously denied, and/or future claims submitted by AM Chiropractic, P.C.

          904.    Accordingly, Allstate requests a judgment pursuant to the Declaratory Judgment

   Act, 28 U.S.C. §§ 2201 and 2202, declaring (a) that AM Chiropractic, P.C. has no standing to seek,

   collect, or retain any payments made by Allstate, and (b) that Allstate has no legal obligation to

   make any payment on any unpaid or otherwise pending bills that been submitted to Allstate by, or

   on behalf of, AM Chiropractic, P.C.

                                        COUNT XL
                        DECLARATORY RELIEF UNDER 28 U.S.C. §2201
                           (Against Amber Street Chiropractic, P.C.)

          905.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          906.    To be eligible to receive assigned No-Fault benefits, an assignee provider must

   adhere to all applicable New York statutes that grant the authority to provide healthcare services

   in New York.

          907.    Amber Street Chiropractic, P.C. engaged in the following unlawful activity: (a)

   providing treatment and services in violation of applicable regulatory and licensing requirements;

   (b) providing treatment and services that were medically unnecessary and were completely

   unjustified as a means of treating the Allstate Claimants’ purported injuries; (c) billing for

   treatment and services that were not rendered as represented; and (d) submitting charges for

   treatment and services with the knowledge that such treatment and services were not lawfully

   reimbursable under New York law. Amber Street Chiropractic, P.C. was, at all times relevant,




                                                       145
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 146 of 167 PageID #: 146




   completely ineligible for reimbursement under New York law, and thus has no standing to submit

   or receive insurance benefits from Allstate.

          908.    Amber Street Chiropractic, P.C. continues to submit, or continues to cause to

   submit, claims to Allstate demanding payment.

          909.    Amber Street Chiropractic, P.C. continues to challenge Allstate’s prior claim

   denials.

          910.    Amber Street Chiropractic, P.C. continues to commence litigation against Allstate

   seeking payment of No-Fault benefits allegedly due and owing.

          911.    A justifiable controversy exists between Allstate and Amber Street Chiropractic,

   P.C. because Amber Street Chiropractic, P.C. rejects Allstate’s ability to deny such claims.

          912.    Allstate has no adequate remedy at law.

          913.    Amber Street Chiropractic, P.C. will also continue to bill Allstate absent a

   declaration by this Court that their activities are unlawful, and that Allstate has no obligation to

   pay the pending, previously denied, and/or future claims submitted by Amber Street Chiropractic,

   P.C.

          914.    Accordingly, Allstate requests a judgment pursuant to the Declaratory Judgment

   Act, 28 U.S.C. §§ 2201 and 2202, declaring (a) that Amber Street Chiropractic, P.C. has no

   standing to seek, collect, or retain any payments made by Allstate, and (b) that Allstate has no

   legal obligation to make any payment on any unpaid or otherwise pending bills that been submitted

   to Allstate by, or on behalf of, Amber Street Chiropractic, P.C.




                                                   146
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 147 of 167 PageID #: 147




                                          COUNT XLI
                        DECLARATORY RELIEF UNDER 28 U.S.C. §2201
                           (Against Fine Motor Physical Therapy, P.C.)

          915.    Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          916.    To be eligible to receive assigned No-Fault benefits, an assignee provider must

   adhere to all applicable New York statutes that grant the authority to provide healthcare services

   in New York.

          917.    Fine Motor Physical Therapy, P.C. engaged in the following unlawful activity: (a)

   providing treatment and services in violation of applicable regulatory and licensing requirements;

   (b) providing treatment and services that were medically unnecessary and were completely

   unjustified as a means of treating the Allstate Claimants’ purported injuries; (c) billing for

   treatment and services that were not rendered as represented; and (d) submitting charges for

   treatment and services with the knowledge that such treatment and services were not lawfully

   reimbursable under New York law. Fine Motor Physical Therapy, P.C. was, at all times relevant,

   completely ineligible for reimbursement under New York law, and thus has no standing to submit

   or receive insurance benefits from Allstate.

          918.    Fine Motor Physical Therapy, P.C. continues to submit, or continues to cause to

   submit, claims to Allstate demanding payment.

          919.    Fine Motor Physical Therapy, P.C. continues to challenge Allstate’s prior claim

   denials.

          920.    Fine Motor Physical Therapy, P.C. continues to commence litigation against

   Allstate seeking payment of No-Fault benefits allegedly due and owing.




                                                       147
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 148 of 167 PageID #: 148




          921.     A justifiable controversy exists between Allstate and Fine Motor Physical Therapy,

   P.C. because Fine Motor Physical Therapy, P.C. rejects Allstate’s ability to deny such claims.

          922.     Allstate has no adequate remedy at law.

          923.     Fine Motor Physical Therapy, P.C. will also continue to bill Allstate absent a

   declaration by this Court that their activities are unlawful, and that Allstate has no obligation to

   pay the pending, previously denied, and/or future claims submitted by Fine Motor Physical

   Therapy, P.C.

          924.     Accordingly, Allstate requests a judgment pursuant to the Declaratory Judgment

   Act, 28 U.S.C. §§ 2201 and 2202, declaring (a) that Fine Motor Physical Therapy, P.C. has no

   standing to seek, collect, or retain any payments made by Allstate, and (b) that Allstate has no

   legal obligation to make any payment on any unpaid or otherwise pending bills that been submitted

   to Allstate by, or on behalf of, Fine Motor Physical Therapy, P.C.

                                         COUNT XLII
                        DECLARATORY RELIEF UNDER 28 U.S.C. §2201
                            (Against City Wide Health Facility, Inc.)

          925.     Allstate re-alleges, re-pleads and incorporates by reference the allegations set forth

   in paragraphs 1-491 as if set forth fully herein.

          926.     To be eligible to receive assigned No-Fault benefits, an assignee provider must

   adhere to all applicable New York statutes that grant the authority to provide healthcare services

   in New York.

          927.     City Wide Health Facility, Inc. engaged in the following unlawful activity: (a)

   providing treatment and services in violation of applicable regulatory and licensing requirements;

   (b) providing treatment and services that were medically unnecessary and were completely

   unjustified as a means of treating the Allstate Claimants’ purported injuries; (c) billing for




                                                       148
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 149 of 167 PageID #: 149




   treatment and services that were not rendered as represented; and (d) submitting charges for

   treatment and services with the knowledge that such treatment and services were not lawfully

   reimbursable under New York law. City Wide Health Facility, Inc. was, at all times relevant,

   completely ineligible for reimbursement under New York law, and thus has no standing to submit

   or receive insurance benefits from Allstate.

          928.    City Wide Health Facility, Inc. continues to submit, or continues to cause to submit,

   claims to Allstate demanding payment.

          929.    City Wide Health Facility, Inc. continues to challenge Allstate’s prior claim denials.

          930.    City Wide Health Facility, Inc. continues to commence litigation against Allstate

   seeking payment of No-Fault benefits allegedly due and owing.

          931.    A justifiable controversy exists between Allstate and City Wide Health Facility,

   Inc. because City Wide Health Facility, Inc. rejects Allstate’s ability to deny such claims.

          932.    Allstate has no adequate remedy at law.

          933.    City Wide Health Facility, Inc. will also continue to bill Allstate absent a

   declaration by this Court that their activities are unlawful, and that Allstate has no obligation to

   pay the pending, previously denied, and/or future claims submitted by City Wide Health Facility,

   Inc.

          934.    Accordingly, Allstate requests a judgment pursuant to the Declaratory Judgment

   Act, 28 U.S.C. §§ 2201 and 2202, declaring (a) that City Wide Health Facility, Inc. has no standing

   to seek, collect, or retain any payments made by Allstate, and (b) that Allstate has no legal

   obligation to make any payment on any unpaid or otherwise pending bills that been submitted to

   Allstate by, or on behalf of, City Wide Health Facility, Inc.




                                                   149
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 150 of 167 PageID #: 150




   X.     DEMAND FOR RELIEF
          WHEREFORE, plaintiffs Allstate Insurance Company, Allstate Indemnity Company,

   Allstate Property & Casualty Insurance Company, and Allstate Fire & Casualty Insurance

   Company, and (collectively, “Allstate” or “plaintiffs”), respectfully pray that judgment enter in

   their favor, as follows:

                                          COUNT I
                            VIOLATIONS OF 18 U.S.C. § 1962(c)
                           RELIEF MEDICAL, P.C. ENTERPRISE
          (Against Yury Koyen, M.D., Aleksandr Levin, M.D., Igor Mayzenberg, L.Ac.,
          Alexander Mazurovsky, D.C., Joseph Sedrak, P.T., Diagnostic Medicine, P.C.,
               Dai Mai Acupuncture, P.C., Mingmen Acupuncture Services, P.C.,
                    AM Chiropractic, P.C., Amber Street Chiropractic, P.C.,
               Fine Motor Physical Therapy, P.C., City Wide Health Facility, Inc.,
          Alexander Zharov, Edward Atbashyan, Simon Korenblit, and Alex Korenblit)

   (a)    AWARD Allstate’s actual and consequential damages to be established at trial;

   (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964, interests, costs and

          attorneys’ fees;

   (c)    GRANT injunctive relief enjoining the defendants from engaging in the wrongful conduct

          alleged in the Complaint; and

   (d)    GRANT all other relief this Court deems just.

                                          COUNT II
                               VIOLATION 18 U.S.C. § 1962(d)
                           RELIEF MEDICAL, P.C. ENTERPRISE
          (Against Yury Koyen, M.D., Aleksandr Levin, M.D., Igor Mayzenberg, L.Ac.,
          Alexander Mazurovksy, D.C., Joseph Sedrak, P.T., Diagnostic Medicine, P.C.,
               Dai Mai Acupuncture, P.C., Mingmen Acupuncture Services, P.C.,
                    AM Chiropractic, P.C., Amber Street Chiropractic, P.C.,
               Fine Motor Physical Therapy, P.C., City Wide Health Facility, Inc.,
          Alexander Zharov, Edward Atbashyan, Simon Korenblit, and Alex Korenblit)

   (a)    AWARD Allstate’s actual and consequential damages to be established at trial;

   (b)    AWARD Allstate treble damages, interests, costs and reasonable attorneys’ fees;




                                                 150
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 151 of 167 PageID #: 151




   (c)   GRANT injunctive relief enjoining the defendants from engaging in the wrongful conduct

         alleged in the Complaint; and

   (d)   GRANT all other relief this Court deems just.

                                         COUNT III
                            VIOLATIONS OF 18 U.S.C. § 1962(c)
                       DIAGNOSTIC MEDICINE, P.C. ENTERPRISE
         (Against Aleksandr Levin, M.D., Yury Koyen, M.D., and Relief Medical, P.C.)

   (a)   AWARD Allstate’s actual and consequential damages to be established at trial;

   (b)   AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964, interests, costs and

         attorneys’ fees;

   (c)   GRANT injunctive relief enjoining the defendants from engaging in the wrongful conduct

         alleged in the Complaint; and

   (d)   GRANT all other relief this Court deems just.

                                         COUNT IV
                              VIOLATION 18 U.S.C. § 1962(d)
                       DIAGNOSTIC MEDICINE, P.C. ENTERPRISE
         (Against Aleksandr Levin, M.D., Yury Koyen, M.D., and Relief Medical, P.C.)

   (a)   AWARD Allstate’s actual and consequential damages to be established at trial;

   (b)   AWARD Allstate treble damages, interests, costs and reasonable attorneys’ fees;

   (c)   GRANT injunctive relief enjoining the defendants from engaging in the wrongful conduct

         alleged in the Complaint; and

   (d)   GRANT all other relief this Court deems just.

                                          COUNT V
                            VIOLATIONS OF 18 U.S.C. § 1962(c)
                       DAI MAI ACUPUNCTURE, P.C. ENTERPRISE
         (Against Igor Mayzenberg, L.Ac., Yury Koyen, M.D., and Relief Medical, P.C.)

   (a)   AWARD Allstate’s actual and consequential damages to be established at trial;




                                               151
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 152 of 167 PageID #: 152




   (b)   AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964, interests, costs and

         attorneys’ fees;

   (c)   GRANT injunctive relief enjoining the defendants from engaging in the wrongful conduct

         alleged in the Complaint; and

   (d)   GRANT all other relief this Court deems just.

                                         COUNT VI
                              VIOLATION 18 U.S.C. § 1962(d)
                       DAI MAI ACUPUNCTURE, P.C. ENTERPRISE
         (Against Igor Mayzenberg, L.Ac., Yury Koyen, M.D., and Relief Medical, P.C.)

   (a)   AWARD Allstate’s actual and consequential damages to be established at trial;

   (b)   AWARD Allstate treble damages, interests, costs and reasonable attorneys’ fees;

   (c)   GRANT injunctive relief enjoining the defendants from engaging in the wrongful conduct

         alleged in the Complaint; and

   (d)   GRANT all other relief this Court deems just.

                                        COUNT VII
                            VIOLATIONS OF 18 U.S.C. § 1962(c)
                MINGMEN ACUPUNCTURE SERVICES, P.C. ENTERPRISE
         (Against Igor Mayzenberg, L.Ac., Yury Koyen, M.D., and Relief Medical, P.C.)

   (a)   AWARD Allstate’s actual and consequential damages to be established at trial;

   (b)   AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964, interests, costs and

         attorneys’ fees;

   (c)   GRANT injunctive relief enjoining the defendants from engaging in the wrongful conduct

         alleged in the Complaint; and

   (d)   GRANT all other relief this Court deems just.




                                               152
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 153 of 167 PageID #: 153




                                          COUNT VIII
                                VIOLATION 18 U.S.C. § 1962(d)
                  MINGMEN ACUPUNCTURE SERVICES, P.C. ENTERPRISE
           (Against Igor Mayzenberg, L.Ac., Yury Koyen, M.D., and Relief Medical, P.C.)

   (a)      AWARD Allstate’s actual and consequential damages to be established at trial;

   (b)      AWARD Allstate treble damages, interests, costs and reasonable attorneys’ fees;

   (c)      GRANT injunctive relief enjoining the defendants from engaging in the wrongful conduct

            alleged in the Complaint; and

   (d)      GRANT all other relief this Court deems just.

                                          COUNT IX
                              VIOLATIONS OF 18 U.S.C. § 1962(c)
                            AM CHIROPRACTIC, P.C. ENTERPRISE
         (Against Alexander Mazurovsky, D.C., Yury Koyen, M.D., and Relief Medical, P.C.)

   (a)      AWARD Allstate’s actual and consequential damages to be established at trial;

   (b)      AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964, interests, costs and

            attorneys’ fees;

   (c)      GRANT injunctive relief enjoining the defendants from engaging in the wrongful conduct

            alleged in the Complaint; and

   (d)      GRANT all other relief this Court deems just.

                                           COUNT X
                                VIOLATION 18 U.S.C. § 1962(d)
                            AM CHIROPRACTIC, P.C. ENTERPRISE
         (Against Alexander Mazurovsky, D.C., Yury Koyen, M.D., and Relief Medical, P.C.)

   (a)      AWARD Allstate’s actual and consequential damages to be established at trial;

   (b)      AWARD Allstate treble damages, interests, costs and reasonable attorneys’ fees;

   (c)      GRANT injunctive relief enjoining the defendants from engaging in the wrongful conduct

            alleged in the Complaint; and

   (d)      GRANT all other relief this Court deems just.



                                                  153
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 154 of 167 PageID #: 154




                                          COUNT XI
                              VIOLATIONS OF 18 U.S.C. § 1962(c)
                     AMBER STREET CHIROPRACTIC, P.C. ENTERPRISE
         (Against Alexander Mazurovsky, D.C., Yury Koyen, M.D., and Relief Medical, P.C.)

   (a)      AWARD Allstate’s actual and consequential damages to be established at trial;

   (b)      AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964, interests, costs and

            attorneys’ fees;

   (c)      GRANT injunctive relief enjoining the defendants from engaging in the wrongful conduct

            alleged in the Complaint; and

   (d)      GRANT all other relief this Court deems just.

                                          COUNT XII
                                VIOLATION 18 U.S.C. § 1962(d)
                     AMBER STREET CHIROPRACTIC, P.C. ENTERPRISE
         (Against Alexander Mazurovsky, D.C., Yury Koyen, M.D., and Relief Medical, P.C.)

   (a)      AWARD Allstate’s actual and consequential damages to be established at trial;

   (b)      AWARD Allstate treble damages, interests, costs and reasonable attorneys’ fees;

   (c)      GRANT injunctive relief enjoining the defendants from engaging in the wrongful conduct

            alleged in the Complaint; and

   (d)      GRANT all other relief this Court deems just.

                                           COUNT XIII
                              VIOLATIONS OF 18 U.S.C. § 1962(c)
                   FINE MOTOR PHYSICAL THERAPY, P.C. ENTERPRISE
             (Against Joseph Sedrak, P.T., Yury Koyen, M.D., and Relief Medical, P.C.)

   (a)      AWARD Allstate’s actual and consequential damages to be established at trial;

   (b)      AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964, interests, costs and

            attorneys’ fees;

   (c)      GRANT injunctive relief enjoining the defendants from engaging in the wrongful conduct

            alleged in the Complaint; and



                                                  154
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 155 of 167 PageID #: 155




   (d)     GRANT all other relief this Court deems just.

                                          COUNT XIV
                                VIOLATION 18 U.S.C. § 1962(d)
                  FINE MOTOR PHYSICAL THERAPY, P.C. ENTERPRISE
            (Against Joseph Sedrak, P.T., Yury Koyen, M.D., and Relief Medical, P.C.)

   (a)     AWARD Allstate’s actual and consequential damages to be established at trial;

   (b)     AWARD Allstate treble damages, interests, costs and reasonable attorneys’ fees;

   (c)     GRANT injunctive relief enjoining the defendants from engaging in the wrongful conduct

           alleged in the Complaint; and

   (d)     GRANT all other relief this Court deems just.

                                         COUNT XV
                             VIOLATIONS OF 18 U.S.C. § 1962(c)
                     CITY WIDE HEALTH FACILITY, INC. ENTERPRISE
         (Against Alexander Zharov, Edward Atbashyan, Simon Korenblit, Alex Korenblit,
                          Yury Koyen, M.D., and Relief Medical, P.C.)

   (a)     AWARD Allstate’s actual and consequential damages to be established at trial;

   (b)     AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964, interests, costs and

           attorneys’ fees;

   (c)     GRANT injunctive relief enjoining the defendants from engaging in the wrongful conduct

           alleged in the Complaint; and

   (d)     GRANT all other relief this Court deems just.

                                        COUNT XVI
                                VIOLATION 18 U.S.C. § 1962(d)
                     CITY WIDE HEALTH FACILITY, INC. ENTERPRISE
         (Against Alexander Zharov, Edward Atbashyan, Simon Korenblit, Alex Korenblit,
                           Yury Koyen, M.D., and Relief Medical, P.C.)

   (a)     AWARD Allstate’s actual and consequential damages to be established at trial;

   (b)     AWARD Allstate treble damages, interests, costs and reasonable attorneys’ fees;




                                                 155
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 156 of 167 PageID #: 156




   (c)     GRANT injunctive relief enjoining the defendants from engaging in the wrongful conduct

           alleged in the Complaint; and

   (d)     GRANT all other relief this Court deems just.

                                          COUNT XVII
                             VIOLATIONS OF 18 U.S.C. § 1962(c)
                            EZ PROCESSING, LLC ENTERPRISE
         (Against Yury Koyen, M.D., Aleksandr Levin, M.D., Alexander Mazurovsky, D.C.,
               Joseph Sedrak, P.T., Relief Medical, P.C., Diagnostic Medicine, P.C.,
                     AM Chiropractic, P.C., Amber Street Chiropractic, P.C.,
                            and Fine Motor Physical Therapy, P.C.)


   (a)     AWARD Allstate’s actual and consequential damages to be established at trial;

   (b)     AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964, interests, costs and

           attorneys’ fees;

   (c)     GRANT injunctive relief enjoining the defendants from engaging in the wrongful conduct

           alleged in the Complaint; and

   (d)     GRANT all other relief this Court deems just.

                                          COUNT XVIII
                                VIOLATION 18 U.S.C. § 1962(d)
                            EZ PROCESSING, LLC ENTERPRISE
         (Against Yury Koyen, M.D., Aleksandr Levin, M.D., Alexander Mazurovsky, D.C.,
               Joseph Sedrak, P.T., Relief Medical, P.C., Diagnostic Medicine, P.C.,
                     AM Chiropractic, P.C., Amber Street Chiropractic, P.C.,
                            and Fine Motor Physical Therapy, P.C.)

   (a)     AWARD Allstate’s actual and consequential damages to be established at trial;

   (b)     AWARD Allstate treble damages, interests, costs and reasonable attorneys’ fees;

   (c)     GRANT injunctive relief enjoining the defendants from engaging in the wrongful conduct

           alleged in the Complaint; and

   (d)     GRANT all other relief this Court deems just.




                                                 156
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 157 of 167 PageID #: 157




                                           COUNT XIX
                                    COMMON LAW FRAUD
             (Against Relief Medical, P.C. Yury Koyen, M.D., Aleksandr Levin, M.D.,
           Igor Mayzenberg, L.Ac., Alexander Mazurovsky, D.C., Joseph Sedrak, P.T.,
                      Diagnostic Medicine, P.C., Dai Mai Acupuncture, P.C.,
                   Mingmen Acupuncture Services, P.C., AM Chiropractic, P.C.,
               Amber Street Chiropractic, P.C., Fine Motor Physical Therapy, P.C.,
              City Wide Health Facility, Inc., Alexander Zharov, Edward Atbashyan,
                              Simon Korenblit, and Alex Korenblit)

   (a)     AWARD Allstate its actual damages in an amount to be determined at trial;

   (b)     AWARD Allstate its costs, including but not limited to, investigative costs incurred in the

           detection of defendants’ illegal conduct;

   (c)     AWARD Allstate its costs in defending No-Fault suits filed by defendants seeking payment

           of false and fraudulent invoices; and

   (d)     GRANT any other relief this Court deems just.

                                          COUNT XX
                                   COMMON LAW FRAUD
          (Against Diagnostic Medicine, P.C., Aleksandr Levin, M.D., Yury Koyen, M.D.,
                                    and Relief Medical, P.C.)

   (a)     AWARD Allstate its actual damages in an amount to be determined at trial;

   (b)     AWARD Allstate its costs, including but not limited to, investigative costs incurred in the

           detection of defendants’ illegal conduct;

   (c)     AWARD Allstate its costs in defending No-Fault suits filed by defendants seeking payment

           of false and fraudulent invoices; and

   (d)     GRANT any other relief this Court deems just.

                                         COUNT XXI
                                  COMMON LAW FRAUD
         (Against Dai Mai Acupuncture, P.C., Igor Mayzenberg, L.Ac., Yury Koyen, M.D.,
                                   and Relief Medical, P.C.)

   (a)     AWARD Allstate its actual damages in an amount to be determined at trial;




                                                   157
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 158 of 167 PageID #: 158




   (b)   AWARD Allstate its costs, including but not limited to, investigative costs incurred in the

         detection of defendants’ illegal conduct;

   (c)   AWARD Allstate its costs in defending No-Fault suits filed by defendants seeking payment

         of false and fraudulent invoices; and

   (d)   GRANT any other relief this Court deems just.

                                    COUNT XXII
                               COMMON LAW FRAUD
           (Against Mingmen Acupuncture Services, P.C., Igor Mayzenberg, L.Ac.,
                       Yury Koyen, M.D., and Relief Medical, P.C.)

   (a)   AWARD Allstate its actual damages in an amount to be determined at trial;

   (b)   AWARD Allstate its costs, including but not limited to, investigative costs incurred in the

         detection of defendants’ illegal conduct;

   (c)   AWARD Allstate its costs in defending No-Fault suits filed by defendants seeking payment

         of false and fraudulent invoices; and

   (d)   GRANT any other relief this Court deems just.

                                      COUNT XXIII
                                COMMON LAW FRAUD
                (Against AM Chiropractic, P.C., Alexander Mazurovsky, D.C.,
                         Yury Koyen, M.D., and Relief Medical, P.C.)

   (a)   AWARD Allstate its actual damages in an amount to be determined at trial;

   (b)   AWARD Allstate its costs, including but not limited to, investigative costs incurred in the

         detection of defendants’ illegal conduct;

   (c)   AWARD Allstate its costs in defending No-Fault suits filed by defendants seeking payment

         of false and fraudulent invoices; and

   (d)   GRANT any other relief this Court deems just.




                                                 158
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 159 of 167 PageID #: 159




                                       COUNT XXIV
                                  COMMON LAW FRAUD
            (Against Amber Street Chiropractic, P.C., Alexander Mazurovsky, D.C.,
                        Yury Koyen, M.D., and Relief Medical, P.C.)

   (a)   AWARD Allstate its actual damages in an amount to be determined at trial;

   (b)   AWARD Allstate its costs, including but not limited to, investigative costs incurred in the

         detection of defendants’ illegal conduct;

   (c)   AWARD Allstate its costs in defending No-Fault suits filed by defendants seeking payment

         of false and fraudulent invoices; and

   (d)   GRANT any other relief this Court deems just.

                                       COUNT XXV
                                 COMMON LAW FRAUD
               (Against Fine Motor Physical Therapy, P.C., Joseph Sedrak, P.T.,
                         Yury Koyen, M.D., and Relief Medical, P.C.)

   (a)   AWARD Allstate its actual damages in an amount to be determined at trial;

   (b)   AWARD Allstate its costs, including but not limited to, investigative costs incurred in the

         detection of defendants’ illegal conduct;

   (c)   AWARD Allstate its costs in defending No-Fault suits filed by defendants seeking payment

         of false and fraudulent invoices; and

   (d)   GRANT any other relief this Court deems just.

                                         COUNT XXVI
                                  COMMON LAW FRAUD
     (Against City Wide Health Facility, Inc., Alexander Zharov, Edward Atbashyan, Simon
            Korenblit, Alex Korenblit, Yury Koyen, M.D., and Relief Medical, P.C.)

   (a)   AWARD Allstate its actual damages in an amount to be determined at trial;

   (b)   AWARD Allstate its costs, including but not limited to, investigative costs incurred in the

         detection of defendants’ illegal conduct;




                                                 159
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 160 of 167 PageID #: 160




   (c)     AWARD Allstate its costs in defending No-Fault suits filed by defendants seeking payment

           of false and fraudulent invoices; and

   (d)     GRANT any other relief this Court deems just.

                                          COUNT XXVII
                                    UNJUST ENRICHMENT
             (Against Relief Medical, P.C. Yury Koyen, M.D., Aleksandr Levin, M.D.,
           Igor Mayzenberg, L.Ac., Alexander Mazurovsky, D.C., Joseph Sedrak, P.T.,
                      Diagnostic Medicine, P.C., Dai Mai Acupuncture, P.C.,
                   Mingmen Acupuncture Services, P.C., AM Chiropractic, P.C.,
               Amber Street Chiropractic, P.C., Fine Motor Physical Therapy, P.C.,
              City Wide Health Facility, Inc., Alexander Zharov, Edward Atbashyan,
                              Simon Korenblit, and Alex Korenblit)

   (a)     AWARD Allstate’s actual and consequential damages to be determined at trial;

   (b)     GRANT any other relief this Court deems just.

                                        COUNT XXVIII
                                   UNJUST ENRICHMENT
          (Against Diagnostic Medicine, P.C., Aleksandr Levin, M.D., Yury Koyen, M.D.,
                                    and Relief Medical, P.C.)

   (a)     AWARD Allstate’s actual and consequential damages to be determined at trial;

   (b)     GRANT any other relief this Court deems just.

                                        COUNT XXIX
                                  UNJUST ENRICHMENT
         (Against Dai Mai Acupuncture, P.C., Igor Mayzenberg, L.Ac., Yury Koyen, M.D.,
                                   and Relief Medical, P.C.)

   (a)     AWARD Allstate’s actual and consequential damages to be determined at trial;

   (b)     GRANT any other relief this Court deems just.

                                      COUNT XXX
                                 UNJUST ENRICHMENT
             (Against Mingmen Acupuncture Services, P.C., Igor Mayzenberg, L.Ac.,
                         Yury Koyen, M.D., and Relief Medical, P.C.)

   (a)     AWARD Allstate’s actual and consequential damages to be determined at trial;

   (b)     GRANT any other relief this Court deems just.



                                                   160
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 161 of 167 PageID #: 161




                                          COUNT XXXI
                                    UNJUST ENRICHMENT
          (Against AM Chiropractic, P.C., Alexander Mazurovsky, D.C., Yury Koyen, M.D.,
                                     and Relief Medical, P.C.)

   (a)       AWARD Allstate’s actual and consequential damages to be determined at trial;

   (b)       GRANT any other relief this Court deems just.

                                          COUNT XXXII
                                     UNJUST ENRICHMENT
         (Against Amber Street Chiropractic, P.C., Alexander Mazurovsky, D.C., Yury Koyen,
                                  M.D., and Relief Medical, P.C.)

   (a)       AWARD Allstate’s actual and consequential damages to be determined at trial;

   (b)       GRANT any other relief this Court deems just.

                                          COUNT XXXIII
                                      UNJUST ENRICHMENT
         (Against Fine Motor Physical Therapy, P.C., Joseph Sedrak, P.T., Yury Koyen, M.D.,
                                      and Relief Medical, P.C.)

   (a)       AWARD Allstate’s actual and consequential damages to be determined at trial;

   (b)       GRANT any other relief this Court deems just.

                                        COUNT XXXIV
                                  UNJUST ENRICHMENT
     (Against City Wide Health Facility, Inc., Alexander Zharov, Edward Atbashyan, Simon
            Korenblit, Alex Korenblit, Yury Koyen, M.D., and Relief Medical, P.C.)

   (a)       AWARD Allstate’s actual and consequential damages to be determined at trial;

   (b)       GRANT any other relief this Court deems just.

                                       COUNT XXXV
                          DECLARATORY RELIEF UNDER 28 U.S.C. §2201
                                 (Against Relief Medical, P.C.)

   (a)       DECLARE that Relief Medical, P.C., at all relevant times, was caused to be

             operated in violation of one (1) or more state licensing requirements applicable to

             the provision and supervision of healthcare treatment services, thus rending Relief




                                                    161
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 162 of 167 PageID #: 162




         Medical, P.C. ineligible to seek or receive reimbursement for such services under

         New York law;

   (b)   DECLARE that such treatment and services performed by Relief Medical, P.C. are

         unlawful;

   (c)   DECLARE that Allstate has no obligation to pay any pending, previously denied,

         and/or future claims submitted by Relief Medical, P.C. for such treatment and

         services; and

   (d)   GRANT all other relief this Court deems just and proper.

                                       COUNT XXXVI
                         DECLARATORY RELIEF UNDER 28 U.S.C. §2201
                              (Against Diagnostic Medicine, P.C.)

   (a)   DECLARE that Diagnostic Medicine, P.C., at all relevant times, was caused to be

         operated in violation of one (1) or more state licensing requirements applicable to

         the provision and supervision of healthcare treatment services, thus rending

         Diagnostic Medicine, P.C. ineligible to seek or receive reimbursement for such

         services under New York law;

   (b)   DECLARE that such treatment and services performed by Diagnostic Medicine,

         P.C. are unlawful;

   (c)   DECLARE that Allstate has no obligation to pay any pending, previously denied,

         and/or future claims submitted by Diagnostic Medicine, P.C. for such treatment and

         services; and

   (d)   GRANT all other relief this Court deems just and proper.




                                                162
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 163 of 167 PageID #: 163




                                    COUNT XXXVII
                      DECLARATORY RELIEF UNDER 28 U.S.C. §2201
                           (Against Dai Mai Acupuncture, P.C.)

   (a)   DECLARE that Dai Mai Acupuncture, P.C., at all relevant times, was caused to be

         operated in violation of one (1) or more state licensing requirements applicable to

         the provision and supervision of healthcare treatment services, thus rending Dai

         Mai Acupuncture, P.C. ineligible to seek or receive reimbursement for such

         services under New York law;

   (b)   DECLARE that such treatment and services performed by Dai Mai Acupuncture,

         P.C. are unlawful;

   (c)   DECLARE that Allstate has no obligation to pay any pending, previously denied,

         and/or future claims submitted by Dai Mai Acupuncture, P.C. for such treatment

         and services; and

   (d)   GRANT all other relief this Court deems just and proper.

                                     COUNT XXXVIII
                      DECLARATORY RELIEF UNDER 28 U.S.C. §2201
                        (Against Mingmen Acupuncture Services, P.C.)

   (a)   DECLARE that Mingmen Acupuncture Services, P.C., at all relevant times, was

         caused to be operated in violation of one (1) or more state licensing requirements

         applicable to the provision and supervision of healthcare treatment services, thus

         rending Mingmen Acupuncture Services, P.C. ineligible to seek or receive

         reimbursement for such services under New York law;

   (b)   DECLARE that such treatment and services performed by Mingmen Acupuncture

         Services, P.C. are unlawful;




                                                163
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 164 of 167 PageID #: 164




   (c)   DECLARE that Allstate has no obligation to pay any pending, previously denied,

         and/or future claims submitted by Mingmen Acupuncture Services, P.C. for such

         treatment and services; and

   (d)   GRANT all other relief this Court deems just and proper.

                                      COUNT XXXIX
                         DECLARATORY RELIEF UNDER 28 U.S.C. §2201
                               (Against AM Chiropractic, P.C.)

   (a)   DECLARE that AM Chiropractic, P.C., at all relevant times, was caused to be

         operated in violation of one (1) or more state licensing requirements applicable to

         the provision and supervision of healthcare treatment services, thus rending AM

         Chiropractic, P.C. ineligible to seek or receive reimbursement for such services

         under New York law;

   (b)   DECLARE that such treatment and services performed by AM Chiropractic, P.C.

         are unlawful;

   (c)   DECLARE that Allstate has no obligation to pay any pending, previously denied,

         and/or future claims submitted by AM Chiropractic, P.C. for such treatment and

         services; and

   (d)   GRANT all other relief this Court deems just and proper.

                                         COUNT XL
                         DECLARATORY RELIEF UNDER 28 U.S.C. §2201
                            (Against Amber Street Chiropractic, P.C.)

   (a)   DECLARE that Amber Street Chiropractic, P.C., at all relevant times, was caused

         to be operated in violation of one (1) or more state licensing requirements

         applicable to the provision and supervision of healthcare treatment services, thus




                                                164
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 165 of 167 PageID #: 165




         rending Amber Street Chiropractic, P.C. ineligible to seek or receive

         reimbursement for such services under New York law;

   (b)   DECLARE that such treatment and services performed by Amber Street

         Chiropractic, P.C. are unlawful;

   (c)   DECLARE that Allstate has no obligation to pay any pending, previously denied,

         and/or future claims submitted by Amber Street Chiropractic, P.C. for such

         treatment and services; and

   (d)   GRANT all other relief this Court deems just and proper.

                                       COUNT XLI
                      DECLARATORY RELIEF UNDER 28 U.S.C. §2201
                        (Against Fine Motor Physical Therapy, P.C.)

   (a)   DECLARE that Fine Motor Physical Therapy, P.C., at all relevant times, was

         caused to be operated in violation of one (1) or more state licensing requirements

         applicable to the provision and supervision of healthcare treatment services, thus

         rending Fine Motor Physical Therapy, P.C. ineligible to seek or receive

         reimbursement for such services under New York law;

   (b)   DECLARE that such treatment and services performed by Fine Motor Physical

         Therapy, P.C. are unlawful;

   (c)   DECLARE that Allstate has no obligation to pay any pending, previously denied,

         and/or future claims submitted by Fine Motor Physical Therapy, P.C. for such

         treatment and services; and

   (d)   GRANT all other relief this Court deems just and proper.




                                                165
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 166 of 167 PageID #: 166




                                       COUNT XLII
                      DECLARATORY RELIEF UNDER 28 U.S.C. §2201
                          (Against City Wide Health Facility, Inc.)

   (a)   DECLARE that City Wide Health Facility, Inc., at all relevant times, was caused

         to be operated in violation of one (1) or more state licensing requirements

         applicable to the provision and supervision of healthcare treatment services, thus

         rending City Wide Health Facility, Inc. ineligible to seek or receive reimbursement

         for such services under New York law;

   (b)   DECLARE that such treatment and services performed by City Wide Health

         Facility, Inc. are unlawful;

   (c)   DECLARE that Allstate has no obligation to pay any pending, previously denied,

         and/or future claims submitted by City Wide Health Facility, Inc. for such treatment

         and services; and

   (d)   GRANT all other relief this Court deems just and proper.

                                        JURY TRIAL DEMAND

         The plaintiffs demand a trial by jury on all claims.



   [SIGNATURE PAGE FOLLOWS]




                                                 166
Case 1:21-cv-06509-MKB-RML Document 1 Filed 11/22/21 Page 167 of 167 PageID #: 167




                                KING, TILDEN, MCETTRICK & BRINK, P.C.

                                /s/ Richard D. King, Jr.
                                _____________________
                                Richard D. King, Jr. (RK8381)
                                rking@ktmpc.com
                                Nathan A. Tilden (NT0571)
                                ntilden@ktmpc.com
                                Shauna L. Sullivan (SS5624)
                                ssullivan@ktmpc.com
                                Hugh C.M. Brady (HB4724)
                                hbrady@ktmpc.com
                                1325 Franklin Ave, Suite 320
                                Garden City, NY 11530
                                (347) 710-0050

                                Attorneys for the Plaintiffs,
                                Allstate Insurance Company,
                                Allstate Indemnity Company,
                                Allstate Property & Casualty Insurance Company, and
                                Allstate Fire and Casualty Insurance Company

   Dated: November 22, 2021




                                        167
